Case 5:06-cv-00055-GW-PJW Document 2814-1 Filed 01/14/19 Page 1 of 159 Page ID
                                 #:140697



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      Attorneys for State of Nevada
  9   (AND OTHER PLAINTIFFS/ATTORNEYS AS LISTED ON THE DOCKET)
 10
                         UNITED STATES DISTRICT COURT
 11                     CENTRAL DISTRICT OF CALIFORNIA
 12   UNITED STATES, THE STATES OF             Case No. ED CV-06-00055-GW(PJWx)
 13   CALIFORNIA, DELAWARE,
      FLORIDA, ILLINOIS, INDIANA,              Hon. George H. Wu
 14   NEVADA, NEW MEXICO, NEW
      YORK, and TENNESSEE, THE
 15   COMMONWEALTHS OF                         DECLARATION OF ELIZABETH J.
      MASSACHUSETTS AND VIRGINIA,              SHER IN SUPPORT OF
 16   and THE DISTRICT OF COLUMBIA             EXEMPLAR PLAINTIFFS’
 17   ex rel. JOHN HENDRIX,                    OPPOSITION TO J-M’S
                                               RENEWED MOTION FOR
 18                    Plaintiffs,             JUDGMENT AS A MATTER OF
 19                                            LAW
           v.
 20
      J-M MANUFACTURING COMPANY,
 21   INC., d/b/a JM Eagle, a Delaware         Date: February 20, 2019
      corporation, and FORMOSA                 Time: 9:30 a.m.
 22   PLASTICS CORPORATION, U.S.A.,
      a Delaware corporation,                  Phase 2 Damages
 23
 24                    Defendants.
 25
 26
 27
 28

                              DECLARATION OF ELIZABETH J. SHER
Case 5:06-cv-00055-GW-PJW Document 2814-1 Filed 01/14/19 Page 2 of 159 Page ID
                                 #:140698



  1                      DECLARATION OF ELIZABETH J. SHER
  2         I, ELIZABETH J. SHER, declare the following:
  3         1.     I am an attorney admitted pro hac vice to this Court. I am also a
  4   partner of the law firm of Day Pitney LLP, which along with Constantine Cannon
  5   and McKool Smith Hennigan P.C., represents qui tam plaintiff/relator John W.
  6   Hendrix and the following 26 government entities that have intervened in this action
  7   (“Intervenors”): the Commonwealth of Virginia, the Cities of Calexico, Chino,
  8   Livermore, Oxnard, Pomona, Ripon, Sacramento, San Buenaventura, Santa Cruz,
  9   Santa Maria, Santa Rosa, Vallejo, and the Town of Yountville, California, Alameda
 10   County Water District, Calleguas Municipal Water District, Castaic Lake Water
 11   Agency, Dublin San Ramon Services District, Moulton Niguel Water District, North
 12   Marin Water District, Palmdale Water District, Paradise Irrigation District, South
 13   Tahoe Public Utility District, Soquel Creek Water District, Spring Valley Sanitation
 14   District, and the County of San Diego.
 15         2.     I make this declaration in support of Exemplar Plaintiffs’ Opposition to
 16   J-M’s Renewed Motion For Judgment as a Matter of Law [Dkt 2809]. I have
 17   personal knowledge of the facts contained herein, and, if called upon, could and
 18   would testify competently thereto.
 19         3.     Attached hereto as Exhibit A is a true and correct copy of an excerpt
 20   from the transcript of the September 7, 2018 Hearing before this Court.
 21         4.     Attached hereto as Exhibit B is a true and correct copy of an excerpt
 22   from the transcript of the September 21, 2018 Hearing before this Court.
 23         5.     Attached hereto as Exhibit C is a true and correct copy of an excerpt
 24   from the transcript of the October 3, 2018 Hearing before this Court.
 25         6.     Attached hereto as Exhibit D is a true and correct copy of an excerpt
 26   from the transcript of the October 5, 2018 Hearing before this Court.
 27         7.     Attached hereto as Exhibit E are true and correct copies of excerpts
 28   from the transcripts of the Phase 2 Trial.
                                                   1
                                  DECLARATION OF ELIZABETH J. SHER
Case 5:06-cv-00055-GW-PJW Document 2814-1 Filed 01/14/19 Page 3 of 159 Page ID
                                 #:140699



  1         8.    Attached hereto as Exhibit 244 is a true and correct copy of Trial
  2   Exhibit 244 from the Phase 2 Trial.
  3         9.    Attached hereto as Exhibit 7690-18A is a true and correct copy of Trial
  4   Exhibit 7690-18A (redacted) from the Phase 2 Trial.
  5         10.   Attached hereto as Exhibit 31148 is a true and correct copy of Trial
  6   Exhibit 31148 from the Phase 2 Trial.
  7         11.   Attached hereto as Exhibit 31149 is a true and correct copy of Trial
  8   Exhibit 31149 from the Phase 2 Trial.
  9         12.   Attached hereto as Exhibit 31150 is a true and correct copy of Trial
 10   Exhibit 31150 from the Phase 2 Trial.
 11         13.   Attached hereto as Exhibit 31151 is a true and correct copy of Trial
 12   Exhibit 31151 from the Phase 2 Trial.
 13         14.   Attached hereto as Exhibit 31152 is a true and correct copy of Trial
 14   Exhibit 31152 from the Phase 2 Trial.
 15         15.   Attached hereto as Exhibit 31153 is a true and correct copy of Trial
 16   Exhibit 31153 from the Phase 2 Trial.
 17         16.   Attached hereto as Exhibit 31154 is a true and correct copy of Trial
 18   Exhibit 31154 from the Phase 2 Trial.
 19         17.   Attached hereto as Exhibit 31155 is a true and correct copy of Trial
 20   Exhibit 31155 from the Phase 2 Trial.
 21         18.   Attached hereto as Exhibit 31156 is a true and correct copy of Trial
 22   Exhibit 31156 from the Phase 2 Trial.
 23         19.   Attached hereto as Exhibit 31157 is a true and correct copy of Trial
 24   Exhibit 31157 from the Phase 2 Trial.
 25         20.   Attached hereto as Exhibit 31158 is a true and correct copy of Trial
 26   Exhibit 31158 from the Phase 2 Trial.
 27         21.   Attached hereto as Exhibit 31159 is a true and correct copy of Trial
 28   Exhibit 31159 from the Phase 2 Trial.
                                               2
                                DECLARATION OF ELIZABETH J. SHER
Case 5:06-cv-00055-GW-PJW Document 2814-1 Filed 01/14/19 Page 4 of 159 Page ID
                                 #:140700



  1         22.    Attached hereto as Exhibit 31160 is a true and correct copy of Trial
  2   Exhibit 31160 from the Phase 2 Trial.
  3         23.    Attached hereto as Exhibit 31293 is a true and correct copy of Trial
  4   Exhibit 31293 from the Phase 2 Trial.
  5
  6   I declare under penalty of perjury that the foregoing is true and correct. Executed in
  7   New York, New York on January 14, 2019.
  8                                                  /s/ Elizabeth J. Sher
  9                                                  Elizabeth J. Sher, Esq.
 10
 11
 12
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                                                 3
                                 DECLARATION OF ELIZABETH J. SHER
Case 5:06-cv-00055-GW-PJW Document 2814-1 Filed 01/14/19 Page 5 of 159 Page ID
                                 #:140701




          EXHIBIT A
Case 5:06-cv-00055-GW-PJW Document 2814-1 Filed 01/14/19 Page 6 of 159 Page1ID
                                 #:140702
  1                     UNITED STATES DISTRICT COURT

  2         CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

  3                         HONORABLE GEORGE WU

  4               UNITED STATES DISTRICT JUDGE PRESIDING

  5                                  - - -

  6
       United States of America, et al.,  )
  7                         PLAINTIFF,    )
                                          )
  8    VS.                                )        NO. CV 6-55 GW
                                          )
  9    J-M Manufacturing Co., Inc.,       )
                              DEFENDANT, )
 10    ___________________________________)

 11

 12

 13                REPORTER'S TRANSCRIPT OF PROCEEDINGS

 14                       LOS ANGELES, CALIFORNIA

 15                      FRIDAY, SEPTEMBER 7, 2018

 16

 17

 18               _____________________________________

 19                    KATIE E. THIBODEAUX, CSR 9858
                       U.S. Official Court Reporter
 20                    312 North Spring Street, #436
                       Los Angeles, California 90012
 21

 22

 23

 24

 25


       UNITED STATES DISTRICT COURT,         CENTRAL DISTRICT OF CALIFORNIA
                                                                          59ID
Case 5:06-cv-00055-GW-PJW Document 2814-1 Filed 01/14/19 Page 7 of 159 Page
                                 #:140703
  1            THE COURT:    Well, let me put it this way.      Let me

  2    stop you.    I understand what you are saying, but to my

  3    mind this is a factual dispute.

  4            MR. BERNICK:    Sure it is.

  5            THE COURT:    And so the evidence will come in on

  6    this.

  7            MR. BERNICK:    Yes.

  8            THE COURT:    So then what are we arguing about?

  9            MR. BERNICK:    Well, because the pipe failures that

 10    they want to talk about have two problems.

 11                 One is that for the Calluegas pipe, as your

 12    Honor asked the question, this actually was purchased and

 13    installed prior to 1996.       So the misrepresentations that

 14    were proven up in Phase I were for pipe from 1996 to

 15    2006.   That does not include this pipe.

 16            THE COURT:    The 1994 pipe.

 17            MR. BERNICK:    1994 pipe.

 18            THE COURT:    Yes.   I would agree.    Because that was

 19    my question.    In other words, the problem supposedly

 20    arose in 1996 and thereafter, and so if the pipe was not

 21    only manufactured way before that but also installed in

 22    '94, when the projects were by then completed, I don't

 23    understand how they could be -- those failures, if any,

 24    relate to anything because those were for all intents and

 25    purposes compliant pipe.


       UNITED STATES DISTRICT COURT,      CENTRAL DISTRICT OF CALIFORNIA
                                                                          74ID
Case 5:06-cv-00055-GW-PJW Document 2814-1 Filed 01/14/19 Page 8 of 159 Page
                                 #:140704
  1    report, and it is not in his testimony as far as we are

  2    aware.

  3                 I am happy to have Mr. Bernick point it out if

  4    he has a particular place in the report or deposition at

  5    the appropriate time.

  6             THE COURT:    Just finish what you want to say and

  7    then I will allow him to respond.

  8             MR. HAVIAN:    The issue with Calluegas, I also --

  9    and we said this in our briefs as well -- there are other

 10    issues with Calluegas besides just the fact that it

 11    responds to the argument that your model predicts

 12    failures and there haven't been any failures, which is

 13    incredibly misleading if we are not allowed to put the

 14    failures in.

 15                 The other things with Calluegas that are

 16    important to understand is one of their arguments is you

 17    guys are not going to replace pipes that not bad pipe.

 18    Well, Calluegas after they had a handful of failures with

 19    J-M pipe at their own $4 million expense replaced the

 20    entire line, even the good parts of the line of J-M pipe.

 21                 And so that evidence directly rebuts one of

 22    the central arguments they want to make, which is

 23    plaintiffs are just going to pocket this money, and if

 24    pipe hasn't failed they are not going to replace it.

 25                 Calluegas learned that they had multiple


       UNITED STATES DISTRICT COURT,      CENTRAL DISTRICT OF CALIFORNIA
                                                                          75ID
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                                 #:140705
  1    failures of the J-M pipe and as a result it called into

  2    question the quality of the remaining pipe that they

  3    bought --

  4             THE COURT:    Let me stop you.   If J-M makes the

  5    contention that -- you know, any of the five plaintiffs

  6    if they get money for these repairs aren't going to do

  7    the repairs, then you can trot that out.

  8             MR. BERNICK:    We are now going off into another

  9    rabbit hole.    So if I could deal with the first rabbit

 10    hole first.    We will file briefs.     Your Honor knows we

 11    will file briefs, but this is -- this is a rabbit hole,

 12    the pre-'96 rabbit hole.      For him to say that we are now

 13    going to allow --

 14             THE COURT:    I didn't say I was going to allow.      I

 15    said I just want to know for my own knowledge because it

 16    may affect my rulings on other matters, but insofar as

 17    this one is concerned -- this is the problem I still

 18    have -- again, if the plaintiffs' experts are utilizing

 19    in their formulation of their models the 26 projects on

 20    the basis of events which occurred between '96 and 2006,

 21    then to go all of a sudden to what transpires in 1994 I

 22    think would change the model, in which case then I have a

 23    problem with the model.

 24             MR. HAVIAN:    It doesn't change the model, your

 25    Honor.   What it does do is because the model was never


       UNITED STATES DISTRICT COURT,      CENTRAL DISTRICT OF CALIFORNIA
                                                                         119ID
Case 5:06-cv-00055-GW-PJW Document 2814-1 Filed 01/14/19 Page 10 of 159 Page
                                  #:140706
   1   what he says in his deposition transcripts and things of

   2   that sort, because I will allow them to make a motion to

   3   strike it.

   4                Unless he has an explanation for why it is all

   5   of a sudden different, I will strike it from the jury.

   6           MR. WATSON:    So, your Honor, first, I disagree

   7   with counsel's characterization of our expert testimony.

   8   But an important point, and Mr. Dillman alluded to this,

   9   is I think your Honor is trying to cabin or require, for

  10   example, Mr. Cathcart to present the full array of

  11   evidence.

  12           THE COURT:    No.   I am trying to -- we don't have

  13   the train wreck that Phase I was.       That is precisely the

  14   problem we have.

  15           MR. WATSON:    We actually disagree with Phase I

  16   being a train wreck, your Honor.

  17           THE COURT:    I am not saying a train wreck as to

  18   one side or the other.      I am just calling it a train

  19   wreck because that is really what it was.

  20           MR. WATSON:    Your Honor, we will leave that aside.

  21           THE COURT:    Let's put it this way.     It wasn't so

  22   much of a train wreck that I overturned the verdict.

  23           MR. WATSON:    Correct, your Honor.     We expect to

  24   present evidence from J-M's witnesses, from our

  25   witnesses, percipient and expert taken together, then


       UNITED STATES DISTRICT COURT,      CENTRAL DISTRICT OF CALIFORNIA
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                                  #:140707




           EXHIBIT B




  .
Case 5:06-cv-00055-GW-PJW Document 2814-1 Filed 01/14/19 Page 12 of 159 Page1ID
                                  #:140708
   1                    UNITED STATES DISTRICT COURT

   2        CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

   3                         HONORABLE GEORGE WU

   4              UNITED STATES DISTRICT JUDGE PRESIDING

   5                                 - - -

   6
        United States of America, et al.,  )
   7                         PLAINTIFF,    )
                                           )
   8    VS.                                )       NO. CV 6-55 GW
                                           )
   9    J-M Manufacturing Co., Inc.,       )
                               DEFENDANT, )
  10    ___________________________________)

  11

  12

  13                REPORTER'S TRANSCRIPT OF PROCEEDINGS

  14                       LOS ANGELES, CALIFORNIA

  15                     FRIDAY, SEPTEMBER 21, 2018

  16

  17

  18               _____________________________________

  19                    KATIE E. THIBODEAUX, CSR 9858
                        U.S. Official Court Reporter
  20                    312 North Spring Street, #436
                        Los Angeles, California 90012
  21

  22

  23

  24

  25


        UNITED STATES DISTRICT COURT,        CENTRAL DISTRICT OF CALIFORNIA
                                                                          40ID
Case 5:06-cv-00055-GW-PJW Document 2814-1 Filed 01/14/19 Page 13 of 159 Page
                                  #:140709
   1   then again you guys keep on arguing the Seventh Amendment

   2   problem.    Who knows what that will mean.

   3                All these things come up in that type of

   4   situation.    So my answer would be no.     I will agree with

   5   the defense that as long as they limit their arguments

   6   appropriately, they will not have opened the door to a

   7   1994, you know, problem with pipe that we do not know

   8   whether or not falls within the exact parameters of the

   9   1996 pipe, because again, it certainly was not litigated.

  10           MR. HAVIAN:    Your Honor, okay, I accept that

  11   ruling.    May I speak to South Tahoe, please?

  12           THE COURT:    All right.

  13           MR. HAVIAN:    South Tahoe was the spoliation issue.

  14   That pipe is relevant.      There is no question it is

  15   relevant.    It is in the 1996 to 2006 time period that

  16   pipe was sold to South Tahoe.      It failed.    Again, another

  17   failure they don't want the jury to hear about.         Now, the

  18   Court only excluded it because of spoliation, because

  19   they discarded the pieces of pipe.

  20                However, after the Court made that ruling, we

  21   did get the piece that was actually remaining of the

  22   pipe.   And we offered to J-M.     And at that point -- and

  23   this was years ago -- we told them we have now the

  24   remaining piece of pipe.      If you want to test it, you are

  25   welcome to test it.     And they never took us up on it.


       UNITED STATES DISTRICT COURT,      CENTRAL DISTRICT OF CALIFORNIA
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                                  #:140710




           EXHIBIT C




  .
Case 5:06-cv-00055-GW-PJW Document 2814-1 Filed 01/14/19 Page 15 of 159 Page1ID
                                  #:140711
   1                    UNITED STATES DISTRICT COURT

   2        CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

   3                         HONORABLE GEORGE WU

   4              UNITED STATES DISTRICT JUDGE PRESIDING

   5                                 - - -

   6
        United States of America, et al.,  )
   7                         PLAINTIFF,    )
                                           )
   8    VS.                                )       NO. CV 6-55 GW
                                           )
   9    J-M Manufacturing Co., Inc.,       )
                               DEFENDANT, )
  10    ___________________________________)

  11

  12

  13                REPORTER'S TRANSCRIPT OF PROCEEDINGS

  14                       LOS ANGELES, CALIFORNIA

  15                     WEDNESDAY, OCTOBER 3, 2018

  16

  17

  18               _____________________________________

  19                    KATIE E. THIBODEAUX, CSR 9858
                        U.S. Official Court Reporter
  20                    312 North Spring Street, #436
                        Los Angeles, California 90012
  21

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        UNITED STATES DISTRICT COURT,        CENTRAL DISTRICT OF CALIFORNIA
                                                                          80ID
Case 5:06-cv-00055-GW-PJW Document 2814-1 Filed 01/14/19 Page 16 of 159 Page
                                  #:140712
   1           THE COURT:    Let me ask you this, though.      If the

   2   plaintiff intends to put on witnesses from the various

   3   agencies to testify as to their damages, why can't the

   4   defense use the deposition transcripts of the 30(b)(6)'s

   5   to question that witness about that?

   6           MS. SHER:    I am not saying they can't, your Honor.

   7   I think maybe we are talking about past each other.

   8           THE COURT:    All right.   Why don't I do this.     I

   9   will say on that one I will at this point in time deny it

  10   without prejudice because it really will depend upon what

  11   happens at trial.     Whether I would preclude or not

  12   depends upon the nature of the testimony that is

  13   proffered.

  14                Okay.

  15                As to No. 5, to preclude expert testimony or

  16   to permit admission of Calleguas and South Tahoe

  17   failures.

  18           MR. HAVIAN:    Your Honor, did you skip No. 4

  19   intentionally?

  20           THE COURT:    No.   I am only listing the ones that

  21   I -- that were indicated that it was continued.         On the

  22   other ones, I thought I had previously ruled.        So I am

  23   only ruling on these that were noted to be continued.

  24                So No. 5, I thought I had made a ruling on

  25   this one.


       UNITED STATES DISTRICT COURT,      CENTRAL DISTRICT OF CALIFORNIA
                                                                          81ID
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                                  #:140713
   1            MR. HAVIAN:    You did.

   2            THE COURT:    Okay.

   3            MR. HAVIAN:    You made a door-opening kind of

   4   ruling that you would deny it unless J-M opened the door.

   5            THE COURT:    Yes.    Okay.    Then as to defendant's

   6   motions in limine, the hundred-year pipe one.         On that

   7   one --

   8            MR. HAVIAN:    Your Honor, before we go past No. 6,

   9   this is more of a logistical question I think than

  10   anything.    We are not arguing the merits at this point.

  11                On the agency witnesses, we have -- J-M has

  12   designated some of these agency witnesses to testify.

  13   And the Court sort of indicated it would depend on what

  14   they were going to say.        And we would like to get a

  15   proffer from J-M so we can deal with this before trial

  16   instead of trying to see what they say when they show up.

  17                We would like to just get a proffer from them

  18   as to what these witnesses -- we have kind of gotten a

  19   four-word proffer, but I think we would like a little

  20   more.

  21            THE COURT:    Let me just ask, when you are talking

  22   about agency witness, you are talking about their being

  23   called as adverse witnesses?

  24            MR. HAVIAN:    Well, they are calling them.     I don't

  25   know.    Standards bodies, I'm sorry.        I meant standards


       UNITED STATES DISTRICT COURT,          CENTRAL DISTRICT OF CALIFORNIA
Case 5:06-cv-00055-GW-PJW Document 2814-1 Filed 01/14/19 Page 18 of 159 Page ID
                                  #:140714




           EXHIBIT D




  .
Case 5:06-cv-00055-GW-PJW Document 2814-1 Filed 01/14/19 Page 19 of 159 Page ID
                                  #:140715
   1                     UNITED STATES DISTRICT COURT

   2          CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

   3                          HONORABLE GEORGE WU

   4                UNITED STATES DISTRICT JUDGE PRESIDING

   5                                   - - -

   6
        United States of America, et       )
   7    al.,                               )
                             PLAINTIFF,    )
   8                                       )
        VS.                                )       NO. CV 06-00055 GW
   9                                       )
        J-M Manufacturing Co., Inc.,       )
  10                           DEFENDANT, )
        ___________________________________)
  11

  12

  13

  14                 REPORTER'S TRANSCRIPT OF PROCEEDINGS

  15                         LOS ANGELES, CALIFORNIA

  16                         FRIDAY, OCTOBER 5, 2018

  17                                 MOTIONS

  18

  19                 _____________________________________

  20                      DEBORAH K. GACKLE, CSR 7106
                          U.S. Official Court Reporter
  21                          350 W. First Street
                         Los Angeles, California 90012
  22                             (213) 894-8913

  23

  24

  25
                                                                          66ID
Case 5:06-cv-00055-GW-PJW Document 2814-1 Filed 01/14/19 Page 20 of 159 Page
                                  #:140716
   1   example, like the Roby situation, or the Compton situation, I

   2   could do that, and I could see that, you know, as a means --

   3   frankly, that was what I was considering in terms of when I

   4   ruled on the summary judgment motion.        One of the reasons why I

   5   did not grant summary judgment in the defendant's favor is

   6   because of that type of situation.

   7               So, again, I think that I understand the plaintiff's

   8   position, but, you know what can I say?

   9               MR. HAVIAN:     Your Honor, we would like --

  10               MR. BERNICK:     Your Honor --

  11               THE COURT:     Let him finish, Mr. Bernick.

  12               MR. KELLY:     I understand the court's ruling.

  13               And I -- just to get a clarification on the court's

  14   last point, we are now -- we are no longer seeking replacement

  15   costs or pipe that was just sitting there, we are only seeking

  16   replacement cost for the pipe that is predicted to fail.          So in

  17   terms of the danger, would the court kind it acceptable if we

  18   show when the pipe fails, because we are only seeking the cost

  19   to replace it if it fails.       If we can show that when it fails,

  20   it does present those kinds of dangers, would the court

  21   entertain that sort of evidence in the case?

  22               MR. BERNICK:     Your Honor, he is now asking you to

  23   unwind a ruling that Your Honor already has made because there

  24   is no -- their expert -- their expert had no evidence was --

  25   the expert was Mr. Cathcart -- had no -- didn't even address
Case 5:06-cv-00055-GW-PJW Document 2814-1 Filed 01/14/19 Page 21 of 159 Page ID
                                  #:140717




           EXHIBIT E




  .
                                                                        2201ID
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                                  #:140718
   1                    UNITED STATES DISTRICT COURT

   2        CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

   3                        HONORABLE GEORGE WU

   4              UNITED STATES DISTRICT JUDGE PRESIDING

   5                                 - - -

   6
       United States of America, et al.,  )
   7                        PLAINTIFF,    )
                                          )
   8   VS.                                )        NO. CV 6-55 GW
                                          )
   9   J-M Manufacturing Co., Inc.,       )
                              DEFENDANT, )
  10   ___________________________________)

  11

  12

  13               REPORTER'S TRANSCRIPT OF PROCEEDINGS

  14                        JURY TRIAL - DAY SIX

  15                           VOLUME II OF II

  16                       LOS ANGELES, CALIFORNIA

  17                    WEDNESDAY, OCTOBER 17, 2018

  18

  19

  20               _____________________________________

  21                   KATIE E. THIBODEAUX, CSR 9858
                       U.S. Official Court Reporter
  22                   312 North Spring Street, #436
                       Los Angeles, California 90012
  23

  24

  25


       UNITED STATES DISTRICT COURT,         CENTRAL DISTRICT OF CALIFORNIA
                                                                        2232ID
Case 5:06-cv-00055-GW-PJW Document 2814-1 Filed 01/14/19 Page 23 of 159 Page
                                  #:140719
   1   doing.   And then there were some that were -- one report

   2   was actually a continuation of another set of tests, so I

   3   combined those.     That type of thing.    So we ended up with

   4   44 rather than 50.

   5   Q      Okay.    And you said them, the data was unsuitable.

   6   Can you explain what you mean by that?

   7   A      Right.    In order to -- if you recall the chart we

   8   had up earlier, where we were drawing a straight line

   9   through all of the data, the data needs to sort of fall

  10   along that line for you to draw a straight line.

  11                And if you have very wide -- a lot of wide

  12   variation in the data points, you can't draw that

  13   straight line with any confidence.       The data is scattered

  14   around too much to really even look like a line, and so

  15   we didn't use that data.

  16   Q      I will try to put the line back up for you so that

  17   you can refer to that.

  18                So this is the line you were referring to?

  19   A      Right.

  20   Q      So excluding that data that you said that was poor

  21   data, what did that indicate, if anything, about the

  22   quality of the pipe that was being tested in the data

  23   sets that you threw out?

  24   A      Well, in general it indicates it was also a

  25   poor-quality pipe.     Most likely either insufficient


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   1   fusion.    That is fusion of the PVC that we have talked

   2   about already.     Or possible degradation during the

   3   extrusion process, where they have actually degraded or

   4   worsened the actual PVC molecules in the polymer during

   5   that extrusion process.

   6                So you end up getting to the point where it is

   7   just not behaving like you would expect a normal good

   8   rigid PVC pipe to behave.

   9   Q      If you had used those test results, would it have

  10   had the effect of projecting fewer failures or more

  11   failures.    Do you know?

  12   A      More failures.

  13   Q      So the test, the abbreviated HDB tests that you

  14   used, were those all either accelerated regression or E2

  15   tests, rather?

  16   A      They were -- although there were I believe a couple

  17   of sets that went beyond 2000.       I think to 3 or 4000

  18   hours.    But in that range.    Yes.

  19   Q      And again, in this '96, 2006 timeframe, did you

  20   have any E10 tests?

  21   A      No.   There weren't any that did the full

  22   10,000-hour test.

  23   Q      Did you review J-M documents to figure out whether

  24   the pipe that was being tested in these abbreviated HDB

  25   tests was representative of J-M's regular production


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   1   pipe?

   2   A       Yes.    To the extent that that information was

   3   available, yes.

   4   Q       And what conclusion did you come to?

   5   A       That the data sets that I used certainly were.

   6   They were production pipe, production material.         The PVC

   7   compound that we are talking about here is referred to as

   8   J-M 90.    And so that I used data from the J-M 90.       And

   9   that compound in theory would keep that same

  10   characteristic line throughout -- as long as they weren't

  11   modifying it or processing it incorrectly, would keep

  12   that same line and that same type of graph as we see here

  13   throughout all of this production.

  14   Q       And you said J-M 90.    What is J-M 90?

  15   A       That is the name J-M uses for the PVC compound that

  16   is used for making this pressure piping.

  17   Q       So let's talk about -- let's talk about one source

  18   of the test data that you have.       Are you familiar with

  19   pipe that was referred to as A28 pipe?

  20   A       Yes.

  21   Q       And describe what you know about -- was that the

  22   source of some of your test results that you used in your

  23   analysis?

  24   A       Yes, it was.

  25   Q       Okay.    And describe what you know about A28 pipe.


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   1   Q      So walk us through this chart and please explain to

   2   us what it shows.

   3   A      Actually, did you say, is this from my first

   4   report?

   5   Q      I'm sorry, this is from your rebuttal report.        It

   6   says there right there on the top, so I misread that.          So

   7   this is from the final report you submitted in this

   8   matter; right?

   9   A      Yes.

  10   Q      So now please explain to us what the chart shows.

  11   A      Okay.    So this is a summary of the 44 data sets

  12   that I looked at, the data provided by J-M, and in each

  13   case I was evaluating -- first of all, if I assumed that

  14   the 3916, which is the LTHS of that combined three data

  15   sets from back in 1987, that LTHS at that time was 3916

  16   psi.

  17                 So if I looked at these 44 data sets and

  18   compared the LTHS of each individual data set to the 3916

  19   and calculated the lifetime based on a 100-year useful

  20   life, in this first column, there were 20 data sets where

  21   the useful life was less than a hundred years following

  22   that calculation that I described earlier.        And then I

  23   just converted it to a percentage of 44.5 percent.

  24                 In the middle column, I did the same thing,

  25   but using the 3830 minimum.      So that is what I just


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   1   showed on the previous graph using the 3830 minimum and

   2   then going back up to 3830 and determining what kind of

   3   reduction in useful life or reduction in time there is by

   4   doing that.

   5                And in this case, if you used the lower 3830

   6   minimum, you have 12 data sets where it was below the

   7   100-year useful life.

   8                And then in the third column, I was also asked

   9   to do the same thing with -- using an upper confidence

  10   limit.   So if you -- while the 3830 is a minimum, 4000 is

  11   our target value.     We really want to use 4000.      That is

  12   the HDB.    3830 is the minimum.     And you can think of the

  13   upper confidence limit as a level above 4000.

  14                So for each data set, you could calculate an

  15   upper confidence element and say we will use that instead

  16   of the long-term strength to give J-M a little bit more

  17   of a benefit.    And in that scenario, then you only have

  18   eight that are below the 100 years.       And again, converted

  19   to percentage in the next row.

  20   Q      Now, Mr.~Lehmann, who we will hear from later, who

  21   did the insurance calculations and replacement cost

  22   calculations, do you know which of those three he used?

  23   A      I believe he used the middle one, the 3830 minimum.

  24   Q      Okay.   Which one do you personally feel is the most

  25   representative of what the pipe really is?        Or let me


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   1   strike that.

   2                I will withdraw that question.

   3                This one that shows an 18 percent failure

   4   rate, why did you do that calculation?

   5   A       I believe I was asked to by counsel.

   6   Q       And did you -- in terms of your feeling about the

   7   validity of that calculation, what is your reaction to

   8   that?

   9   A       I don't think it would be representative at all.

  10   Q       Why not?

  11   A       Because I think that is giving it an overly

  12   generous -- because you are already dropping down to the

  13   3830 minimum.      You are not using the 4000, which is the

  14   true requirement in the standard.

  15                You are dropping it to 3830.      And then by

  16   using this upper confidence value, you are assuming

  17   that -- you are being overly generous in terms of

  18   assuming how the pipe is actually going to perform.

  19                You are assuming that the best 1 percent

  20   really represents all of the production.        And that is not

  21   the case.

  22   Q       Go back just for a moment to 9512, Luis, please.        I

  23   don't think that is 9512.      There we go.

  24                So here, if there were -- I can't really see

  25   on this line, but if there were some dots up here above


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   1            MR. BERNICK:    Excuse me.   Object to the form of

   2   the question.     The prefatory remark.

   3            THE COURT:    Rephrase the question.

   4            MR. HAVIAN:    Thank you, your Honor.    I will.

   5   Q      Did you do any calculation here pulling out some of

   6   the data that you were otherwise relying on to just sort

   7   of see where the percentage failure rate would end up?

   8   A      Yes.    It was my understanding that the J-M

   9   attorneys had specifically said that it was inappropriate

  10   to be using some of the nonthickened section data, so I

  11   removed that from the analysis.

  12                 There were also -- as I mentioned, this J-M 90

  13   is the pressure pipe formulation.       They had done some

  14   testing on a couple of other formulations which I

  15   included for the sake of completeness.        So I removed

  16   those as well.

  17                 When you do that analysis, take out the

  18   nonthickened section and a couple of these that were not

  19   J-M 90 materials, so they would never have been used in

  20   this pipe, that little number right there goes from

  21   27 percent to 39 percent.

  22   Q      So actually the failure rate increases; is that

  23   right?

  24   A      The failure rate increases.

  25   Q      Okay.    All right.   Now let's talk about some of the


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   1   other tests that you testified you looked at.        Let's go

   2   to the LTS, longitudinal tensile strength testing.

   3                  Can we bring up demonstrative Figure 2.

   4                  Can you explain what this shows?

   5   A       Yes.    Can we erase that?

   6   Q       Yes.    Sorry.

   7   A       Yes.    So this is the -- again, the tensile strength

   8   test, so we are no longer talking about HDB data.         This

   9   is tensile strength.      And first you will notice a green

  10   line.   And that green line is up there about 7800 psi.

  11   That green line is actually the original -- that is the

  12   level of tensile strength test that the pipe had when

  13   they did the pipe testing, cutting the tensile bar out of

  14   the pipe and doing the test for UL back in 1974, I

  15   believe.    Whenever they got their first original

  16   qualification, it was at 7800 or close to that.

  17                  Within this timeframe of this case, '96 to

  18   2006, this is all of the tensile data that was provided.

  19   You will see in in the upper left there are three data

  20   sets or three values that I have circled in black.         Those

  21   three values, the reason I circled them like that was to

  22   show that even at this timeframe, right at the beginning

  23   of this time frame, they still were meeting approximately

  24   that 7800 psi tensile strength.

  25                  And then as you progress onward, you will see


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   1   that they had very few that ever got up above 7800 again.

   2   And 7000, if you recall, is the minimum in the standard.

   3   And you will see that actually quite a few of these

   4   didn't even meet the minimum in the standard.

   5                And they certainly were well below the 7800

   6   that they had been achieving previously.

   7   Q      What does it say to you, if anything, that there

   8   was that decline in the values that they were getting?

   9   A      Well, I think, first of all, we need to remember

  10   that this is a tensile strength test.       And HDB is loss a

  11   long-term strength test.      They are part of what I

  12   consider strength tests.      And I certainly believe they

  13   can be related with a proper amount of correlation.         If

  14   you do this tensile testing and other short-terms tests

  15   on your pipe when you are first doing your HDB, then you

  16   can use those tests.     You can continue to use those tests

  17   as an indicator of what is happening with your HDB.

  18                Now, this is my opinion.     This is also the

  19   opinion of people within J-M and their QC and engineering

  20   departments.    They have said the same thing.      This is

  21   also -- it is not just me up here.       There is an

  22   AWWA Research Foundation report that says the same thing.

  23                Basically you see this kind of dropoff in

  24   tensile strength, that should give you a lot of reason to

  25   be concerned about your long-term strength of that pipe.


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   1   Q      So that 72 percent, what does that mean in terms of

   2   passing the test?

   3   A      That means that over this 10-year period,

   4   72 percent of the tests that were run, they failed.

   5   Q      Failed?

   6   A      Yes.

   7   Q      In your career, can you recall seeing these kinds

   8   of test results over that kind of period of time?

   9   A      Well, I have had occasion to see significant

  10   dropoffs in tensile strength, again referring back to

  11   primarily my time at NSF.

  12                 We would -- typically any time we saw a low

  13   tensile value, because we tested so many of these -- it

  14   was such a routine thing to be doing that if we saw

  15   anything out of the ordinary, the first thing I would do

  16   is to go back and look at the historical data for that

  17   company and for that material and then also look at the

  18   historical data across the industry, depending on the

  19   magnitude of the change.

  20                 So I have seen it.   I don't know that I would

  21   have said over a 10-year period one way or the other, if

  22   I could say that, but I have seen changes of this

  23   magnitude when something has gone dramatically wrong with

  24   the processing of the material.

  25   Q      Let's go back to the previous graphic, please,


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   1   Luis.

   2                  These blue dots here are all in between 7000

   3   and 6000.      What is typical -- in the clients that you

   4   deal with, what are the typical values that you see for

   5   the LTS test?

   6   A       I would say it is very common to see numbers

   7   between, say, 7300 and 8000.

   8   Q       You very often see numbers down below this --

   9   between this level, below 7000, below 6800?

  10   A       That would be much more consistent with a material

  11   that is being used in a nonpressure, like a sewer type

  12   application, something like that; the less critical, and

  13   less material strength required application.

  14   Q       Now, J-M -- at the time that J-M was doing these

  15   tests, did the UL standard -- I think we have

  16   discussed -- you described machining from the pipe.         You

  17   took the coupon out of the finished piece of pipe; is

  18   that right?

  19   A       Yes.

  20   Q       And are you aware that UL now permits people to do

  21   this test, instead of using it with pieces cut out of the

  22   pipe, with material that can be compression molded?

  23   A       Yes.    They did make that change.    I believe it was

  24   after this time period, but yes, that change has now been

  25   made.


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   1   Q      Okay.    And can you describe that change and what

   2   the significance of that is?

   3   A      Well, what they are allowing now, and as I

   4   mentioned earlier, if you recall one of the first things

   5   you do when testing a PVC material is testing the

   6   material itself, you do tensile strength testing.

   7                And I mentioned that then in this case for the

   8   UL standard you go back and you actually take the sample

   9   from pipe.     But when you are testing the compound, you

  10   can actually mold it into a flat piece of material and

  11   cut that dog bone out of that flat piece of material so

  12   it is never made into a piece of pipe to begin with.

  13                That is done on the compounds all the time.

  14   That is a routine test.

  15                The UL standard has always required you to cut

  16   the dog bone specimen out of the pipe so that gives you

  17   an indication that the material has not lost any of that

  18   strength in the processing of the pipe.        Now they have

  19   made a change to where they allow the compound to be

  20   tested or the sample to be molded rather than cut from

  21   the pipe.

  22   Q      What, if anything, does it tell you -- strike that.

  23   Is there what is known as a refereed method?

  24   A      There are refereed methods.

  25   Q      In the context of this test, is there a referee


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   1   method, do you know?

   2   A       Well, in terms of the UL standard, they

   3   specifically just refer to the method.        They don't refer

   4   to a referee, and then what we refer to as normally a QC.

   5                Some methods will allow you to use two

   6   different methods to run a test and they will say if you

   7   are qualifying this is the referee method.

   8   Q       Okay.    And what is it -- I mean, hypothetically, if

   9   a manufacturer consistently gets significantly higher

  10   results using a molded sample compared to using a sample

  11   that is removed from the pipe itself, does that tell you

  12   anything about the manufacturer's -- the strength of the

  13   manufacturer's pipe?

  14   A       Oh, absolutely.    Because typically, if you are

  15   properly extruding the pipe, if you can think of these

  16   long polymer chains as they are being forced through this

  17   extrusion dye process -- extruding it is stretching it

  18   out and making it into this long pipe -- you will

  19   actually get a little bit of orientation of those

  20   molecules.      They aren't just going in every random order.

  21   They will get kind of aligned with the direction of the

  22   pipe.

  23                That actually makes it stronger in that

  24   direction.      So if you cut a specimen from the wall of

  25   that pipe, you would expect it to be -- and we have done


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   1   studies to verify this -- that in fact you will get a

   2   slightly higher tensile strength cutting it from the wall

   3   of the pipe.

   4                 So if you are using a compound or if you are

   5   just using a molded plaque and cutting the bar out of

   6   that and you are getting better results than you got from

   7   the pipe, then you are definitely damaging the polymer in

   8   that processing of the pipe.

   9   Q      So if J-M, for instance, hypothetically, did better

  10   with compression molded samples than they did with pieces

  11   cut out of the pipe, what would that mean?

  12   A      That would mean the processing is actually damaging

  13   the material, making it less strong in the process of

  14   turning that material into pipe.

  15   Q      Does that tell you anything about the long-term

  16   strength of the pipe when you see that?

  17   A      Yes.    It would have a similar negative effect on

  18   the long-term strength as well.

  19   Q      Let's talk about the Quick Burst test now,

  20   Mr. Paschal.     Did you note any trends in your view of the

  21   Quick Burst data that Mr. Edwards will talk about later?

  22   A      Yes.    They seemed to actually follow -- it was

  23   fairly consistent with what we have seen in the HDB and

  24   tensile testing as well, that during this time period

  25   there were difficult problems with achieving Quick Burst,


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   1   and certainly with achieving the internal standard that

   2   J-M had set of 7200 psi.

   3   Q      Do you recall ever seeing an e-mail that discussed

   4   how much J-M's HDB failure rate had declined?

   5   A      That the failure rate had declined?

   6   Q      For HDB testing, yes.     I'm sorry, the success rate

   7   had declined.

   8   A      Yes.   I have seen e-mail to that effect.

   9   Q      And was there an e-mail that actually referenced

  10   the fact -- do you recall an e-mail that referenced the

  11   fact that the failure rate was 50 percent?

  12   A      Yes.   I believe that is the number.

  13   Q      Is that significant for purposes of your analysis,

  14   the 50 percent HDB failure rate?

  15   A      Yes.   It is very significant because here, again,

  16   you are looking at a J-M 90 compound that hasn't changed

  17   other than making some modification to suppliers of

  18   ingredients, that type of thing.       So to see that kind of

  19   a failure rate would be a -- should be a huge red flag to

  20   the manufacturer that there is something going on.

  21   Q      Oh, by the way, I forgot to ask you --

  22           MR. BERNICK:    I'm sorry, your Honor.     Move to

  23   strike the comment about huge red flag.        It is not

  24   relevant to this part of the case.

  25           THE COURT:    Sustain the objection.     I will strike


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   1   is all.

   2   Q     BY MR. HAVIAN:    And 31155.    I don't care about the

   3   110 years.    That is fine.

   4                Second page, please.     I'm sorry, it is not the

   5   second page.    It is the third page of the PVC Pipe

   6   Longevity Report from Utah State University.        Here in

   7   excess of a hundred years.

   8                And finally, 31159.     This is an article from a

   9   couple of authors.     And on the first page.     Can we have

  10   that one, Luis, and one further down.       There, please.

  11                "The plastics industry is relatively young.

  12   Production of industrial volumes of PVC polymers and PVC

  13   pipe is now about 70 years old, which is close to the

  14   predicted service lifetime of 100 years for PVC pipe

  15   applications."

  16                Mr. Paschal, do these articles and others I

  17   haven't shown you that are this binder, do they have any

  18   impact on your use -- your decision to use 100 years as

  19   your benchmark for well-made pipe?

  20   A       Well, yes.   They supported the use of a hundred

  21   years.

  22   Q       And have you ever heard of any other figure besides

  23   a hundred years that has greater support in the

  24   literature for the lifetime -- expected lifetime of PVC

  25   pipe?


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   1           MR. BERNICK:    Objection.    Lack of expert

   2   foundation.     All we have had is a review of articles.      I

   3   don't believe that satisfies 702.

   4           THE COURT:    I will allow him to answer that

   5   question.

   6   Q      BY MR. HAVIAN:    Do you need it read back,

   7   Mr. Paschal?

   8   A      Yes, please.

   9                 (Record read.)

  10           THE WITNESS:    No.    The hundred years, actually, it

  11   originated with other materials before PVC and

  12   polyethylene started becoming widely used in the water

  13   distribution industry.

  14                 As I mentioned earlier, it has gained a lot of

  15   acceptance.     It has been a very well-performing product

  16   in this industry.     But the hundred-year claim has been

  17   made by alternative materials for many years prior to

  18   this, so PVC really didn't have any choice but to also

  19   adopt that same hundred year and provide the research to

  20   support it.

  21   Q     BY MR. HAVIAN:    From what you have reviewed, has

  22   that research now been provided, the research to support

  23   it?

  24   A      Yes.

  25   Q      Now I am going to change gears.      And the last of my


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   1                      UNITED STATES DISTRICT COURT

   2          CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

   3                          HONORABLE GEORGE WU

   4                UNITED STATES DISTRICT JUDGE PRESIDING

   5                                   - - -

   6
        United States of America, et       )
   7    al.,                               )
                             PLAINTIFFS,   )
   8                                       )
        VS.                                )       NO. CV 06-00055 GW
   9                                       )
        J-M Manufacturing Co., Inc.,       )
  10                           DEFENDANT, )
        ___________________________________)
  11

  12

  13

  14                 REPORTER'S TRANSCRIPT OF PROCEEDINGS

  15                         LOS ANGELES, CALIFORNIA

  16                        FRIDAY, OCTOBER 19, 2018

  17                            PAGES 2801 - 3000

  18                             VOLUME I OF II

  19                 _____________________________________

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   1   A.    For HDB.

   2   Q.    Okay.

   3   A.    Looking at that and looking at what do our quick-burst

   4   values, what estimate do we get of the LTHS, we see that

   5   overall, the percent below 3916 which would be below what they

   6   submitted for qualification, really is -- approaches 50

   7   percent, 49.87 percent of the quick-burst values would indicate

   8   that the LTHS is actually below 3916.

   9   Q.    So that percentage, that would be the percentage of pipe

  10   that is just less strong than what was qualified?

  11   A.    Yes.

  12   Q.    Okay.

  13                 Continue.

  14   A.    We also ran this based on the minimum allowable LTHS of

  15   3830 that would still give you a 4,000 psi HDB.         If we look at

  16   that and we find that 43.87, almost 44 percent, of the pipes

  17   based on this analysis of quick burst really fall below, would

  18   be noncompliant pipe because they would not have the HDB,

  19   minimum HDB that they should have.

  20   Q.    Those would be not only lower but actually below the

  21   minimum?

  22   A.    Yes.

  23   Q.    Okay.

  24                 Continue.

  25   A.    Well, there's some other -- I mean, just in general, it's
                                                                        2913ID
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                                  #:140738
   1   A.    Yes.

   2   Q.    What about declines in the accelerated regression and E-2

   3   tests, the shortened HDB?

   4   A.    Declines in the accelerated regression test, declines in

   5   the calculated HDB or LTHS very directly speak to long-term

   6   strength and durability reductions.

   7   Q.    By the way, the E-2 test -- we've talked about it today --

   8   do you have it in mind?

   9   A.    Yes.

  10   Q.    Is that something that a manufacturer has to do in order

  11   to complete a full E-10, HDB test?

  12   A.    Yes, at some point they're doing have that amount of data,

  13   ten points, through 2,000 hours because that's part of

  14   developing the full data set.

  15   Q.    So let's put these together:      If you -- if all three -- if

  16   LTS, longitudinal tensile strength, has declined from 7800 to

  17   under 7,000 and quick burst has declined from 7800 to under

  18   7,000 and the AR and E-2 tests are failing half the time, what,

  19   if anything, does that tell you about the pipe's long-term

  20   strength and durability?

  21   A.    I think it's a very strong indication that the long-term

  22   strength and durability is decreased.       You have three different

  23   test methods that are showing the same decrease.

  24   Q.    Do you see any other hypothesis that you would credit?

  25   A.    No.
                                                                        2914ID
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                                  #:140739
   1   Q.      So what is your -- our ultimate conclusion about what the

   2   quick-burst test and the other things you analyzed show about

   3   J-M pipe during 1996 to 2006?

   4   A.      What all of this data shows to me is that at least from

   5   the quick-burst standpoint, the prediction is that almost 44

   6   percent of the pipe produced from 1996 to 2006 is noncompliant,

   7   meaning the LTHS value is below 3830 by our estimation.

   8   Q.      Does that mean it will fail sooner than it otherwise would

   9   have were it compliant?

  10   A.      Yes, definitely fail sooner than a compliant pipe would.

  11   Q.      Would that analysis apply to the pipe, the J-M pipe that

  12   plaintiffs in particular bought?

  13   A.      Yes.

  14   Q.      Just one more short topic, Mr. Edwards.

  15                  I want to ask you about how you would gauge the

  16   degree of noncompliance and its relationship to lifespan.

  17                  What would you need -- you have these de client quick

  18   bursts and LTHS and AR, would that permit you to generate

  19   predictions as to when exactly the pipe will fail?

  20   A.      It wouldn't tell me exactly when a particular pipe would

  21   fail, but it certainly very clearly gives you a ratio of

  22   long-term strength of these values that are derived from the

  23   quick burst and other tests, but in my case the quick burst

  24   test.     It would tell you a percentage of life compared to pipe

  25   that was compliant or met the HDB that was expected.
                                                                        2915ID
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                                  #:140740
   1   Q.    What would you -- so by relative, what do you mean by

   2   relative ratio?

   3   A.    What I mean by relative is two pipes, one compliant pipe

   4   versus one that by the quick-burst test shows a noncompliant or

   5   lower LTHS, expose both of those pipes to the same stress you

   6   get a very different calculation of lifetime to failure

   7   depending on the stress.       So for equivalent stresses, the

   8   noncompliant pipe is going to fail much earlier.

   9   Q.    Can you actually specify -- it sounds like you can't say

  10   the date of failure.       Can you specify as a percentage how much

  11   sooner the pipe will fail?

  12   A.    Yes.

  13   Q.    Can you give us an example.

  14   A.    Well, an example would be if you have a compliant pipe

  15   that's, say, at a very low stress value of 1600 psi, you would

  16   get basically 100 percent of the life that you would expect

  17   from that HDB or that LTHS value.       If you have one that's, say,

  18   100 psi below that requirement in terms of LTHS, it may be

  19   approximately 45 percent of the life of the compliant pipe..

  20                MR. LITMAN:    Could you please put up slide 31.

  21   Q.    Do you recognize that slide?

  22   A.    Yes, I've seen that slide before.

  23   Q.    And is it -- is it -- how are those numbers generated?

  24   A.    Well, those numbers are generated by, number one, for the,

  25   like the 4,000 HDB you have a line associated with that.          And
                                                                        2916ID
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                                  #:140741
   1   then all the other 3900, 3800, down to 3500 psi, there are

   2   regression lanes associated with those saying that that is the

   3   LTHS -- the column says HDB, but it's really referring to LTHS.

   4   Associated with them, you put -- in this case, they put 1600

   5   psi hoop stress into the regression equation and calculate a

   6   lifetime with the 4,000 being 100 percent.        You calculate the

   7   lifetime for the equation for the 3900.        In this case they're

   8   showing 60 percent down to 6.78 percent for 3500.

   9   Q.    All right.    For example, all things being equal, your HDB

  10   was 4,000, and now it's 300 psi less.       What percentage of

  11   lifetime will this pipe with an LTHS of 3700 have relative to

  12   the pipe that has a 4,000 LTHS?

  13   A.    Well, this slide is showing almost 21 percent, 20.79

  14   percent.

  15   Q.    All right.    So let's assume -- now, do you know exactly

  16   how long, without any more information, this pipe will last?

  17   A.    No, you would need to know the stresses that it's under

  18   during its time in service.

  19   Q.    For ease of computation let's call that 100 years.         How

  20   long will the 3700 pipe last before failure?

  21   A.    Assuming that 100 percent is 100 years, it would be 20.79

  22   years.

  23   Q.    Eighty years earlier?

  24   A.    Yes.

  25   Q.    Why is it that what seems like fairly small differences in
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                                  #:140742                             3001



 1
                               UNITED STATES DISTRICT COURT
 2
                    CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
 3
                         HONORABLE GEORGE WU, U.S. DISTRICT JUDGE
 4

 5

 6          UNITED STATES OF AMERICA, et al.,)
                                             )
 7                   Plaintiffs,             )
                                             )
 8                        vs.                )
                                             )        NO. CV 6-55-GW
 9          J-M MANUFACTURING CO., INC.,     )
                                             )
10                   Defendant.              )
            _________________________________)
11

12

13                        REPORTER'S TRANSCRIPT OF PROCEEDINGS

14                                Los Angeles, California

15                                       PM Session

16                               Friday, October 19, 2018

17

18
                           ___________________________________
19

20

21

22
                                  AMY DIAZ, RPR, CRR, FCRR
23                               Federal Official Reporter
                                 350 West 1st Street, #4455
24                                  Los Angeles, CA 90012

25
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                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
Case 5:06-cv-00055-GW-PJW Document 2814-1 Filed 01/14/19 Page 47 of 159 Page ID
                                  #:140743                             3008
                             EDWARDS - DIRECT


 1           A. The 7068 Quick Burst value equates to an HDB of 3830 PSI,

 2          which is the minimum-allowed HDB -- LTHS value to achieve an

 3          HDB of 4,000 PSI.

 4           Q. And if it's under that?

 5           A. If it's under that, then it -- the pipe -- the pipe, as

 6          extruded, can't have the 4,000 HDB.        So it can't be sold as

 7          pressure pipe.

 8           Q. All right.     But you want to figure out -- if you wanted

 9          to make some kind of concrete recommendation about not

10          relative change in the life span, but actual failure date,

11          what other data would you need?

12           A. The other data that you would need would be the

13          in-service stresses that the pipe would be subjected to for a

14          particular pipe.     To say it will fail in a certain time, you

15          need to know the total stress that that pipe is under.

16           Q. Do you also need to assume, or did you in this case

17          assume a benchmark level of how long compliant pipe would

18          last?

19           A. Yes.

20           Q. What was that?

21           A. 100 years.

22           Q. Why did you choose that number?

23           A. The industry, including J-M, claims a hundred years life

24          for their pipe, at a minimum.       The Uni-Bell PVC Pipe

25          Association very clearly claims 100 years.         It's pretty




                       AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
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                             EDWARDS - DIRECT


 1          widespread in Europe, as well, a claim of at least a hundred

 2          years lifetime for PVC pipe that is compliant.         And our

 3          analysis and my analysis of the Quick Burst data and all of

 4          the information that we have here, if we look at the HDB data

 5          sets for either the qualification data sets or even, at the

 6          minimum, 3,830 HDB data set, it's consistent with that as

 7          well, medium- to medium-high level stresses which are

 8          possible in the field.      You can get a hundred years for that

 9          calculation.

10           Q. Now, are you asserting that it will be a hundred years on

11          the money?

12           A. No.

13           Q. You mentioned in-service stresses.        Just can you explain

14          a little bit more how the in-service stresses that you talked

15          about before relate to the hundred-year benchmark that you

16          selected.

17           A. Well, the range of stresses that I have in my report, the

18          middle range is like 3,420 PSI.         Actually, if you look at --

19                    MR. BERNICK:     Objection.    This is the issue,

20          Your Honor.    It's a hundred years, but now we are getting

21          numbers assigned -- we are building up to a percentage that

22          is represented by those stresses.

23                    THE COURT:     I'll sustain the objection.

24          BY MR. LITMAN:

25           Q. Why did you choose 100 years?




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                                                                        3201ID
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                                  #:140745
   1                    UNITED STATES DISTRICT COURT

   2        CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

   3                        HONORABLE GEORGE WU

   4              UNITED STATES DISTRICT JUDGE PRESIDING

   5                                 - - -

   6
       United States of America, et al.,  )
   7                        PLAINTIFF,    )
                                          )
   8   VS.                                )        NO. CV 6-55 GW
                                          )
   9   J-M Manufacturing Co., Inc.,       )
                              DEFENDANT, )
  10   ___________________________________)

  11

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  13               REPORTER'S TRANSCRIPT OF PROCEEDINGS

  14                        JURY TRIAL - DAY NINE

  15                            VOLUME I OF II

  16                       LOS ANGELES, CALIFORNIA

  17                      MONDAY, OCTOBER 22, 2018

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  19

  20               _____________________________________

  21                   KATIE E. THIBODEAUX, CSR 9858
                       U.S. Official Court Reporter
  22                   312 North Spring Street, #436
                       Los Angeles, California 90012
  23

  24

  25


       UNITED STATES DISTRICT COURT,         CENTRAL DISTRICT OF CALIFORNIA
                                                                        3211ID
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                                  #:140746
   1   $2.1 million number to $3.1 million.       The rest of the

   2   numbers, as we have talked about, ultimately both in

   3   Arcadis' case and also in Mr.~Lehmann's case, who uses

   4   them, have gone down significantly, and there is no real

   5   prejudice from it.

   6            THE COURT:   Well, there is prejudice in the sense

   7   that, again, when you litigate the case -- because it is

   8   not just that number.     If it was just that number, yes, I

   9   agree.   I don't see how the defendants could complain if

  10   it was just that number because the number does go down.

  11                The problem is that proportionally and also

  12   the other factors and also the reasoning, et cetera, et

  13   cetera, et cetera, it does affect their case.        And so it

  14   is not like the plaintiffs are giving the defendants a

  15   great big gift, because it is not.       It is kind of like a

  16   Trojan horse.

  17                So they are getting something, but they may

  18   lose much more than they are getting.       So they don't want

  19   to have that situation where they have to be in that

  20   scenario.    So they have made the objection.      I understand

  21   the objection.     I think the case law supports their

  22   objection, so I will grant their ruling.

  23            MS. JANGHORBANI:    Thank you, your Honor.     Now,

  24   just as a practical matter there are two things that I

  25   would prefer to sort out ahead of time.        One is their


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                                                                        3801ID
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   1                    UNITED STATES DISTRICT COURT

   2        CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

   3                        HONORABLE GEORGE WU

   4              UNITED STATES DISTRICT JUDGE PRESIDING

   5                                 - - -

   6
       United States of America, et al.,  )
   7                        PLAINTIFF,    )
                                          )
   8   VS.                                )        NO. CV 6-55 GW
                                          )
   9   J-M Manufacturing Co., Inc.,       )
                              DEFENDANT, )
  10   ___________________________________)

  11

  12

  13               REPORTER'S TRANSCRIPT OF PROCEEDINGS

  14                        JURY TRIAL - DAY TEN

  15                           VOLUME II OF II

  16                       LOS ANGELES, CALIFORNIA

  17                      TUESDAY, OCTOBER 23, 2018

  18

  19

  20               _____________________________________

  21                   KATIE E. THIBODEAUX, CSR 9858
                       U.S. Official Court Reporter
  22                   312 North Spring Street, #436
                       Los Angeles, California 90012
  23

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  25


       UNITED STATES DISTRICT COURT,         CENTRAL DISTRICT OF CALIFORNIA
                                                                        3835ID
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                                  #:140748
   1   familiarize yourself with J-M's position on the lifespan

   2   of its pipe; correct?

   3   A      Yes.

   4   Q      And as part of that, did you review J-M's response

   5   to interrogatories?

   6   A      Yes.

   7   Q      Specifically, interrogatory having to do with the

   8   lifespan of pipe according to J-M; correct?

   9   A      I don't recall it like that.

  10   Q      Well, let me turn your attention to Exhibit 20135.

  11                 Again, I don't think we need to either display

  12   or get this into evidence, but we need to get the

  13   specific response into evidence.

  14                 You understand, sir, that this was --

  15           MR. CHAN:    What exhibit number?

  16           MR. DILLMAN:    31123.

  17   Q      BY MR. DILLMAN:    I apologize, sir.     There we go.

  18                 These are J-M's responses to interrogatories

  19   sent out by the plaintiffs; right?

  20   A      Yes.

  21   Q      You understand that an interrogatory is a question

  22   by one side to the other that has to be responded to

  23   under penalty of perjury?

  24   A      I understand.

  25   Q      And with respect to interrogatory No. 72, would you


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                                                                        3836ID
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                                  #:140749
   1   just read the interrogatory into the record?

   2   A      Read No. 72?

   3   Q      Yes, sir.    Just the question there.

   4   A      "At the time you sold J-M PVC pipe installed in the

   5   projects, did you have any expectations as to how long

   6   that PVC pipe would last?"

   7   Q      And then the response follows it.       There were a

   8   number of objections.     So I want to skip over those and

   9   ask you to read from, however, comma, assuming?

  10           THE COURT:    Again, counsel, page 53, line 11?

  11           MR. DILLMAN:    Correct, your Honor.

  12           THE COURT:    All right.

  13           THE WITNESS:    "However, assuming that the pipe in

  14   question was properly handled, installed and maintained,

  15   and that the relevant systems are properly operated, J-M

  16   states that its PVC pipe should last for a hundred years

  17   or more consistent with numerous published studies

  18   finding that PVC pipe has a proven durability in excess

  19   of a hundred years."

  20   Q     BY MR. DILLMAN:    Thank you, sir.    Would you also

  21   turn to Exhibit 31149.

  22                 Do you recognize 31149?

  23   A      Yes, I do.

  24   Q      It is a J-M Eagle publication or brochure?

  25   A      Yes.


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                                                                        3837ID
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                                  #:140750
   1            MR. DILLMAN:    Move to admit, your Honor.

   2            THE COURT:   Any objection?

   3            MR. CHAN:    No objection.

   4            THE COURT:   All right.

   5          (Exhibit 31149 received in evidence.)

   6   Q     BY MR. DILLMAN:     Now, this is a fold-out so we are

   7   seeing half of it.      And up at the top I have highlighted

   8   J-M Eagle.     The long -- and the other side is going to

   9   say the longest lasting.      Up top here, it says, "100 plus

  10   year lifespan of J-M Eagle plastic pipe means less

  11   breakage and fewer replacements."

  12                 Do you see that?

  13   A      Yes.

  14   Q      And that is J-M's position; correct?

  15   A      Yeah, absolutely.     Getting back to the, you know,

  16   properly installed, properly this, properly that.

  17   Q      Sure.    Talking about your pipe, it is a hundred

  18   years?

  19   A      Yes.    Yes.

  20   Q      And then if you would turn to the next page.        "PVC

  21   pipe offers a minimum service life of a hundred years for

  22   water utilities."

  23                 That is J-M's position.    A minimum of 100

  24   years; right?

  25   A      If installed and operated properly, studies show


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                                                                        3838ID
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                                  #:140751
   1   that it will last.

   2   Q      Understood.    Understood.    I wasn't meaning to take

   3   away your caveats of installation.

   4   A      Okay.

   5   Q      Do you recall that you were also designated by J-M

   6   as the witness to testify on pricing of J-M's pipe?

   7   A      Yes.

   8   Q      You attempted to determine the price of the

   9   plaintiffs' pipe; right?

  10   A      Yes.

  11   Q      And you attempted to determine the price of the

  12   plaintiffs' pipe, didn't you, what they paid?

  13   A      We made an attempt.

  14   Q      You were not successful, were you?

  15   A      I don't think it is possible to be successful.

  16   Q      Because there is no way to tie J-M's pipe from any

  17   particular manufacturer or factory to a job site;

  18   correct?

  19   A      That is true.    I mean, it could even be someone

  20   else's pipe.    I have seen that before.

  21   Q      Well, assuming that when the inspectors checked all

  22   the pipe as it went by and checked the stamps and so on

  23   that they didn't let slip in some competitor's pipe?

  24   A      Happens all the time.

  25   Q      One of the hazards of the trade; right?       You would


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                                                                        3889ID
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                                  #:140752
   1           MR. WATSON:    I think this is precisely how it

   2   interrelates.    Every pipeline either has or doesn't have

   3   these factors that are part of what the pipeline serves,

   4   how it works in the community, works with the

   5   environment.    Those are important features.

   6           THE COURT:    Is he going to say the costs are

   7   different depending upon certain things?

   8           MR. WATSON:    I think, your Honor, this goes to --

   9           THE COURT:    If he does, he can talk about it

  10   directly.    You don't need this chart to get into that.

  11   Again, he can talk about the cost of replacement, to the

  12   extent that he can, and the cost of the pipe.

  13           MR. LITMAN:    This is Harry Litman, your Honor.      If

  14   your Honor's tentative remains, we are going to need to

  15   show the jury that the replacement is a matter of the

  16   sort of structural integrity of the pipe.        And I believe

  17   that Mr. Watson is explaining how Mr. Cathcart is going

  18   to speak to that.

  19           MS. JANGHORBANI:     Your Honor, you already ruled

  20   that the structural integrity of the pipe is not covered

  21   by Mr. Cathcart's report and that that couldn't come in

  22   through him.    I can pull your ruling at the beginning of

  23   this case.

  24           MR. WATSON:    That has never happened.

  25           MS. JANGHORBANI:     It has.   So this is the thing,


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                                                                        3890ID
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                                  #:140753
   1   your Honor.    This is what we argued about at length in

   2   connection with the motion in limine.       We talked about

   3   how this threat of imminent, you know, failure and

   4   catastrophic structural, blah, blah, blah.        He has done

   5   nothing to assess the likelihood of failure of any of the

   6   pipe.

   7                He is expressing, and they said it in

   8   writing -- he is expressing no views as to the strength

   9   and durability of the pipe.      So now what they are going

  10   to try to do is back door in through him, through these

  11   factors the fact that if this pipe fails it is going to

  12   be really, really bad.      That is not their theory anymore.

  13   Their theory is now that they replace it when it fails.

  14            THE COURT:    He also doesn't go there.

  15            MR. WATSON:    Your Honor, if I may.    The theory of

  16   the case, and it has already been presented to the jury,

  17   that we believe a certain percentage of pipe will fail

  18   early.

  19            THE COURT:    That is fine.

  20            MR. WATSON:    And this simply talks about how does

  21   that pipe that is the 26 projects interrelate with the

  22   systems we are in and the neighborhoods they are in.         And

  23   that is important testimony for your Honor --

  24            THE COURT:    You mean that some people are going to

  25   assume that there is some pipe that is not connected to


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                                                                        3891ID
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                                  #:140754
   1   the system?    I don't understand.     Is this water pipe

   2   throughout these various areas?

   3            MR. WATSON:    Some is more important, and some is

   4   less important.     Some is in front of fire houses.

   5            THE COURT:    That was specifically what I excluded.

   6   She is right on that.      I remember that specifically.     So,

   7   no, he doesn't go in there.

   8            MS. JANGHORBANI:    Thank you, your Honor.

   9          (The following proceedings were held in the

  10            presence of the jury:)

  11   Q      BY MR. WATSON:     Mr. Cathcart, let's change subjects

  12   a bit.   Did you form an opinion on the cost of

  13   replacement of the J-M pipe in the 26 projects?

  14   A      Yes.

  15   Q      How did you go about determining the cost of

  16   replacement?

  17   A      We did a detailed review of all of the engineering

  18   drawings and specifications, the record drawings.

  19   Q      Is that a process that you have done in the past?

  20   A      Yes.

  21   Q      Tell us about whether it is something you have done

  22   often in the past or not often.

  23   A      Whenever we are doing a cost estimate, we always

  24   look at the engineering drawings and the specifications

  25   to get all of the details that went into the project to


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                                                                        3892ID
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                                  #:140755
   1   make sure that we get accurate quantities and all of the

   2   pieces of a project properly costed.

   3   Q       And when you were looking at forming your opinion

   4   as to the cost of replacement, what were you looking at

   5   replacing?

   6   A       Well, we were looking at replacing the pipe itself,

   7   and then any other thing associated with the pipe that

   8   would have to be removed and replaced.

   9   Q       If we could pull up demonstrative 12, please.

  10                Mr. Cathcart, what does this demonstrative

  11   show?

  12   A       This is a graphic showing what is really underneath

  13   city streets, a lot of infrastructure that nobody ever

  14   sees.    The blue pipe there would represent J-M pipe,

  15   water pipe.    You have the big kind of whitish-gray

  16   facilities that represent sewer system, manholes, and

  17   storm drain manholes.     And then there is associated pipes

  18   coming and going from all of those manholes.

  19                The small blue line going from the blue

  20   pipeline to the right goes to a fire hydrant, so that

  21   supplies the fire hydrant with water in case of a fire.

  22                The yellow line going to the left would

  23   represent a small line that goes to an individual

  24   service, so like your house or some commercial

  25   establishment or business.


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                                                                        3922ID
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                                  #:140756
   1   Q     BY MR. WATSON:    Let's look at slide 33, please.

   2                 Tell us what this is.

   3   A      This is the one project for Calleguas Municipal

   4   Water District, the Lake Bard project.        And the total

   5   cost on that is $691,292.

   6   Q      And slide 34, please.

   7   A      And this is the same breakdown for Palmdale Water

   8   District for the different projects.       And that total

   9   amounts to $24,902,009.

  10   Q      Let's look at slide 36.

  11   A      And this is the City of Reno recycled water system,

  12   two projects totaling 9,958,564.

  13   Q      And then Norfolk, which is 37?

  14   A      And Norfolk, the two composite projects total

  15   $1,265,203.

  16   Q      And then we have a summary slide, 38.

  17                 What does this show, Mr. Cathcart?

  18   A      This just adds up all of those components that we

  19   just talked about.     So the total replacement for all of

  20   these entities would be $47,027,203.

  21   Q      Is this the result of the multi -- hundred-page

  22   spreadsheet that we looked at just a few pages of a

  23   couple of minutes ago?

  24   A      Yes.

  25           MR. WATSON:    I would like to ask that 33 through


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                                  #:140757
   1                     UNITED STATES DISTRICT COURT

   2          CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

   3                          HONORABLE GEORGE WU

   4                UNITED STATES DISTRICT JUDGE PRESIDING

   5                                   - - -

   6
        United States of America, et       )
   7    al.,                               )
                             PLAINTIFFS,   )
   8                                       )
        VS.                                )       NO. CV 06-00055 GW
   9                                       )
        J-M Manufacturing Co., Inc.,       )
  10                           DEFENDANT, )
        ___________________________________)
  11

  12

  13                 REPORTER'S TRANSCRIPT OF PROCEEDINGS

  14                         LOS ANGELES, CALIFORNIA

  15                       THURSDAY, OCTOBER 25, 2018

  16                      PAGES 4601 - 4800/P.M. SESSION

  17                             VOLUME II OF II

  18                 _____________________________________

  19                      DEBORAH K. GACKLE, CSR 7106
                         U.S. Official Court Reporter
  20                          350 W. First Street
                         Los Angeles, California 90012
  21                             (213) 894-8913

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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
                                                                        4698ID
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                                  #:140758
   1                 MR. HAVIAN:    I'm happy to let him review it, Your

   2   Honor.

   3                 THE COURT:    All right.

   4   BY MR. HAVIAN:

   5   Q.    Dr. Folkman, I think in our binder there's a tab that has

   6   your deposition in it.        So I think it may be at the back.

   7   A.    I'm sorry.     This binder?

   8   Q.    That's the binder, the good binder.       I think it's at the

   9   back, maybe the last tab?

  10   A.    I'm with you now.       Okay.

  11   Q.    All right.     If you can go to page 79, I apologize for the

  12   condensed transcript, I always hate these things myself.          The

  13   print is small, but ...

  14   A.    That's 78 through 81, is that what I'm reading, right?

  15   Q.    That's correct.       Page 79 is in the lower left-hand corner.

  16   A.    Okay.

  17   Q.    I want you to just read from line nine to line 17.

  18   A.    Okay.

  19   Q.    Does that refresh your recollection that you became aware

  20   in conferences that the consensus opinion in the PVC industry

  21   was for an expected life of PVC of 100 years?

  22   A.    Well, wording here is very important, and maybe I didn't

  23   do so well in that deposition, but what I was referring to is

  24   minimum life.

  25   Q.    Okay.


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                            CENTRAL DISTRICT OF CALIFORNIA
                                                                        4699ID
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                                  #:140759
   1                 Fair enough.

   2                 At least there's a consensus opinion about a minimum

   3   life of 100 years?

   4   A.    That is true.     Don't ask the ductal iron people.

   5   Q.    I still stay away from them like the plague.

   6                 You were asked a question about design life, remember

   7   you -- your counsel put up something from the AWWA publication

   8   about design life and it said you shouldn't use short-term

   9   tests when you're doing a design life, do you recall that?

  10   A.    That was today?

  11   Q.    That was today, yes.     I know it's --

  12   A.    Well, I'm not exactly sure what you're referring to, but

  13   maybe if you continue a little along maybe I can see where

  14   you're going with this.

  15   Q.    I don't have it handy.     I'll see if I can get it quickly

  16   in a moment, but let me see if I can ask the question without

  17   referring to it.

  18   A.    Yeah.

  19   Q.    When you're doing a design calculation and you're

  20   designing a pipeline, you want to have the best information

  21   possible, right?

  22   A.    That's correct.

  23   Q.    And so if you're doing design and you have long-term data

  24   available to you, you want to use the long-term data, right?

  25   A.    It's very difficult to estimate the life of a pipe, but to


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                            CENTRAL DISTRICT OF CALIFORNIA
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   1                      UNITED STATES DISTRICT COURT

   2          CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

   3                          HONORABLE GEORGE WU

   4                UNITED STATES DISTRICT JUDGE PRESIDING

   5                                   - - -

   6
        United States of America, et       )
   7    al.,                               )
                             PLAINTIFFS,   )
   8                                       )
        VS.                                )       NO. CV 06-00055 GW
   9                                       )
        J-M Manufacturing Co., Inc.,       )
  10                           DEFENDANT, )
        ___________________________________)
  11

  12

  13          REPORTER'S TRANSCRIPT OF DAILY TRIAL PROCEEDINGS

  14                         LOS ANGELES, CALIFORNIA

  15                        TUESDAY, NOVEMBER 6, 2018

  16                    PAGES 6,601 - 6,800/P.M. SESSION

  17

  18                             VOLUME II OF II

  19                 _____________________________________

  20                      DEBORAH K. GACKLE, CSR 7106
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  23

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  25
                                                                        6638ID
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   1   That's not the question before you.       We're only asking for what

   2   is the value of the pipe that we got.       What is the value of the

   3   pipe that we got.

   4                I'll try to stay over this direction, Deborah.

   5                Our answer to that question is the value we got was

   6   zero.     Actually, the real answer is it's a negative value and

   7   why is that?     Well, J-M made a point of the fact that water's

   8   flowing through the pipe and that's true.        And you get some

   9   value out of that and that's true.       But let's say instead of

  10   the 43 percent failures within 100 years that Mr. Edwards

  11   predicted and the 27 percent that Mr. Paschal suggested, some

  12   lesser amount fails.     I don't know.    Ten percent, 15 percent,

  13   maybe you're skeptical of those numbers.        But the cost of the

  14   pipe compared to the huge expense of digging it up, even if

  15   it's a small amount is going to dwarf the cost the pipe; the

  16   cost of the pipe is a tiny fraction of what it costs to replace

  17   the pipe.     So on balance is that pipe worth anything to us?

  18   No, no.

  19                What's the difference in value -- that's the question

  20   the court has asked you to answer -- what is the difference in

  21   value between what we paid and what we got?        And you heard

  22   those plaintiffs testify if they had this to do over, they'd

  23   pay zero for that pipe because, on balance, those failures are

  24   going to swamp any benefit from when the pipe is actually in

  25   the ground and carrying water.
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                 EXHIBIT 244
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                                          #:140763




                       ]·M's 20 Most Frequentlv Asked Questions (FAW Data Base on our Web Site ·


                  . Prepared by Product Assurance Department: Steve West, Kaushal Rao and Hien Lam
                    Reviewed by Ouality Assurance Department: . Jack Hwang and Joe Ponzo
                    Second8lY Review by Uni-Bell: Craig Fisher
                    Final Review by: Bany Lin, Hank Lin, Johnny Mai and Kai Cheng .

                       Most Recent Update: September 25, 200i


                       1) ·Does J-M have a standard product warranty for its PVC pipes?

                       Yes, J-M does have a standard product warranty for all of our PVC pipes. The terms and
                       conditions are as follows:                                                .

                                                                            WARRANTY
                       J-M warrants that its standard products are manufacturedin accordance with its
                  . applicable material specifications and are free from defects in workmanship and
                       materials, using J-M' s specifications as Ii standard. Every claim under !his warranty shall
                       be deemed waived unless in writing and received by J-M within thirty (30) days of the
    )                  date the defect was discovered, and withiD one (I) yearoftbe date of the shipment.
                       Claims for ptoduct appearanc,e defects, such as sun bleached pipe etc., however, must be

                   .
                       made within thirty (30) days of
                                                     .
                                                       the date of the shipment. J-M mustfirst be given an
                       opportunity to inspect the product aileged to be defective in order to detennine if it meets
                       J-M specifications and if the handling, installation, and operating conditions have been
                       satisfactory and in accordance with J-M recommended practices. Products sold by J-M,
                       which are manufactured by others, are warranted only to the extent and limits of the
                       warranty of the manufactUrer. The limited and exclusive re~edy for breach of the above
                       warranty by J-M shall be the re-supply of a like quantity ofnon-defective product. J-M
                       shall not be liable for any INCIDENTAL, CONSEQUENTIAL, OR OTHER I,>AMAGES
                       OF ANY KIND, INCLUDING, WIrnOUr LIMITATION, ANY EXPENSES FOR
                       REMOVAL OR REINSTALLATION RESULTING FROM ANY DEFECT. J-M
                       MAKES NO OTHER REPRESENTATION OR WARRANTY OF ANY KIND,
                       EXPRESS OR IMPLIED, IN FACT OR IN LAW, INCLUDING, WITHOUT
                       LIMITATION, THE WARRANTY OF MERCHANTABILITY AND WARRANTY OF

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o
              FITNESS FOR A PARTICULAR PURPOSE, OTIIER 1HAN THE LIMITED
              WARRANTY SET FORTH HERElN.

              2) What are J-M's recommendations for joining PVC pipe?

              J-M recommends that our pipe be installed such that the assembly line on the spigot is
              even with the bell. This also provides greater ease of inspection when verifying proper
              assembly from the top of the trench.                    .

               A joint that is assembled per our recommendations will exhibit a gap. in which the
               beveled end of the spigot is stopped short of being f\illy bottomed out in the bell. This
               gap should be in the allowed tolerance of W' to 2.5": Studies have shown that this gap .
               poses no significant effect in tenns of head loss or clogging, and is supported by a proven
               history offully functional lines. Although bottoming out the spigot into the neck of the
               bell may yield a joint that appears more attractive when televised, this joint is also more
               likely to exhibit leakage or breakage due to loss.offlexibility or stress from oVe(
               assembly. By assembling the joint so that the reference mark (or assembly mark) is even
               with the bel~ typical variations in the field can be accommodated. The variations may
               result from expansion or contraction of the pipe, or the variations may result from
             . deflection at the joint due to soil movement in the trench..


o             J-M's standard installation recommendatio.ns call for no axial defleCtion at the joint. This .
              recommendation emphasizes the fact that any intentional change of direction should be
              accomplished through a fitting connection or by bending the barrel of the pipe rather than
              offsetting the pipe joint.                                      .

              J-M'S procedures for installing Reiber ~d non-Reiber gaskets:

              If you· have received a combined shipment ofJ-M pipe that contains both Reiber· and non- .
              Reiber gaskets, pJease note the following: non-Reiber and Reiber gaskets adhere to the same
              standards for the various types of J-M pipe. They are both of superior qUality and 1-M will
              stand behind them with a 100010 warranty provide4 you follow our recominended installation
              procedures, which are:

              1) When installing J-M pipe with the same type of gaskets, which means Reiber to Reiber
              pipe or non-Reiber to non-Reiber pipe, you should use the reference marks on the
              respective type spigot ends.

              2) When jnstaII.ing fwo different types of gasketed pipe, J-M makes the following
              recommendations to account for the fact that the Reiber joint has a longe~ bell and
              reference mark when compared to the non-Reiber pipe:

                                             a) Non-Reiber Spigot to Reiber Gasketed Bell
                                                 F-ollow the non-Reiber pipe reference mark at the
                                                 spigot end.


o                                                           2 .


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                                               b) Reibedpigot to Non-Reiber Gasket Bell
                                                  Do not insert the pipe all tbe way to the reference
                                                  mark on tbe Reiber pipe spigot end. Instead, use the
                                                  reference mark .that is shown on tbe non-Reiber      .
                                                  pipe. This will require·some measurements from
                                                  J-M's non-Reiber reference mark.

              By following the above recommendations, Customers will not experience joint problems
              such as over-aSsembly,. damaged bells, or cracked bells..

              Note: the minimum recommended temperature of pvc pipe during installation should
              exceed M> degrees Fahrenheit.

              3) During the installation process, what is J-M's recommended d~tion for the bells?

              I-M's pipe bells can be laid either upstream or downstream. There is no significant hydraulic
              benefit for either direction, and therefore we leave the decision to the discretion of the
              installer. However, J-M recommends that the bell ends point in the direction of work progress
              to save extra effort It is easier to insert the spigot into the bell than it is to push the beU over
              the spigot. This also reduces the risk of rubble being scooped under the gasket. The direction
              will not adversely affect the performanCe ofilie I?ipe.


o             4) W.bat art the lubricatio~ procedures for J-M's PVC pipe?

              Lubricate th~ spigot end of the pipe, using the lubricant Sl)pplied. Be sure to cover the
              entire spigot end circumference WIlli PARTIqJLAR ATTENTION PAID TO TIm
              BEvELED END OF THE SPIGOT. Apply the coating with your hand, a cloth, a pad, a
              spon~' or a glove.


              CAUTION: Do not lubricate the bell, especially the gaskets. After spigot end is·
              lubriCated, do not allow it 'to touch the bedding material. Small pieces of stone or soil
              may stick to the lubricant and may become lodged between the spigot and rubber ring .
              during (lSsembly. This may cause the joint to leak.                       .

              5) Can we join a PVC pipe to a ductile iron pipe?

                   as
              Just PVC pipe with Cast Iron OD's can be joined to Mechanical Joints that were
              originally designed for use with Ductile Iron pipe, C900 PVC pipe can bejoined directly
              to Ductile Iron pipe bells, and Ductile Iron pipe can be joined to C900 PVC pipe bells.

              J-M has two precautions when joining these materials:

              1. The bevel of the spigot should be made to look like the bevel of the px:oduct to which
                . it is being joined. Make a Ductile Iron pipe bevel longer than thilt which is normally
                  suppli ed on a Ductile Iron spigot, and make a PVC pipe bevel shorter than that which
                  is nonnally supplied o~ a PVC pipe spigot.. Use pipe beveled at the factory as a guide.



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              2. The depth of insertion of the assembly should be adjusted to reflect the assembly
                 mark found at the spigot end of the pipe whose bell you are using. Adjust the
                 assembly mark to be shorter on a PVC spigot; and adjust the assembly mark: to be
                 longer on a Ductile Iron spigot.      .

              6) What is the difference between a Reiber and a non-Reiber gasket?

              a. Reiber gasket. A steel wire or steel strip insert is incorporated in the gasket, which helps
                   "lock-in" the gasket in the bell' ring groove. .This gasket is non--removable, and higher
                   insertion forces may be encountered compared tQ the non-locked-in gasket.         .
              b~   Non-Reiber gasket. This noil-Ioclced-in gasket is typically pre-installed from our factory.
                   Ensure that the ring groove is clean should this ring be removed and re-installed in the
                   field.

              Having indicated the above.. both gasket designs conform to the same standards (gasket:
              ASTM F 477, and joint qualification: ASTM D 3139) and installation procedures for our
              Ring-Tite IPS PVC pipe. Joint preparation and assembly considerations include the
              following:
              a. Ensure the bell. gasket and spigot are clean prior to and during assembly.
              b. Ensure the gasket is seated evenly in the ring groove.
              c. Apply lubricant evenly and only on the spigot end.. Applying lubricant on the gasket
                  may introduce lubricant onto the ring groove, making the ring 'prone to displacement.

o             d. Insert up to the reference mark only. Do not stab or "home" the spigot into the bell.
              e. Align the spigot during insertion, and be vigilant to undue resistance, which may
                  indicate a dislodged gasket or incomplete lubrication.

              Our joint d'esigns have a proven history; and we assure you that our pipe will perfonn as
              intended when installed as recommended.

              7) Why is over insertion of pipes' at joints not recommended?

              If the joint is over assembled, in other words, the spigot is jammed into the neck of the
              belL the flexibility of the joint is lost. UneVen settlement in the trench miY cause an over
              assembled joint to leak - do not assemble beyond the reference mark. Proper assembly
              calls for insertion ofthe spigot end into the b~lI so that it is in contact with the gasket.
              Keep the pipe lengths in proper alignment. Brace the bell while the spigot end is pushed
              under the gasket, so. that previously completed joints will not be further inserted. Push the
              spigot into the bell until the assembly mark on the pipe bmel is flush with the erid of the
              bell. Stabbing is not recommended and should ~ avoided.

              Ifundue resistance to insertion of the spigot end is encountered or~e reference mark.
              does not reach the flush position, disassemble the joint and check the position of the
              gasket. If it is twisted or pushed out of its seat, clean the gasket, bell and spigot end, , .
              reseat the gasket properly (using a factory installed gasket as a guide) and repeat the
              assembly steps. Be sure both lengths are in proper alignment during assembly. If the




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o
              gasket was not out of position, measure the distance. between the reference      mark and the
              spigot end. ffnecessary, relocate the reference mark if it is out of position.

              Lastly, there should be nQ axial deflection at the joint. Bending the pipe, rather than
              deflecting the joints, should serve to accomplish small changes in direction.

              8) What is J-M's allowable vertical deflection OD gravity sewer pipe?

              J-M's SDR 3S PVC sewer pipe has a minimum pipe stiffhess of 46 psi. When installed in
              accordance with the recommendations in our installation guide, this pipe should have a
              maximum deflection limit for a non-pressure application of7.5%. Note! this is for ring .
              defl~ion of the pipe, not axial-deflection at the joint. .

              9) What is J-M's recommended cu"atllre for its gravity sewer pipe? .

              J-M does not reCommend any deflection at the joint for any of our products. Uni-Bell's
              recommendation is that offset at the joint OR unifomiJy bending the pipe is allowable;
              however, Uni-Bell does not recommend both on the same length of pipe. Using our 8"
              SDR 35 sewer pipe as an example. the pipe can be uniformly curved along the barrel of
              the pipe. There is a minimum radius of curvature, which for this pipe is 200 feet.· Per the
              following calculation, this allows curving across one 20-foot length piece of 5.73".


o             Length of are = 1t r= (3.14) x (200 ft.) = 628ft.

              Curve per 20' length /180" ""length of one piece !length of are

               Curve per 20' length /180° = 20 ft. 1628 ft.

               Therefore: Curve per 20' length = 5.73° .

               *Please refer to the Minimum Radii of Curvature Chart (Exhibit A) on page 9 of this
               document for additional eXamples .

              . 10) What is J-M's recommended curvature for its pressnrepipe?

               The pipe should be assembled abo~e ground, in a straight line. then curved and laid in the
               trench. All curvature results from the bendins·ofthe pipe lengths: There is no deflection
               at the joint. .

               "Please refer to the Mini·mum Radii of CurVature Chart (Exhibit B) on page 10 of this
               document for examples.        .

               11) What is the minimum cover for J-M's 4"·16" PVC pressure pipes?

               Minimum cover is recommended to be one foot from the top· of rigid road surfaces or the
               bottom of flexible road surfaces. At shallow depths of cover (1' - 3 '), Gass I or Cl!l~s II


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              material per ASTM D2321 with a minimum of95% Proctor density is recommended for
              pipes ranging from 4"-] 6". Angular embedment material shall be no larger than 0.75
              inches and rounded rock shall be no larger than 1.50 inches. Also, the maximum particl~
              size should be ~o greater than l00~ of the pipe's diameter.'

              12) What is the maximum recommended temperature of a fluid that is beil!g passed
              through J-M's PVC pipe?

              The maximum.oper8.ting temperature for J-M's PVC pipe is 140 degrees Fahrenheit. For
              cases where there is a temperature variation, special consideration should be given to the
              thermal expansion and contraction of the pipe.

              13) What are ultraviolet effects on J-M's PVC Pipes?

              All PVC pipes are formulated with additives to resist degradation from Sunlight.
              However an aesthetic change in color may develop when exposed outdoors for long
              periods of time. This shading of color occurs only on the surface of the PVC pipe and is
              ofa very shallow depth; measured usually at less than 0.001 inch. In light of this, any
              sun-bleached pipe supplied by J-M Manufacturing is covered under our standard product
              warranty.
                                 -   .
              Pertaining to research on this issue, Ii study was cOnducted by the Uni-Bell PVC Pipe -

o             Association to detennine the effects of ultraviolet radiation on PVC pipe, in which pipe
              was placed in racks throughout the United States for a period of two years. The results
              revealed that both the tensile strength and. the modulus of elasticity remained virtually-
              unchanged, while the impact strength remained well Within-the governing ASTM
              requirements.

              In conclusion, it has been determined that cltraviolet degradation will not have significant
              adverse effects on the mechanical properties of uriderground fonnulated PVC pipe.
              PVC pipe and gaskets can still be used after prolonged storage above ground under
              normal.conditions, and it is not necessary for the gaskets to be replaced unless there sie
              appreciable signs of degradation (sUch as cracking). Per the above, pipe can- be stored up
              to (but not limited to) two years above ground. Regarding the gasket, our standard
              gaskets are formulated to withstand UV radiation under common storage practices of
              ]lVC pipe.                       .              \

              14) What is the life expectancy of a PVC pipe?

              PVC pipes have an excellent record for long time durability. Per a study perfonned by
              Uni-Bell on this matter, the expected useful life for PVC pipe,is predicted to be in excess
              of 100 years.

              15) Explain the certification process for J-M's AWWA C900 Blue Bru~ PVC pipe?

              All classes of J-M' s Blue Brute pressure pipe are UL 1285 listed for water mains as well as
              being tested and certified to ANSI/NSF Standard 61. ~.PV~ cell classification is defined

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              .under ASTM D 1784 as 12454. The bell consists of an integral wall section with a factory
               installed, solid cross-~on elastomeric gasket to allow for expansion and contraction at eaCh
               joint. Joint design shall meet ASTM D 3139 performance testing requirements, with :which the
               e1astomeric gasket is manufactured in compliance with ASlM F 471. Each section of pipe
             . with integral bell has.been tested to four times the pressure class for a minimum of 5 seconds
               as a matter of routine tNlillty control testing. J-M's Blue Brute pipe does not meet AWWA C-
                Ill; this standard is for Ductile Iron Pipe.

              16) ~ J-M's SDR 35 gravity sewer pipe meet the various required industry
              standards?

              J-M's gravity seWer pipe meets the requireme¢s of ASlM D 3034 (46 psi pipe stiffiless
              controlled) for sizes 4" through 15". Likewise, the cell classification' of these products is
              12454 or 13364 as defined in ASTM D 1784. The joint design meets ASTM D 3212
              performl!ilce testing requirements,· thereby assuring a watertight joint that does not ex~ an
              infiltration I exfiltration allowance of 25 gallons / inch diameter I mile I day. The gasket for
              this joint assem~ly is made of an elastomeric gasket in compliance with ASTM F 477. Pipe
              sizes 4" through 15" contain a factory installed, locked-in gasket. Product should be installed
              in· accordance with J-M's publication TR-614 B, "Green-Tite PVC GraVity Sewer Pipe
              Installation Guide".               .

               17) To whicli product standards must J-M~s AWW A C900 and C905 joints
               conform?          .            .

o             Our C900 and C90S PVC pre~sure pipes must conform to the stringent requirements
              the following standards: ASTM F 477 - Standard Specification jor Elastomeric Seals
                                                                                                        of
              (Gaskets) jor Joining Plastic Pipe, and ASTM D 3139 - Standard Specificationjor Joints
              jor Plastic Pressure Pipes Using Flexible Elavmmeric Seals.          .

                Per ASIM D 3139, these products must conform to the Internal Pressure Test where the
               prod~ct'is  subjected to 50010 of the rated pressure for 60 minutes and 2.5 times the rated
                pressure for an additional 60 minutes. A Quick Burst Test is then conducted. Also, per
                ASTM D 3139, the pipe is subjected to a Vacuum Test in which the joint shaH withstand
                a vacuum of22 inches· o{mercury for one hour with no leakage. In addition, each piece
                of pipe is hydrostatically tested to 4 times $e Pressure Class (C900}or 2 ~es the
              . PresSure Rating (C905) for 5 seconds prior to shipment.

               18) What is th~ pressure rating I pressure class for J-M's PVC pipe?

               The pressure rating of PVC pipe is establish.ed by dividing the maximum long-tenn
               pressure capacity of the pipe by the desired factor of safety, which is usually 2.0.. The
               C900 pressure class is derived in a similar manner; however, a safety factor of2.S is
               used. Also note that a surge allowance is included within the safety factor. Although PVC
               pipe can withstand short-term hydrostatic pressure applications at levels substantially .
               higher than the pressure rating or class,the allowable preSS\1re is properly based on the
               product'slong-tenn strength. Research and investigations have accumulated vast
               quantities of data that clearly substantiate the reliability of PVC pipe pressure rating and


o                                                            7


                                                                                                          JME0000519917
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o
              pressure class values.. As specified in AWWA, C~OO Pressure Class is defined as the
              "pipe's designated design capacity (psi) that corresponds with its recommended safe
              sustained operating pressure". Pressure class designatio.ns include an allowance for
              pressure surges above the maximum sustained operating pressure caused by ,
              instantaneous velocity changes of2 ftlsec. Pressure class designations are based on long-'
              term pressure rating at 73.4 degrees Fahrenheit.

              19) What is the proper procedure for pressure testing lif J:-M's pressure pipe?

               The recommended maximum test pressure of installed PVC pressure pipe is 1.50 times
               the anticipated working pressure ofthe system; however, if the test pressure exceeds the
               rated pressure, the maximum test pressure should be the rated'pressure. In addition, in no
             . case should the test pressure exceed the rating of the valves or fittings, whichever is 'less.
               The typical test duration is 2 hours. Ensure that.all the air'ls removed from the pipe prior
               to ,testing.'                            .

              J-M does allow testing of the system to..50 psi above the rated pressure for.C900 pipe
              only. For DR 14 C900 pipe, this Wo.uld be 250 psi. Make sure that the valves; fittings, and
              thrust blocks will be able to handle' the extra pressure. The AWWA c906 standard is
              conservative compared to all other PVC pipe standards regarding the allowable pressure
              of the pipe, but that does change the fact that a DR 14 pipe made to this standard is
              marked with an allowable rated pressure of200 psi.

o            , 20) What is '~e accePtable au: testing procedure for J-M's SDR 35 gravity sewer pipe?

              I-M's gravity sewer PVC pipe can be air tested per ASlM F 1417 - "Standard Test Method,
              for Installation Acceptanc;e of Plastic Gravity Sewer Unes Using Low-Pressure Aif". Per this
              specification, testing pressures are regulated between 3,5 to 4.0 ,psig with a maximum
              allowable test pressure of 9 psig. It is not recoIllIilended that air-testing pressures exceed thi!)
              limit due to worker safe~ issues.




o                                                             8

                                                                                                             JME00005199fS
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       EXHIBIT 7690-18A
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                                                                   Deputy Clerk
                                                   Case 5:06-cv-00055-GW-PJW Document 2814-1 Filed 01/14/19 Page 77 of 159 Page ID
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                                                                                                                                                                  Plastic pipe exceeds iron pipe in durability,
                                                                                                                                                                  longevity and performance. Independent studies
                                                                                                                                                                  by the American Water Works Association
                                                                                                                                                                  Research Foundation and the Plastics Pipe
                                                                                                                                                                  Institute show PVC and PE, respectively, last
                                                                                                                                                                  longer than 100 years.

BENEFITS OF PLASTIC                                                ADVANCED HOLDING TECHNOLOGY                                                                    Not so with Iron pipe. The National Research
     It Is the safe, long-lasting and stable solution for
                                                                                                                                                                  Council of Canada reports the following break
                                                                   • Teams JM Eagle egOO pipe with new internal restraint technology for the
     a mod ern infrastructure .                                      simplest-ta-install yet strongest-holding product available.                                 rates per 100 km of water distribution pipe:

     Millions of miles of plastic pipe have been Installed.        • Designed for sanitary sewer force mains and potable water distribution and transmission,

     It outlasts any other material.                               • Grips the joint from the inside of the pipe with   a simple push,
                                                                                                                                                                      WATER MAIN BREAKS BY MATERIAL
                                                                   • Prevents the corrosion associated with external restraints.
     Strict industry standards confirm its strength,
     durability and longevity.                                     • Reduces installation and Jabor as much as 30 times over traditional methods.
                                                                                                                                                                      Casllron     I                          _ _...--a
                                                                   • Can be used for open·trench, road bore and horizontal directional drilling installations,
• Plastic doesn't corrode or collect sediment like                                                                                                                                 1-----"----'--~. 35.'
  iron pipe, and it keeps the water flowing without                Meets AWWA C900, ASTM D1784 and UNJ-B-13 Million Cycle Test.
  bursts, flooding or disruptions.


THE JM EAGLE ADVANTAGE
                                                                                                                                                                                         5     '0   15   20   25   30   35   40
• Plastic pipe from JM Eagle is of the highest quality.
                                                                   MOLECULAR ORIENTATION FOR LIGHT WEIGHT AND STRENGTH
     JM Eagle has invested millions in the most
     technically advanced equipment. as well as                    • Molecularly oriented 10 be lighter yet stronger-as much as four times stronger than          Further, a study by the Los Angeles Department
     product research and development.                               conventional PVC.
                                                                                                                                                                  of Water and Power determined corroded
• JM Eagle's engineered products perform at                        • The highesl·periorming, lightest·weight, most cost·effective pressure pipe for               cast-iron pipe was overwhelmingly to blame
  the highest level and are the easiest to install.                  potable water and force main systems,
                                                                                                                                                                  for a rash of breaks in 2009 .
                                                                   • Delivers HOB of 7,100 psi vs, HOB of 4.000 psi of conventional PVC pipe,
• JM Eagle products meet the standards of
  AWWA and are certified by NSF and UL.                            • Has a higher cyclic fatigue strength, greater impact strength and a larger interior          So when it comes to the benefits of plastic pipe
                                                                     diameter than conventional PVC,                                                              over iron pipe, there's no comparison.
                                                                   Meets AWWA C909 or ASTM F1483, ;:md UL 1285; Gaskots meat ASTM F4n;
JM EAGLE'S                         WARRANTY
                                                                                                                                                                                                    PLASTiC PtPE        tRON PIPE
• JM Eagle stands behind the quality of Its plastic
  pipe as its commitment to serving customers.
• JM Eagle's           \ warranty covers the design
                                                                                                                                                                   Proven to last
                                                                                                                                                                   100·plu s years.                      ./                  0
  of its Innovatlve~englneered thermal plastic-                                                                                                                    Does not corrode.                     .f                  0
  pipe products1 .                                                                                                                                                 Docs not collect
     Products under warranty are Eagle Loc 900,                    • Engineered by JM Eagle for superior hold at the joint.
                                                                                                                                                                   tuberculin .                          ./                  0
     AWWA C900, C90S, C909 and C901/C906.                          • Available in 4·inch to 60·inch diameters.
                                                                                                                                                                   Does not break down.                  ~                   0
     JM Eagle products will maintain their                         • Features a heavy·duty integral bell and dua[·gasket spigot, a dual·crown                      Lightweight.                          7.                  0
     performance for the next ' -
     company will replace the~-
                                       or the                        corrugated exterior for greater pipe stiffness, and a hydraulically smooth interior for
                                                                     maximum efficiency.
                                                                                                                                                                   Easy to install.                      7                   0
                                                                                                                                                                                                          ~
                                                                                                                                                                   Technologically
• No other manufacturer makes this claim .                         • Offers   a superior strength·to·weight ratio and flexible conduit design.                     engineered.                                               0
                                                                   • Comes available with a full line of standard and custom fittings in either a soil-tight or


                                                                                                                                                                                                         "               J?L
                                                                                                                                                                   low break rate.
 , Ploslic pipe certified 10 AWNA (or waler distribution 3nd         watertight (10.8 psi) connection, as well as single·wall design.

 t
   Iransmission and force sewer mains,
   See www irneS!Qle com lor lull detClIIs 01 worronty,
                                                                   Moots Moots 4"-10" AASHTO M252 :md ASTM F2648; 12"- 60" AASHTO M294,
                                                                   ASTM F2306 and ASTM F2648; Gaskots moot ASTM F477; Joints moot ASTM D3212.
                                                                                                                                                                   External plastic bag
                                                                                                                                                                   needed In corrosive :::011:::,        0                .,/
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                               REDACTED
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             EXHIBIT 31148
    Case
    Case5:06-cv-00055-GW-PJW
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                              Document2463-4
                                        2814-1 Filed
                                                Filed05/08/18
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                                                                   80 of
                                                                       of159
                                                                          326 Page
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                                       #:118165
                                       #:140776
~ J-M Manufacturing Company, Inc.
~          9 PEACH TREE HILL ROAD, LIVINGSTON, NEW JERSEY 07039               TEL: 973-535-1633

     February 9, 1998
                                                                                           U.S.D.C. CENTRAL DISTRICT OF CALIFORNIA
     Mr. Pete Rauch                                                                       CASE NO: 5:06-cv-0555-GW-PJW

     Utility Superintendent                                                               US ex rel Hendrix

                                                                                          VS. J-M Mfg Co., Inc.
     City of Monett                                                                       PLAINTIFF'S EXHIBIT     31148
     P.O. Box 110                                                                         DATE                               IDEN.

     Monett, MO 65708                                                                     DATE                               EVID.

                                                                                          BY
                                                                                                              Deputy Clerk


     RE:    Quality Concerns
            J-M 18" F-679 Gravity Sewer Pipe
            Monett, MO

     Dear Mr. Rauch,

     This letter is to assure the City of Monett and Springier & Associates that J-M Manufacturing
     Company will stand behind this pipe, and to confirm that the J-M pipe as supplied to this project
     meets or exceeds the ASTM F-679 Specification.

     The ripples noted on the inside diameter of some of these pipes do not affect the overall
     serviceability of the pipe. They occur at times due to the extrusion process.

     J-M Manufacturing Company observes industry practices in providing a one year product
     warranty. The basis of the one year period is due to the nature of PVC pipe being such that
     manufacturing defects will surface almost immediately. In order to give the City and its Engineer
     additional confirmation of J-M's confidence in this pipe, we are offering a three (3) year warranty
     for this project from this date.

     PVC pipe is almost chemically inert. It has been used successfully for over 50 years. If installed
     properly and used for its intended service, PVC pipe can be conservatively estimated to have a
     useful service life of 100 years.

     Should you require additional information, please do not hesitate to call upon us.

     Respectfully,


      ~I~
     Kai Cheng \
     AVP, Sales & Marketing



     cc:     Mr. Kevin Springier, Springier & Associates
             Mr. Ken Kreikermeier, KGK and Associates, Inc.
             Mr. Alwyn Go, J-M Product Assurance




CONFIDENTIAL                                                                                                  JMM 062436
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             EXHIBIT 31149
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                                                                     THE tOh[GI
                                                                                  LIFE SPAN oF JM Eacue PLASTIC PIPE
                                                                                     FEWER REPLACEMENTS.


                                               ng and                                       of 2009, the LA Department of Water and
                 S thing        no m        pal¡ty wants   to go                         deternrrned corroded cast-iron pipe was over-
                 same                        than once a century                            ly to blame, and that they "iend to cause
                 once a decade.                    in the ground is s                     street damage than do breaks on other types
                   provide clean                         drainage for at

                                                                                           went on to read, "Physical examination of
                                  Water mains                        are break-           sanrples showed rust, corrosion pits, micro
                                     country                          lars each           and graphitization."
                                                                        quanti-
                                                                           and    ïhe          estimates the city's water infrastructure
                                                                                            70 to 100 years. ïhis year, aboul 7,5 mil-
                                                                                  lion       tho infrastructure will fall into the expira-
                                                                                  tion       Officiafs estimate it will take 180 years to
                                                                                                pipe in the city of Los Angeles.


                                                                                               HOTCES

                                                                                                Angeles car lengthen lhe replacement
                                                                                                as decrease corrosion and breakage




                                                                                                           U.S.D.C. CENTRAL DISTRICT OF CALIFORNIA
               JI\,4   EAGLE PLAST]C IS I'HE lOO'.YEAÊI SOL'J'TION
                                                                                                          CASE NO: 5:06-cv-0555-GW-PJW

                                                                                                          US ex rel Hendrix

                                                                                                          VS. J-M Mfg Co., Inc.

                                                                                                          PLAINTIFF'S EXHIBIT     31149
                                                                                                          DATE                               IDEN.

                                                                                                          DATE                               EVID.

                                                                                                          BY
                                                                                                                              Deputy Clerk




                                                                                                                              JMM 2000164
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sT LnSTTNG
  along the way, by choosing JM Eagle plastic pipe                rate for plastic water-distribution pipe is 0,7 breaks per
  products over other materials.                                  62 miles (100 km) each yea¡ the rate for ductile iron is
                                                                  9.5 breaks, and the rate for cast iron is OS.g breaks.
  Research completed in 2009 by the plastics pipe lnsti-
  tute along with Jana Laboratories found that pE can last        It is estimated that i 5 percent of treated water, or 2.2
  more than 100 years, And a 2007 study commissioned              trillion gallons, is lost to líne breaks and leaks annu-
  by the AwwaFlF and conducted by Australia's Common-             ally. And the federal government projects a $36 billion
  wealth Sc¡entific and lndustriat Research Organization          loss lo the U.S, economy each year from corrosion In
  found the same for PVC, lt predicted that pVC pipe of-          water and sewer pipes,
  fers a minimum service life of 100 years for water utìlities.


  That AwwaRF study, titled "Long Term Performance                                                        minimum
  of PVC Pipes," found no significant degradation or
  deterioration occurring to the pipe, and projected
                                                                   ñffir;åxiir, -w%
  very good performance through 1 10 years,                              for water utilities.
  FEwEST BREAKS                                                   So it is cfea¡ when oxamining the longevity rates for
                                                                  plastic vs, other materials, plastic is the material that
  How do the other products stack up? The National                reduces the risk of flooding and contamination and
  Research Council of Canada reports that the break               saves cities time and resources.    I




                                                                                     5 STBENGTHS OF JM EAGLE PLASTIC   PIPE    3




                                                                                                          JMM 2000165
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                                                      TF,TE                      HIGHE
                                          CoNTINUAL TESTING AT EVERY STAGE oF                    JM EAGLE
                                       PROÞUCTION ÞELIVERS FEACE OF MIND.


                  pipe is inferior to other products." "Plas-   Every piece of JM Eagle plastic pipe meets or exceeds
                       meet the construction codes of our       one or more standards, including ASTM, AWWA, UL,
                             to specify plastic                 FM, NEMA, CSA, NRCS and AASHTO,

                                     the   m                    To achieve the stamp of approval from these groups,
                                      to quality and            each product has gone through rigorous physical
                                               statements       testing, including acetone immersion, pipe st¡ffness,
                                                                           impact resistance, quick burst and hydro-
                                                                                    siatic proof, as well as a sus-
                                                                                    tained pressure test for a mini-
                                                                                    mum of '1 ,000 hours.

                                                                                    Standârds for plastic pipe are
                                                                                    equivalent to those for other
                                                                                    products, including ductile iron,
                                                                                    and call for the same quality
                                                                                    controls. As long as these stan-
                                                                                    dards are writlen into munici-
                                                                                    pal codes, as they usually are
                                                                                    via the Uniform Building Code,
                                                                                    they are considered acceptable
                                                                                    for use;




4   JM EAGLE PLASTIC   IS   THE 1OO'-YF}R SOLUTION




                                                                                                   JMM 2000166
                                                                                                                        I
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sT auALrTY
  AL\t\ll\YS TESTED                                             welcome to verify that every stick of pipe is of the
                                                                highest quality.
 Once accepted as meeting those standards and oth-
 ers, JM Eagle pipe is continually evaluated by third-
 party testers-including UL, NSñ FM, |APMO, CSA                 "We say what we do and we do what we say," Huynh
 and NETPEP-to ensure the quality of the pipe and               says, "Whether the inspector is here or not, we'll do
 that it's still making the grade.                              the same thing."

                                                                Even with production quality of plastic pipe assured,
                                                                the determining factor in selecting plastic over other
                                                                products most often boils down to specifier prefer-
                   are always
                                                                ence: What is the "safest" choice? What will best
                 to verify that every                           serve the district?

       stick of JM Eagle pi m*P of'ï,i¡n
                             q&Hfrfr         !¡i¡i$j,nÈqil      With JM Fagle's plastic meeting or exceeding          all
       the highest quality,     n!ã
                                ág'   ,i!ir
                                                         s!6'
                                                                standards, as well as its proven durability and signifi-
                                      '¿V      -,,rfrÊ
                                               ¡?'
                                                                cantly longer life than other products, it's
                                                                hard to imagine a district putting any-
 "A third-party auditor shows up every week unan-               thing but JM Eagle plastic pipe in
 nounced to check the pipe," says Chuck Clark,                  the ground. I
 plant manager at JM Eagle's Stockton, Calif., fac-
 tory, "He goes everywhere, taking product               from
 the line and from the yard, taking measurements and
 checking the pipe against all required specs and di-
 mensions. lt's a lot of physical testing, such as im-
 pact and stiffness, so when þe comes, he's here
 all day long."


 Cuose ExAMTNATIoN
 The auditor also examines test records,
 pipe measurement records and calibra-
 tion on the equipment, as well as checks
 the mixer to verify a formulation com-
 plies with the standard. Io complete
 the process, the auditor will also pull a
 sample from the line, give it a special
 stamp   to prevent fraudulent switching
 and ship it back to the testing lab for
 further verification.

 Mai Huynh, JM Eagle's manager of qual-
 ity assurance, says inspectors are always




                                                                                                       JMM 20AA167
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                                       HE MOST I
                                                         JM EAGLE'S PRoDucTs coME
                                                        PIPE MATERIALS HAVE EAILED.


                                                             Foundation (formerly AwwaRF) dem-
                                                           PVC is impervious to gasoline, BTEX
                                                                ethyl benzene and xylene), and
                                                                    ln ground-water at the most
                                                        encountered contamination levels




                                                            plastic pipe is
                                                        y to the env¡ronment,
                                                 from the production
                                                 to the final installati
                                      pipe
                              broke and
                             enter,   PVC    JM Eagle PVC pipes do not react or corrode with
                             water from      water. NSF lnternational has certified all PVC drink-
                                    that     ing-water pipes under its Standard 61, ensuring that
                              leach into     drinking-water quality standards are preserved ac-
                                             cording to those set by the U.S. Environmental Pro-
                                             tection Agency.
                     Research conduct-
                      ed at lowa State       GRgeN M,INUFAcTURING I\ND UsE
                       University and
                        funded by the        Second, JM Eagle plastic pipe is friendly to the en-
                                             vironment, from the production process to the final
                                             installation. li requires lower.amounts of water and
                                             lower temperatures to mànufacture than ductile iron.
                                             It ìs completely recyclable. JM Eagle plastic-pipe
                                             plants meet stringent, audited air-quality standards.
                                             No chlorinated solvents are used in manufacturing.
                                             It uses less fuel to transport than iron and concrete
                                             pipe. And it requjres less fuel-consuming heavy
                                             equipment during installation.


                                             PROTECTS THE ENVIRONMENT
                                             Third, JM Eagle plastic p¡pe not only protects and
                                             conserves the water inside the pipe, il protects the
                                             surroundings outside the pipe because it rarely
                                             cracks or breaks, even under harsh conditions, ln-




                                                                                JMM 2000168
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 USTAINltBLE
 tensive testing of PVC at Utah State University over    ing internally restrained PVC pipe also provides easy
 22 years demonstrated that under a constant strain      installation without disturbing surroundings, whether
 condition PVC pipe wiil not fail.                       urban or rural.

 ln fact, JM Eagle plastic pipe has rescued cities       As the sustainable building movement cont¡nues
 across the country from water disasters with out-       to gather steam, JM Eagle's plastic pipe ls well-
 right replacement or, when digging is too disruptive    positioned for 'lgreen" water infrastructure projects.
 to the environment, slip-lining. Slip-lining pushes     Its lower energy profile, minimal need for mainte-
 new PE through the broken and corroded pipe to          nance, water-conserving properties and recyclabil-
 create a new fresh, clean and reliable waterway.        ity make it an ideal material for municipalities looking
 New technology in horizontal directional drilling us-   to boost their environmental friendliness quotient.  I




                                                                           5 STRENGTHS OF JM EAGLE PLASTIC   PIPE   7




                                                                                                JMM 2000169
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          J                  e'"           THE LEADE
                           DIL1GENT ENGINEERINE AN JM EAELE DELIVERS PRODUCTS
                          FOR BETTER PERFORMANCE AND EI\SIER INSTI\LLATION.




                                 ADVANCED HOLDING TECHNOLOGY
                                 .   Teams Jlvl Eagle C900 pipe with new internal restraint technology for the
                                     simplestìo-install yet strongest-holding producl available.
                                 .   Des gned for sanìiary sewer force mains and potable water distribution and lransmission
                                 .   Grips thê joint from :he inside of tho pipe v/ith a simple push.
                                 .   Prevents tne corros¡on associated with external restraints.
                                 .   Reduces installalion and labôr as much as 30 timos over traditional melhods.
                                 ¡   Can be used tor cpen-trench, road bÕro and horizontal direcÌiorlal drilling lnstallations-

                                 Meets AWWA CqOO and ASTM D1784 cell elass 12/W; Gaskets ñeet ASTM F477;
                                 Jo¡nts meet ASTM D3139.




                                 MOLECULAR ORIENTAT¡ON FOR LIGHT WEIGHT AND STRENGTH
                                 . The highest-perfcrming, lightest-we ght, môsì cost-effeclive pressure pipe lor
                                     potable water and f0rco main systems,
                                 .   lr¡lolecularly orienìed to be lightêr yet slronger-as much as four times slronger than
                                     conventional PVC.
                                 .   Delivers HDB of 7,100 psi vs. l-lDB of 4,000 psi of conventional PVC pipe.
                                 .   Has a higher cyclic fatigue strength, greâter impact slrength and a larger interior
                                     diameter than conventional PVC,

                                 Meets AWWA C9O9 or ASTM F14a3, and UL 1285; Gaskets Ìneet ASTM F477;
                                 Joints meet ASTM D3r39.




                                 NEW TECHNOLOGY FOR A HIGHER-PERFORMING                                     JOINÏ
                                 .   Engineered by JM Eagle for superior hofd at the jolnt,
                                 .   Available in 4-inch to 60-inch diamelers.
                                 .   Featuras a hoavy-duty integral beìl and dual-gasket spigot, a dua{-crown corrugated
                                     exierior for g.ea:er pìpe stiffness, and a hydraullÕally smoolh intoriol for maximum
                                     effìciency.
                                 .   Offers a superlor strenglh-to-weight ratio and flexib o conduit design.
                                 .   Comes avâilâble with a fu,l line of standard and custom ltiings ln eilher a soil-tight or
                                     warertìght (10,8 psi) connection, as vúell as singlo-watl design.

                                 Meets AASHTO M252 and ASTM 26¿18 (4"-1O"), A'(SHTO M294 and ASTM F2306
                                 and F2Ø8 (12'-60"), and ASTM F477.




                          YFÁR




                                                                                                          JMM 2000170
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                                  #:140785




R IN ITUNoVA
  THE HDD ADVANTAGE FROM JM EAGTE
  A West Point, lowa, sanitary force main          cated internal ioint restraint. The contrac-
  job called for 2,800 feet of 4-inch Eagle        tor buried the pipe 5 feet deep in 400Joot
  Loc 900, as well as tolerânce for imperfect      sections using an B-inch reamer attached
  conditions. Heavy rains made for wet and         directly 10 the pulling head and pipe.
  múddy soils.
                                                  "ïhe contractor thought it was easier
  "Even in the adverse weather conditions         than fighting the couplings and splines
 we had to deal with," says Brian        Lang,    of the pipe originally specifiecl," says
 JM Ëagle area sales manager, "the pipe           Lang. "He said the pipe was easy to pull
  instailation went incrêdibly fast."             and he looks forward to using Eagle Loc
 The Eagle Loc 900 was a material substj-         900 again."
 tution, replacing one with â more compl¡-




 JM EAGLE EXCLUSIVE TECHNOLOGY PAYS FOR ITSELF
 Northern Ohio Rural Water boasts the best-       NORW Distribution Super¡ntendent Bry-
 tasting water in the state. What makes it so     an Puder says the 2005 move to Ultra
 clean? JM Eagle's Ultra Blue AWWA C909           Blue has protected the water supply and
 molecularly oriented plastic pipe.               benefitted residents,
 Although engineered       to be lighter, its     "l can truly say we have not had a single
 toughness is unbeatâblo, rosulting in a          problem with it," says Puder, "That's so
 dramatic drop in leaks and breaks. Con-          critical bocause historically if there's a
 tractors for the district enjoy ease in trans-   leaking pipe you have to d¡g it up, which
 porting and handling, and the d¡strict is
                                                  means shutting off service to customers."
 enjoying labor savings in installat¡on and
 fewer repairs.




 UNI(¡UE BELL AND SPIGOT FROM JM EAGLE
 Fagle Corr PE (Dual Wall) proved the             lnstalled were 6,160 feet of 60-, 48,, 36-
 product of choice at a recent 2,000-             and 1B-inch Eagle Corr PE pipe.
 home new-development prolect in Mexi-
 cali, Baja Californía, Mexico,                   "The high-water-level condit¡ons called for
                                                  a pipe that provides a securê, watertight
 Like its closest competitor, Eagle Corr pE       joint and absolute durab¡lity," says DOT
 met the ASTM and AASHTO standards,               Sales Manáger John Orkish. "Ëagle Corr
 but when the local water commissioner            PE was the r¡ght drainage product here,
 saw the ¡ntegral bell and dual-gasket sp¡g-      and will be used more in this area from
 ot and understood the complexity of the          now on."
 project, he was sold on the product.




                                                                                                  JMM 2A00171
Case 5:06-cv-00055-GW-PJW Document 2814-1 Filed 01/14/19 Page 90 of 159 Page ID
                                  #:140786




                                                               E CoMPL
                                    INVESTMENTS tN TEcr-rNoLoGy, ENGTNEERINc AND sERvtcE
                                          E.AGLE THE wISEST cHoIcE IN PIPE PRoÞUcTs.


                                                            ln fact, in recent months, ìt has invested even more
                                                            in increasing etficiencies and providing better cus-
                                                            tomer service.

                                                            This service includes its ability to deliver PVC and PE
                                                            products on the same truck and fill urgent orders with
                                                            its fleet of Express Service Trucks that expedite prod-
                                                            uct from plants across the country.




         produces the highest quality
              n the industry and is
               itted to ensuring
         ongo¡ng product exce

                                                                                 usDol 2¡brr
     Signiflcant investments    ln research and develop-
     ment have allowed JM Eagle to combine advanced
     product technology with state-of-the-art automation.
     JM Eagle consistently produces the highest quallty
         in the industry and is committed to ensuring on-
           product excellence



                                                            Plastic pipe from JM Eagle is durable, long-lasting
                                                            and resistant to corrosion, which means leaks and
                                                            breaks are exceedingly rare. lt costs less to trans-
                                                            port bocâuse it is tight, And the technology behind
                                                            it means it can be used in innovative ways including
                                                            horizontal directional drilling and pipe burst¡ng, which
                                                            not only reduce costs, too, but also minimize disrup-
                                                            tion to daily life.

     While much of the rest of the country scaled back      Pipe products don't come any stronger than plastic,
     during our recent economically challenging times,      and plastic pipe doesn't come any better engineered
     JM Eagle remained committed to maintaining this        or more innovative than JM Eagle. Plastic p¡pe from
     high level of excellence and superiority in product    JM Ëagle can help rebuild our infrastructure that gen-
     breadth, geographic reach and productìon capacity.     erations can rely on for years to come. I


10   JM EAGLE PLASTIC IS THE 1OO'-YEAR SOLUTION




                                                                    .. : .::.'   ".,."r



                                                                                                 JMM 2000172
Case 5:06-cv-00055-GW-PJW Document 2814-1 Filed 01/14/19 Page 91 of 159 Page ID
                                  #:140787




ETE
  MnNUEAcTU




                                                         JMM 200A173
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                                  #:140788




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                                                            JMM 200A174
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                                  #:140789




                                                             JMM 2000'175
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                                  #:140790




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        Case 5:06-cv-00055-GW-PJW Document 2814-1 Filed 01/14/19 Page 95 ofU.S.D.C.
                                                                            159CENTRAL    Page         ID
                                                                                                DISTRICT OF CALIFORNIA
                                                           #:140791       CASE NO: 5:06-cv-0555-GW-PJW
        J-M                                , Inc.
                                             a .--. -rSITE MAP
                                                                          US ex rel Hendrix

            JMM. Building essentials for a                                VS. J-M Mfg Co., Inc.

               better tomorrow.        a                                                              PLAINTIFF'S EXHIBIT   31150
                                                                                                      DATE                            IDEN.
                                       o
                                                                                                      DATE                            EVID.

                                                                                                      BY
                                                                                                                       Deputy Clerk
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                                                                      Go Search




           .r            -PRODUCTS
           a
           a
           o r-------TGAREERS
           O

           o Building Materials
           .     L\LC                Frequently Asked
           .PE
           r     Warranty            Questions
           .     Downloads
           r     FAQ                   o   Does JMM Have a Standard Product
                                           Warranty For Its PVC Pipes?
                                       r   What Are JMM's Recommendations For
                                           Joining PVC Pipe?
                                       o   During The Installation Process, What Is       H
                                           JMM's Recommended Directions For The
                                           Bells?
                                       o What Are The Lubrication        Procedures For
                                           JNIM's PVC Pipe?
                                       o   Can We Join A PVC Pipe To A Ductile Iron           o   Contact Us
                                           Pipe?                                              .   View Our Product
                                       ¡   What Is The Difference Between A Reiber                Installation Guides
                                           And A Non-Reiber Gasket?                           .   View Our Product Load
                                       a           Is                   Pi                        Charts
                                           Not Recommended?
                                       o   What Is JMM's Allowable Vertical
                                           Deflection On Gravity Sewer Pipe?
                                       o   What Is JMM's Recommended Curvature
                                           For Its Gravity Sewer Pipe?
                                       o   What Is JMM's Recommended Curvature
                                           For Its Pressure Pipe?
                                       .   What Is The Minimum Cover For JMM's 4"-
                                           16" PVC Pressure Pipes?
                                       r   What Is The Nlaximum Recommended
                                           Temperature Of A Fluid That Is Being
                                           Passed Through JMM's PVC Pipes?
                                       r   What Are Ultraviolet On JMM's PVC Pipçs?
                                       o   What Is The Life Expectancy Of A PVC
                                           Pipe?
                                       . Explain The Certification Process For
                                         JMM's AWWA C900 Blue Brute PVC Pipe.
                                       e Does JMM's SDR 35 Gravity Sewer Pipc
                                         Meet The Various Required Industry
                                           Standards?
                                       .@MustJMM's
                                           A]VW

Gonfidential                                                                                                                JME0027086611
        Case 5:06-cv-00055-GW-PJW Document 2814-1 Filed 01/14/19 Page 96 of 159 Page ID
                                          #:140792
                            resist degradation from sunlight. However an
                            aesthetic change in color may develop when
                            exposed outdoors for long periods of time. This
                            shading ofcolor occurs only on the surface ofthe
                            PVC pipe and is of a very shallow depth; measured
                            usually at less than 0.001 inch. In light of this, any
                            sun-bleached pipe supplied'by JMM
                            Manufacturing is covered under our standard
                            product warranty.

                            Pertaining to research on this issue, a study was
                            conducted by the Uni-Bell PVC Pipe Association
                            to determine the effects of ultraviolet radiation on
                            PVC pipe, in which pipe was placed in racks
                            throughout the United States for a period of two
                            years. The results revealed that both the tensile
                            strength and the modulus of elasticity remained
                            virtually unchanged, while the impact strength
                            remained well within the governing ASTM
                            requirements.

                            In conclusion, it has been determined that
                            ultraviolet degradation r,vill not have significant
                            adverse effects on the mechanical properlies    of
                            underground formulated PVC pipe.

                            PVC pipe and gaskets can still be used after
                            prolonged storage above ground under normal
                            conditions, and it is not necessary for the gaskets to
                            be replaced unless there are appreciable signs of
                            degradation (such as cracking). Per the above, pipe
                            can be stored up to (but not limited to) two years
                            above ground. Regarding the gasket, our standard
                            gaskets are formulated to withstand UV radiation
                            under common storage practices of PVC pipe

                            RetuLLla'Queslials

                            What Is The Life Expectancy
                            Of A PVC Pipe?
                            PVC pipes have an excellent record for long time
                            durability. Per a study performed by Uni-Bell on
                            this matter, the expected useful life for PVC pipe is
                            predicted to be in excess of 100 years.

                            Return to Questions


                            Explain The CertifTcation
                            Process For JMM's AWWA
                            C900 Blue Brute PVC Pipe.

Confidential                                                                         JME00270866/9
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                                  #:140793




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                                  #:140794

                                                                                      U.S.D.C. CENTRAL DISTRICT OF CALIFORNIA

                                                                                  CASE NO: 5:06-cv-0555-GW-PJW

                                                                                  US ex rel Hendrix

                                                                                  VS. J-M Mfg Co., Inc.

                                                                                  PLAINTIFF'S EXHIBIT     31151
                                                                                  DATE                                 IDEN.

                                                                                  DATE                                 EVID.

                                                                                  BY
                                                                                                      Deputy Clerk




   Long-Term Performance
   Prediction for PVC Pipes


   Prepared by:
   Stewart Burn, Paul Ðavis,TaÍa Schiller, Bill Tiganis, Grace Tjandraatmadia, Mark Cardy,
   Scott Gould, and Paul Sadler
   Commonwealth Scientífic & lndustrial Research Organization (CSIRO), Australia
   and
   Alan J. Whittle
   lplex Pipelines Australía Pty Limited
   35 Alfred Road, Chipping Norton, NSW 2170, Australia


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   Awwa Research Foundation
   6666 West QuincyAvenue, Denver, CO 80235-3098
   and
   Gommonwealth scientific & lndustrial Research organization (cslRo)
   LÍmestone Avenue, Canberra, Australia

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              Research
   À          Foundation
   Advancing the Science of Watera




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                                  #:140795




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    the research study reported in this publication or for the opinions or statements offact expressed in this report.
   The mention of trade names for commercial products does not represent or imply the approval or endorsement of
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                                   #:140796
                                    EXECUTIVE SUMMARY
          Since the late 1970s, polyvinyl chloride pipes have been used in a significant number
                                                                                                        of
   new water distribution systems in North America. While premafure fracrurã failures
                                                                                               have been
   reported for (unplasticized) PVC-U pipes worldwide, with good design and installation practice,
   current performance standards indicate that water utilities should ãxpect a minimum^5g-yeai
   service life from a PVC pipe, with expeft opinion suggesting that IOb years is a conservative
   estimate for a "properly designed and installed pipe,'.
          Quantifying the in-service life expectancy for PVC pipes will enable greater confidence in
   their use and, as a natural outcome, will also influencá long-term urr=.t *unugement and
   replacement planning strategies applied by water utilities.
         The Awwa Research Foundation and CSIRO funded this srudy in order to be able to
   outiine an approach to estimating in-service lifetimes for (unplasticised) pVC-U (commonly
   called PVC), (modiflred) PVC-M, and (oriented) PVC-O pipés, as weli as the influence of
   manufacfuring and installation practices on these lifetimes.
         Pipe failure can occur by either causing water quality issues or by physical failure. These
  can occur due to chemical breakdown of the polymer strucfure, Uy struðtural failure of the
  pipeline, by fatigue, or by a crack growth mechanism leading to physical failure. The
                                                                                             aim of this
  project was to asses the likelihood of chemical, fatigue, anO pfryiicãl failures of pVC pipes,
                                                                                                     and
  recommend processes to either estimate lifetimes under these processes or the steps thaineed
                                                                                                       to
  be taken to minimize the effects on lifetimes. As the factors d.t.rrnining structurál failure (such
  as buckling) are well documented and generally rely on the changes of äodulus
                                                                                       with time, they
  were not included in this sfudy.
         For chemical failure, the requirements for water quality, ultra-violet (UV), and heat
                       .
  stabilizers were reviewed, and the necessary standards tesis to ensure adequate lifetimes
                                                                                                    were
  researched and recommendations made. In the case of fatigue, most water
                                                                                distribution pipelines
  are not subjected to fatigue, except for the diurnal changes in pr"rr*", which are
                                                                                       usualli b""igr-
 ffqi"      is a special design case and, where it occuis, specific design criteria ure ,equirãd.
  Significant research has been carried out on the performance of PVC unãer fatigue
                                                                                         situations and
 this study did not attempt to duplicate that reiearch. However, the current research has
                                                                                                    been
 reviewed and design guides have been recommended for the North American
                                                                                           market. For
 physical failures, the current performance requirements for manufacture have
                                                                                   been reviewed and
 recommendations made. In addition, a fracture mechanics-based model to predict
                                                                                        the conditions
 undgr which pipe failure will occur in service has been developed, and this
                                                                                  has been calibrated
 against failure rates recorded in a number of North Americân and Australian
                                                                                         utilities. This
 approach requires the fractu¡e properties that govern failure in service
                                                                          to be quantified along with
 the expected loading conditions for a buried pVC pipe.

 CONCLUSIONS A¡ID RECOMMENDATIONS

 Water Quality

       Evidence to date indicates that metal stabilizers migrate into water from
                                                                                     manufactured
 PVC pipes' Research on the toxicity of the metals used in the heat stabilizers
                                                                                has resulted in the
 setting of a maximum contaminant level.of 0.010 rng/L (ppm) for lead in
                                                                            Australia and Europe,
 anda target level of 0 mg/L (ppm) in the USA (0.õ15'mg/L orppm acrion level).
                                                                                        Levels for
 organotin have not been established by the World HealtÀ Organization (WHO)
                                                                                      and national

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                                   #:140798

                                                                                       U.S.D.C. CENTRAL DISTRICT OF CALIFORNIA

                                                                                   CASE NO: 5:06-cv-0555-GW-PJW

                                                                                   US ex rel Hendrix

                                                                                   VS. J-M Mfg Co., Inc.

                                                                                   PLAINTIFF'S EXHIBIT     31151
                                                                                   DATE                                 IDEN.

                                                                                   DATE                                 EVID.

                                                                                   BY
                                                                                                       Deputy Clerk




    Long-Term Performance
    Prediction for PVC Pipes


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                                   #:140799




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                                   #:140800
                                    EXECUTIVE SUMMARY
          Since the late 1970s, polyvinyl chloride pipes have been used in a significant number
                                                                                                        of
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 anda target level of 0 mg/L (ppm) in the USA (0.õ15'mg/L orppm acrion level).
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    US ex rel Hendrix

    VS. J-M Mfg Co., Inc.

    PLAINTIFF'S EXHIBIT     31152
    DATE                               IDEN.

    DATE                               EVID.

    BY
                        Deputy Clerk




  AwwaRF Looks At PVC Pipes’
  Long-term Performance
by Bob Walker, P.E.
Executive Director


What can we expect in 110 years from PVC pipes
installed today?

Sustainability considerations and asset management
principles are driving the need for better performance
information regarding the components employed
in our water systems. In order to progress toward
achieving sustainability, it is critically important to
improve performance measurement and benchmark-
ing. Through quantification of how well products and
materials are performing, conclusions can be reached
as to whether they are appropriately sustainable. Fur-
thermore, performance data can be used to project
longer-term performance and the overall life expec-
tancy of individual asset components.                   (CSIRO) co-funded a research project to evaluate the long-term
                                                               performance of PVC water pipes. Actually, this was AwwaRF’s
                                                               fourth project that examined the performance of plastic pipes.
                                                               Titles of the earlier reports are Review of Water Industry Plastic
                                                               Pipe Practices (1987, #90516), Water Utility Experience with
                                                               Plastic Service Lines (1992, #90953), and Evaluation of Polyvinyl
                                                               Chloride (PVC) Pipe Performance (1994, #90644). PVC pipes
                                                               scored very well in these previous evaluations.

                                                               AwwaRF’s newest and most extensive report on PVC pipe is titled
                                                               Long-term Performance Prediction for PVC Pipes (2005, #2879).
                                                               The principal investigators were Stewart Burn, Paul Davis, Tara
                                                               Schiller, Bill Tiganis, Grace Tjandraatmadja, Mark Cardy, Scott
                                                               Gould, Paul Sadler, and Alan Whittle. The Project Manager
                                                               from AwwaRF was Jian Zhang. Total funding for the project was
                                                               $610,342.

                                                               The study’s primary objectives were to benchmark the perfor-
                                                               mance of PVC water pipes and develop a long-term perfor-
Considering the extensive and widespread use of PVC pipe       mance prediction model under a range of conditions. The study
by the drinking water industry, the American Water Works As-   also examined water quality issues, pipe standards, and fracture
sociation Research Foundation (AwwaRF) and the Australian      properties.
Commonwealth Scientific and Industrial Research Organization                                              continued on page 4

pvc pipe news • SUMMER 2007                                                                         www.uni-bell.org • 
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                                                                       #:140802



con inue                                            from page 3
                   t
                                            d
Forty-four water utilities from the nited tates, Canada, and




                                                                                                                                             U
                                                                                                                                                                                S
Australia were surveyed to obtain historical field performance
data. n addition, historical data from twenty-one water utilities
                            I
from the nited Kingdom was reviewed. That data was analyzed
                                        U
to plot average failure rate per 100 miles/year vs. pipe age. To
the extent possible, installation and operating conditions were
also considered. Fracture properties were evaluated using single
edge notch bend and C-ring tests.

   C pipe failure rates in the . . and Canada were reported as
PV
                                                                                                                   U
                                                                                                                        S
being lower than those obtained from other nations. The maxi-
mum rate of failure reported by a . . water utility was .7 per
                                                                                                                                         U
                                                                                                                                                 S
                                                                                                                                                                                                                     2
100 miles/year. This low failure rate also compares very favorably
with the failure rates for other water pipe products as published
in other reports.

The lower failure rate of North American C pipes is attributed                                                                                                                                                                 The researchers succeeded in developing a predictive failure
                                                                                                                                                                 PV
to superior slow crack growth resistance and fracture tough-                                                                                                                                                                   model for C pipes. ince C pipes are not subject to aging

                                                                                                                                                                                                                                                                          PV
                                                                                                                                                                                                                                                                                                                    S
                                                                                                                                                                                                                                                                                                                                                PV
ness. C pipes manufactured in the nited tates and Canada                                                                                                                                                                       from corrosion, the model assumes inherent defects in the pipe
                           PV
                                                                                                                                                     U
                                                                                                                                                                                        S
                                                                                                                                                                                                                               and variation in maximum defect size. The researchers developed
                                VC pip                                         ail                                     a                             i                          h U.S. a                                       a computer program to implement the model. Estimates of aver-
                       P
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                                                                                                                                                         n
                                                                                                                                                                      t
                                                                                                                                                                                        e
                                                                                                                                                                                                                nd
                                                                                                                                                                                                                               age failure rates vs. age for a range of operating conditions are
         Ca a a                                                                                        p                                                 a                                  i gl
                                                                                                                                                                                                                               included in the report. erhaps the most significant result is that
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                                                                                                                                                                                                         ower
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         ha                                     h                                           ai                                                                                          h                a i               .      C pipe failure rates increase gradually with age, rather than
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                                                                                                                                                                                                                     ons
                                                                                                                                                                                                                               PV
                                                                                                                                                                                                                               accelerating as is the case with corrosion-prone metal pipes.
exhibited an increased resistance to crack initiation, slow crack
growth, fatigue crack growth, and ultimate brittle fracture when                                                                                                                                                                    Th i                                                    lp                              j                                            ha                                     a                                    ili i
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the researchers compared them with C pressure pipes manu-                                                                                                                                                                                    h                   l                        xp                                a                        i i                                                               i                   li
                                                                                                                                                 PV
factured outside of North America. The fracture toughness tests’
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surfaces exhibited greater ductility on the . . pipe samples.                                                                                                                                                                                100 y a                                                                                       VC pip                                                      h               p                   p                  ly
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The researchers concluded that the North American pipes’ in-
                                                                                                                                                                                                                                                                                                        ig                                      a                        i                             all                       .
creased resistance to fracture failure is due to better processing
                                                                                                                                                                                                                                                                                    des
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during manufacture, which results in better material fusion. This                                                                                                                                                              Getting back to the question of what to expect from C water
explains why North American         C pipes out performed those
                                                                                                                                                                                                                                                                                                                                                                                                                                           PV
                                                                                                                                                                                                                               pipes after 110 years in service, the researchers carefully analyzed
                                                                                                                       PV
manufactured elsewhere.                                                                                                                                                                                                        40+ years of available in-service pipe performance informa-
                                                                                                                                                                                                                               tion. Their model projects that water utilities should expect a
                                                                                                                                                                                                                               minimum service life of 100 years from C pipe when properly
                                                                                                                                                                                                                                                                                                                                                                                           PV
                                                                                                                                                                                                                               designed and installed. From the relatively low failure rates that
                                                                                                                                                                                                                               the researchers project for       C pipes in service for up to 110
                                                                                                                                                                                                                                                                                                                                           PV
                                                                                                                                                                                                                               years, C pipe is arguably a best-practice option for achieving
                                                                                                                                                                                                                                                      PV
                                                                                                                                                                                                                               sustainable water distribution/transmission systems. Moreover,
                                                                                                                                                                                                                               it is reasonable to expect that recent and continuing improve-
                                                                                                                                                                                                                               ments in the manufacturing of C pipe will result in even lower
                                                                                                                                                                                                                                                                                                                                                          PV
                                                                                                                                                                                                                               failure rates than those predicted using historical data.

                                                                                                                                                                                                                                t is most gratifying to be able to point to yet another indepen-
                                                                                                                                                                                                                               I
                                                                                                                                                                                                                               dent assessment of        C pipes’ excellent performance. This
                                                                                                                                                                                                                                                                                                               PV
                                                                                                                                                                                                                               AwwaRF report will give the water industry greater confidence
                                                                                                                                                                                                                               in C pipe use and have a very positive influence on long-term
                                                                                                                                                                                                                                        PV
                                                                                                                                                                                                                               asset management and the achievement of sustainability.

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                                   #:140803




              EXHIBIT 31153
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                                   #:140804
                                                              U.S.D.C. CENTRAL DISTRICT OF CALIFORNIA

                                                             CASE NO: 5:06-cv-0555-GW-PJW

                                                             US ex rel Hendrix

                                                             VS. J-M Mfg Co., Inc.

                                                             PLAINTIFF'S EXHIBIT     31153
                                                             DATE                               IDEN.

                                                             DATE                               EVID.

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     Case 5:06-cv-00055-GW-PJW Document 2814-1 Filed 01/14/19 Page 109 of 159 Page ID
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     Major Findings
     The comprehensive nature of this study has provided several national-level metrics and rules of thumb which
     utilities can use for benchmarking purposes.
     1.	 This Survey Achieved Wide Participation
     	 A total of 117,603 miles of pipe were reported by the 188 survey participants. This represents approximately
         10% of the total length of water mains in the USA. This is one of the largest surveys conducted on water mains
         failures and the results give an accurate representation water main behavior in the USA and Canada.
     2.	Nationwide One Mile of Installed Water Main Serves 264 People
     	 While in urban areas the industry has assumed 325 people are served for 1 mile of distribution system pipe,
        this survey suggests a new national metric of 264 people served per 1 mile of pipe regardless of utility size.
        Also, 66% of all water mains are 8” or less in diameter and the range of 10” to 14” make up another 18% of all
        installed water mains.
     3.	 Most Utilities Use Several Kinds of Pipe Materials
     	   80% of the installed water mains utilize a combination of Cast Iron (CI) at 28%, Ductile Iron (DI) at 28% and PVC
         pipe at 23%. This fact is supported by a relative low amount (13%) of utilities which avoid DI due to corrosion
         concerns.
     4.	 Pipe Material Use Differs by Region
     	   Water main pipe material usage varies significantly over geographic regions (see Figure 9). The Northeast
         and North Central region of the USA (Regions 6 and 8 as illustrated in Figure 1) uses either CI or DI pipe for
         approximately 90% of its length. In Region 9, Canada, PVC pipe makes up 43% of the total.
     5.	 There is Considerable Scatter in Pipe Failure Rate Data
     	   The water main break experiences of one utility may not represent another. Factors such as climate, installation
         practices, and soil corrosivity can greatly affect failure rates. Every utility should properly install pipe - regardless
         of material. In order to have an accurate water main break survey, a large number of respondents are required.
     6.	 PVC Pipe Has the Lowest Overall Failure Rate
     	   When failures rates of Cast Iron, Ductile Iron, PVC, Concrete, Steel, and Asbestos Cement pipes were compared,
         PVC is shown to have the lowest overall failure rate.
     7.	 Corrosion is a Major Cause of Water Main Breaks
     	 75% of all utilities have corrosive soil conditions and combined with a high portion of CI and DI pipes, one in
         four main breaks is caused by corrosion which is ranked the second highest reason for water main pipe failure.
         Northeast and North Central USA utilities (Region 6 and 8) will experience a higher percentage of corrosion
         breaks due to a higher concentration of CI and DI pipes (90%) installed.
     8.	 The Average Age of Failing Water Mains is 47 years old
     	 43% of water mains are between 20 and 50 years old and 22% of all mains are over 50 years old. While pipe
         life can be estimated at over 100 years, actual life is affected by soil corrosivity and installation practices. Based
         on the detailed survey, the average expected life of pipe being put in the ground today is 79 years. For example,
         non-corrosive materials like PVC have an estimated life over 110 years (Burn, 2006). Regardless of the pipe
         material selected, installation practices will affect the actual life that can be achieved.
     9.	 The Average Supply Pressure is 77 psi with Pressure Fluctuations less than 20 psi.
     	 Pressure events can contribute to water main breaks for pipes that have internal corrosion (tuberculation) or
         weakened areas due to external corrosion. Pressure is an important component to pipe design and material
         selection. A well-controlled system operated below design limits will lead to extended pipe life.
     10.	 The Use of Trenchless Technologies will continue to Increase
     	    While 57% of utilities use some form of leak detection, fewer utilities have engaged in trenchless technologies
          like pipe relining, pipe bursting and directional drilling. Over 40% are considering pipe relining and pipe bursting
          in the future. Directional drilling is more widely accepted and has a higher satisfaction rating and as a result,
          74% of utilities are considering it in the future.
     11.	Over 8% of Installed Water Mains are Beyond Their Useful Life
     	   This figure corresponds well with an EPA study (EPA, 2002) that shows the amount of pipe needing immediate
         replacement is growing rapidly. Improved asset management will be essential to all utilities to survive this trend.


6	                                                                           Water Main Break Rates in the USA and Canada: A Comprehensive Study
	                                                              April 2012 Utah State University Buried Structures Laboratory | Steven Folkman, Ph.D., P.E.
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                                    #:140807


 Validation of PVC Pipe’s Long Life
     Performance and Recent
Developments Regarding Utah State
University’s (USU) 2012 Water Main
         Break Rates Study
                    Dr. Steven Folkman
                  Uni-Bell Annual Meeting                                  U.S.D.C. CENTRAL DISTRICT OF CALIFORNIA

                                                                          CASE NO: 5:06-cv-0555-GW-PJW

                                                                          US ex rel Hendrix



                      Apr. 22-24, 2013                                    VS. J-M Mfg Co., Inc.

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                 Newport Beach, California                                BY
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        Case 5:06-cv-00055-GW-PJW Document 2814-1 Filed 01/14/19 Page 112 of 159 Page ID
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                                    Summary
   Analytical studies estimate properly installed PVC pipe
    life to exceed 100 years
   Quality control tests of “dug-up” PVC pipes, some up
    to nearly 50 years old, show they are still meeting
    their design goals
   These and other results will be assembled in a formal
    report
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                                                                    Affordability & The 100+ Year Benchmark Standard



                                                                    UTAH STATE UNIVERSITY
                                                                    BURI ED STRUCTURES LABORATORY
                                                                    STEVEN FOLKMAN, Ph.D., P.E.                                    -Æ_
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                               EXECUTIVE SU M MARY
                               ln 20t2, The Utah State University's          This comprehensive study reviews
                               Buried Structures Laboratory                  past PVC dig-up reports           and
                               published a comprehensive study               presents new quality control testing
                               based on statistical results of               resulls that continue to validate
                               water main breaks in the US and               the performance and longevity of
                               Canada, The findings of the research          PVC pipe used    in water networks. A
                               demonstratecl that PVC pipe has the           second component to this research
                               lowest rate of main breaks of pipe            addresses the fundamental chalÌenge
                               materiaìs considered in the study,            of affordability for utilities facing
                               which included ductile iron, cast iron,       the difficult process of replacing the
                               steel, concrete, and asbestos cement.         buried infrastructure which is at the
                                                                             end of its service life.
                               This study continues to         explore
                               the elements of PVC reliability and           Life cycle cost analysis is presented
                               longevity through the comprehensive           as a financial decision tool for pipe
                               research on PVC pipe testing results.         replacement selection by applying
                               Pipe experts from around the world            the findings of reliability       and
                               have contributed to the documented            longevity research and testing. This
                               eviclence of PVC pipe longevity               combination of pipe examination
                               through excavations and testing.              and testing data in conjunction with
                               These dig-up or pipe excavation               previous pipe break studies supports
                               reports are from "in           service"       PVC as a sustainable pipe material,
                               pipes with operational conditions.            confirming a 1"00+ year benchmark
                               Non-operational pipe dig-up testing           as an industry standard.
                               offers very limited performance data.
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          MAJOR FINDINGS
          The conrprehensive nature of this study has provided several
          national recommendations and rules of thumb which utilities
          can Llse for benchmarking and procurement purposes.


     J




          Dig-up lest results in the U.S. and around the             !l
                                                                          PVC pipes    offer a high degree of resilience in
          world indicate that PVC pipe can be expected to                 freezing conditions and after 25 years meet
          provide reliable service in excess of 100 years.                virtually all new pipe requirements.
 ti'r

          The average water ntain is failing at 47 years                  PVC pressure pipes exhumed after being in
          Corrosion is the major cause.                                   operation lor almost 30 years have nol suffered
i;j                                                                       any loss of strength. Alì tested pipes would be
 1i       Utilities using non-corrodible pipe materials are               expected to exceed a 100 year life under normal
          able to reduce the number of water main breaks.                 operating conditions.
 il1
lr.!
     j    Many utilities stìll have the ability to reduce                 After over 35 years ofoperation, PVC pipes have
          water main breaks and lo reduce O&M costs                       virtualìy no change in mechanical properties
          by utilizing non-corrodible pipes in their                      due to ageing. Both ductility and resisfance to
          replacement and procurement strategìes.                         internal pressure are stilì on the same level as
:i.l                                                                      new pipes.
?l
t3:       Internationally, PVC dig-up reports support the        ì

          previous findings ofPVC having the lowest water                 Based on stress regression, slow crack growth
          main break-rate.                                                and fatigue testing, the service life of                     PVC
rl
     il                                                                   pressure pipe should exceed                    1-00 years.
'iti      Improved installation and inspection practices
ìHi

          have been shown to contribute to lower                          The Water Research Foundation reported
          failure rates and increased pipe longevity and                  that 100 years is a conservative estimate for                  a
          affordability.                                                  properly designed and installed PVC pipe.
     i                                                           li,
:i        Dig-up studies on PVC pipe materials around the                 Life cycle costing provides a basis to financialìy
          world report no degradation after decades of                    evaluate pipe selection over a 100 year perÍod.
          operational service.
,i:'!
,l;,
:til
                                                                          lncluding the realistic costs ofcorrosion control
,!i;      Recently excavated PVC pipes, some nearly 50                    mitigation* lor ductile iron pipes over the
          years old, were tested by Ufah State University and             1,00 year period for all pipe sizes is critical in
          met all applicable standards. They are expected to              developing a comparable evaluation of PVC pipe
          easily exceed 100 years ofservice life.                         costs and ductile iron pipe costs.



                                                                          *   Ct¡rrosio¡t m¡tig0tion ntethods ap¡trovetl by the
                                                                              NationaI Associotion of Corrosion Enoineers
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                                                                               The long-term performance of the system has been
                                                                               ciearly dependent upon the initial pipe quality, handling
                                                                               and instaliaLion. Degradøtion of the PVC material has
AUSTRALIAN TESTI N G                                                           not occurred. For the four pipes tested, both the tensile
DEMONSTRATES                                                                   strength at yield and elongation-at-break were essentially
                                                                               the same. Moreover, the results are the same as expected
NO PIPE DEGRADATION                                                            for contemporary pipes tested at the time of manuf,actnre.
                                                                               Thus it can be concluded there has been no degradation in
AFTER 30 YEARS                                                                 the strength or elongation characterístics ofthe PVC during
                                                                               the service life of the pipes. The exhumed pipes have not
                                                                               suffered any loss of strength as a consequence of operøting
The testing methodology used by Stahmer (101 takes into                        under presstrre for almost 30 years.
consideration the field performance of the PVC pressure
pipes as well as the actual testing based on the Australian                    These results showed there was no deterioration in the
Standards. The pipes which were exhumed in 1996 after 25                       fracture toughness during a service life approaching 30
years of operation were subjected to the following tests:                      years. A number of studies have been made olexhumed PVC
   ¡.¡                                                                         pipes in order to test the premise that material degradation
    '!1
    T     Resistance to flattening was carried out by placing short sections   is neither occurring nor adversely affecting potential service
          of pipe between parallel plates and deflecting to 40% of the         Iife. The findings of the Australian pipe testing support the
          orig¡nal diameter. The sections were then ¡nspected for any
                                                                               earlier works by Lancashire [11), Bauer (12) and Alferink et
          damage orfracture. Test Method: Australian Standard þS 1462.2
                                                                               al (13J.
   r      Resistance to impact was performed using a weight falling 2
          m. A failure is recoded if there was any fraúure ev¡dent in the      Numerous studies on the fatigue failure characteristics of
          specimen at the conclusion of the test. The síze of the weight       PVC pipe have been conducted. In 2005 Whittle and Teo
          varies w¡th the s¡ze of the pipe in the manner described in the
                                                                               (14J summarized previous research and conducted rotating
          product standard. Test Method: Australian Standard AS 1462.3
  ¡Tl                                                                          beam experiments with notched PVC specimens and were
  lil     The dispersion of the resin in the pipes was assessed on samples     able to match fatigue failure test results from pressure
          approximately 0.02 mm tiick under low power magn¡f¡cation.           cycling PVC pipes. Their results show that an endurance
   .Jå
  'iå                                                                          ìimit exists in PVC-U pipes such that stress amplÍtudes ìess
          Tensile properties of the PVC were determined on four pipe
                                                                               than 2.5 MPa [362 psiJ would have negligible effect on the
          samples, us¡ngthe average of fìve determinations for each. Test
          Method: ASTM D638M.                                                  life of a piþe. This stress range is well below that expected
   T'                                                                          in a typical municipal water system.
   Jñ
   LJ     The fracture touglhness of the pipes was determ¡ned using the
          notched C-ring method. For each of the pipes tested, a series        The Water Research Foundation funded a study published
          of Grings was prepared and tested under a range of applied           in 2005 titied "Long-Term Performance Predictions for PVC
          stresses. The stress and timetofailure were recorded for each
          and the fracture toughness versus the timetefailure was plotted.
                                                                               Pipes," Burn, et. al. {7). This report has a comprehensive
          Test Method: Australian Standard Draft No. 2570.                     review of methods to analyze the expected life of PVC pipe.
                                                                               They report that 100 years is a conservative estimate   for   a
It was reported that these       PVC pressure pipes were                       "properly designed and instqlled pipe." A detailed survey
installed in a variety of terrains including sandy soil and                    was sent out to 44 water utilities in Australia, Canada, and
solid limestone. The performance was reported to have                          the USA. Of the 44 participants, 17 water utilities provided
been satisfactory in all situations. In addition, the pipes in                 detaiÌed data. This provided a benchmark for failure
the system traverse both roads and rail lines. In neither                      models developed. Fracture mechanics-based models were
instance was the pressure class of the pipe upgraded to                        produced to predict the conditions under which pipe failure
accommodate the dynamic loads imposed by passing                               will occur in service. These models were calibrated against
road traffic or trains. Nevertheless, no failures have been                    failure rates recorded in a number of North American and
reported as a cons'equence of dynamìc loading.                                 Australian utilities.
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                                          In 1985, Lancashire [11j       investigated whether the

UN   ITED KING DOM                        performance of PVC-U pipe is affected by time in service.
                                          Lancashire studied PVC water pipes exhumecl after 4 to
                                          years' service and concluded that ageing was not
                                                                                                   1,6
                                                                                                     a

& EUROPEAN STUDIES                        sÍgnificant factor influencing the performance of the pipes.
                                          Material quality, particularly good gelation and small size
                                          of inclusions, was fbund to have the overwhelming
RESULT IN PIPE LIFE                       influence on performance. The pipes were 4 inch, Class C

IN EXCESS OF                              [operating pressure 9 barJ from a single manufacturer,
                                          They performed stress regression testing and concluded
                                          that initial pipe cluality is the overriding influence in

7,OO YEARS                                determinirrg pipe performance. All of the pipes tested
                                          would be expected to exceed a 100 year líþ under normql
                                          operating conditions.
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ln 1-996, Alferink et ai [13] tested exhumed PVC pressure        If the temperature is between 20-40"C [68-104'F] and the
pipes ranging up to 37 years of age. It was concluded there      operating pressure is doubled to B-10 bar (1"L6-745 psil, the
was virtually no change in the mechanical properties of          pipe would eusily operate for 100 years as a potable water
the pipes due to ageing. The report summarized results ol        pipe with a scrþty Jactor of 1.5.
testing a total of 19 pipe samples. The tensile tests showed
that the materiaì moduìus does not decrease with pipe            The following year      in   2005, Boersma and Breen (16J
age. There did not appear to be any changes in tensile           examined chemical and physical ageing of PVC pressure pipe.
strength and impact strength with pipe age. Stress regression    They defined chemical ageing by a change in the chemical
testing showed that PVC pipes after 35 years of se¡vice still    structure of a polymer and physical ageing as a change
were meeting CEN stress regression requirements. They            in the physical structure. He notes that "Chemical ageing
concluded that "old PVC water pressure pipes still fulfill       at 'l.5'C seems not to have a significanl influence on the
lhe most important functional requirements. Ductility and        quality oÍ PVC water distribution pipes." Physical ageing
resistqnce to internal pressure hqve been vírtually unøffected   was investigated by examining the free volume relaxatìon
by ageing, and are still on the same level as for new pipes."    by measuring yield stress. Accelerated aging of PVC pipe
                                                                 at 60'C leads to an increase in yield stress and thus yield
Hülsmann (15J in 2004 reported tests on some of the first        stress is an indication of the pipe age. Howevet measured
PVC pipes installed   in Germany. One set of tests examined      yield strength of pipes in service up to 30 years does not
1"5 pipe specìmens exhumed after being in use for 23 years.      show any trends indicating changes in yield strength with
They ranged in diameter from 20-48 mm [0.787-1.890               pipe age. They concluded that "Physical ageing at L5"C
inJ ancl were subjected to long term hydrostatic pressure        seems not to have a significant influence on the quality
testing. The testing was completed at 60'C and then the          of water distribution pipes." They also tested PVC pipes
Arrhenius equation was used to scale the results back to         for stress regression, siow crack growth, and fatigue and
20'C, The extrapolation of the stress regression data was        concluded that the service life of high qualíty PVC should
taken out to 10" hours [1L4 years), Hülsmann concluded           exceed L00 years.
that under realistic conditions in the Bitterfeld location and
al 4-5 bar [58-83 psiJ water pressure, it may be assumed         ln  2006, Breen [17] studied five excavated pressure pipe
that another 100 years ofsafe operation could be expected.       specimens produced between 1959 and 1997 with pipe
An additional nine pipe specimens, 4 coming from a 32.5          diameters between 160 and 400 mm [6.3 and 15.7 Ínch].
mm [1.28 in] pipe and 5 coming from a 25.2 mm (1.0 inl           He performed chemical and physical ageing rests on the PVC
pipe, were in operation as potable water pipes for 53 years      along with tensile, burst tesl, slow crack growth, impact
at 4-5 bar [58-83 psi] operation pressure.                       test, and fatigue measurements. He concluded that the
                                                                 "existing PVC tap water pipe systems in the Netherìands
                                                                 will operate for at least L00 years provided that the internal
The 9 samples were subjected to long term hydrostatic            and external loads do not result in hoop stresses which will
pressure tests at 60"C. An extrapolation of the stress           exceed 1"2.5 MPa and that no micro-crack and mechanical
regression data was to 1"0" hours [1, 1-4 years). They           damages are present in the PVC pipesJ'
concìuded these pipes would last another L00 years of
operation even at 7 bar [102 psiJ and 60"C (140"F]
operating conditions.
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NORTH AM ERICAN
STU D I ES STATE THAT
1OO YEARS IS A
CONSERVATIVE ESTIMATE
Moser and Kellogg in 1994 (18) published an AWWARF
funded survey of water utilities and performed impact
and acetone immersion tests on 59 PVC pipe sampÌes
fiom 1-6 different utilities that were being installed in
                                                                      FIGURE     1:
                                                                        PHOTO OF
t992. The samples provided came from ten different PVC                SAMPLE #3
pipe manufacturers. All of the samples passed the acetone
                                                                        PRIOR TO
immersion test and only four samples failed the impact
                                                                 STRU CTU RAL
tests. The survey results found some evidence of early             INTEG R ITY
PVC pipe failure but these problems usually occurred in
                                                                         TESTI    NG
the first year of operation and were usually attributed to
improper pipe installation.

Moser and Folkman [19J reviewed previous studies of             TABLE 1 : Description of PVC Pipe ïested                                  at   USU
fatigue failure in PVC pipe and guidelines to prevent
faiìures. They also conducted numerous pressure cycling                                 SAIIIPLE #1                   SAMPLE #2             SAMPLE #3

tests of 6-inch PVC pipe and combined their results with        stzE, Dn               4 INCH, SDR21                4 INCH, SDR21          24 INCH. DR18
previously reported data, Their results are currently the
                                                                USAGE                   WATER MAIN                    WATER MAIN          SEWER FORCEMAIN
design guidelines presented in the A\MWA C900 standard
in Appendix B.                                                  MAIIIUFACIURING           cs 256                      ASTM D2247            AWWA C905
                                                                SÏANDARD

In 2013, Folkman and Barfuss (20) reported on quality           YEAR ¡NSIALLED             r964                            7987            EARLY     1990'S
control tests on PVC pipe that had been in use for a number     AGE

of years. The pipes tested are summarized in Table 1
                                                                YEAR E(CAVATED             20L2                            20!2                  20L2
and had been in continuous use for between 20 and 49
years. Note that sample #l- was manufactured under an           YEARS ¡N SERVICE         49    YEARS                    26 YEARS               -20   YEARS
early commercial standard CS 256. In 1,964, the CS 256
standard became ASTM D2241. The tests included pipe
dimensions, acetone immersion, and pressure tests. The          TABLE      2:   Quality Control Test Specifications
burst pressure test was used for samples #1 and #2 that.
were mallufactured to CS 256 and ASTM D224L standards           TEST                             TEST CONDlr|Oi{S                 APPLICABLE SÍAÍ{DANDS

and the hydrostatic integrity test was applied to sample #3                                     6SPECIMENS@SPOINTS                 AWWA   C905 & ASrM D2122
which was made to the A\MWA C905 standard. Table 2 lists
the specifications used for these quality control tests. All    ACETONE IMMERS¡ON                       8 SAMPLES                         ASTM D2152

three samples passed all of the quality control tests. Figure   BURSTPRESSURE              l   SPECII\,IEN,   630 PSI IN 60 SEC      ASTM D2241 & D1599
1" is a photograph of Sample #3 prior to the hydrostatic
Íntegrity test.                                                 HYDROSTATIC INTEGRITY      1 SPECIMEN,470 PSI IN 60 SEC            AWWA   C905 & ASTM D1599
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DIG-UP TEST
RESULTS
SUMMARY
Accelerated ageing studies all indicate that PVC pressure
pipe can be expected to provide reliable service in excess
of 100 years. Accelerated ageing tests provide the best
estimates a laboratory can provide for longevify.
Validation of PVC expected long-term performance with
exhumed samples provides confidence to the end user.
With many installations of PVC pipe reaching 50 years
with no indication of loss of capacity, this provicles further
validation of   PVC pipe's long life.

Examples can be found of, PVC pipe failures with very short
life spans. When an early PVC failure occurs, it has been
the experience of the author that there will be two possible
causes. The failure could be due to a defective pipe usually
caused by incomplete gelation of the PVC. euality control
tests by manufacturers on each lot of pipe should prevent
this occurrence. The primary cause of early PVC pipe failure
is improper installation procedures. Regardless of the
pipe material chosen, a quality installation procedure will      SEWER PIPE
provide enhanced pipe life.
                                                                 STUDIES
                                                                 Bauer (22) tested PVC sewer pipe exhumed after 15 years
                                                                 of service and in 1.990 reported on tests that no measurable
                                                                 degradation of the material occurred in this period. In
                                                                 particular it was reported that there was no embrittlement
                                                                 qnd no decrease in modulus or pipe stiffness.

                                                                 Meerman (23] in 2008 conducted inspections of sewer
                                                                 pipe up to 25 years old. A number of pipes were recovered
                                                                 from their service sites and subjected to a range ofvisual,
                                                                 microscopic and other test to assess their condition.
                                                                 The tests included: visual and microscopic inspections,
                                                                 geometrical analysis and deformations, and surface
                                                                 roughness and degradation. He concluded that the existing
                                                                 PVC sewer pipe systems will operate for at least L00 years.
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CONCLUSIO NS
AND RECOM MENDATONS
Our water and sewer underground infrastruclure is             The second phase to further support the waler main
now in decline after decades of service. The signs of         breal< eviclence involves reports and studies on "in
distress surface daily as water mains break, creating         service," excavated pipe testing. These results further
floods and sink holes. The loss of service is more than an    the development of a case for perlormance and longevity
inconvenience, causing significant social and economic        review as well as contributing to financial        costs
disruptions at ever increasing costs, The downturn of         analysis tools. Within the framework of this collective
the economy has also given rise to new issues on the          data including life cycle costs and asset management
affordability of water services when the total price tag of   practices, many new standards of pipe evaluation
regulatory issues and replacement costs are considered.       selection can be performed. This methodology
These issues create a more complex environment                provides for greater understanding and acceptance of
for utility management, including an increased                alternative materials to be used in the underground
amount of public awareness and a greater clemand for          networks necessary to withstand corrosion and other
transparency and accountabiìity. In an effort to provide      environmental challenges facing every utility to some
solutions to these new utility business requirements,         degree. Many utilities have fallen short in producing
additional processes and tools are needed as part of          appropriate cost and life cycle comparison of pipe
the underground pipe infrastructure evaluation and            performance. This has occurred when insignificant
selection process. This effort requires the attention         statistical sampling is used, poor installation practices
of elected officials, the support of utility management       are assumed as local standards, modeling aclivities do
and the involvement of engineering, financial and             not lake into consideration the difference in material
procurentent resources to develop a new program for           mechanics, and cost analysis omits the operational and
sustainability and alfordability.                             maintenance cost of corrosÍon control programs both
                                                              internal and external to the pipe.
The first phase of gathering evidence of new solutions
involved a study of pipes to quantify the occurrences         As these recommendations continue to become accepted
of failing underground pipe networks namely water             best practices for effectively managed utilities in both
main break rates. Water main break rates are calculated       private and public operations, the nation as a whole can
for all pipe materials used in the transport of water to      rebuild its basic water and sewer infrastructure and
create a measurement to judge pipe performance and            stand as a national treasure of innovation and industry
durability. Water main break rates can vary year to           with performance and longevity to extend beyond the
year and by utility. Howeve¡ in aggregate, break rates        next 100 years. This process can be achieved by appiying
produce a compelling story which can aid our prudent          correct tools and methodologies which can quantìfy the
decision making as it relates to repairing and replacing      costs and demonslrate efforts towards achieving more
our underground pipes.                                        affordable infrastructure choices without sacrificing
                                                              quality or performance. The combination of research,
                                                              lesting, and analysis results in confirming a 100+ year
                                                              benchmark standard for PVC pipes.
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                                   #:140820                      US ex rel Hendrix

                                                                                                VS. J-M Mfg Co., Inc.

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                                                           Proceedings of the 17th Plastic Pipes Conference
                                                                                                     PPXVII
                                                              September 22-24, 2014, Chicago, Illinois, USA




                           VALIDATION OF THE LONG LIFE OF PVC PIPES

                                                 Steven Folkman
                                                Utah State University
                                                  Logan, UT, USA

     ABSTRACT
          Several analytical studies have estimated that PVC pipe can have a useful life of over 100 years. The
     earliest widespread use of PVC pipes was in Germany in the late 1930’s. These early pipes lacked
     proper extrusion technology. Extrusion technology was greatly developed during the 1950’s and 1960’s.
     Use of PVC pipe in the USA started in the early 1960’s. It was desired to try to validate the expected long
     life of PVC pipe. Recently, Utah State University conducted several tests on PVC pipes that had been in
     use between 20 and 49 years. The tests conducted include acetone immersion and burst pressure or
     hydrostatic integrity tests. The purpose of these tests was to examine if the pipe still met the quality
     control standards that were in place when they were manufactured. The results show that when the
     material has proper gelation, all of the quality control tests were successfully passed. This paper will also
     review these test results along with testing done by other researchers examining the long life expectancy
     of PVC pipe.

     INTRODUCTION
           In the United States and Canada, underground water infrastructure was installed during three main
     time periods because of the population growth in the 1800s, 1900–1945, and post 1945. Pipes made of
     iron constructed in each of these three eras will all start to fail at nearly the same time over the next
     couple of decades due to the corrosion of the iron pipes. Additionally, the life span of the materials used
     since the 1960’s has changed. Grey cast iron pipes are no longer manufactured and the new ductile iron
     material has been made thinner to reduce costs, but as a result, the pipe life expectancy has become
     shorter with each new investment cycle (1). In 2013, the American Society of Civil Engineers issued a
     USA Infrastructure Report Card and gave an overall “D” grade to drinking water and wastewater
     infrastructure which included the piping infrastructure. In an update to the “Dawn of Replacement” (2),
     AWWA has published “Buried No Longer” which states “More than a million miles of pipes are nearing
     the end of its useful life and approaching the age at which it needs to be replaced” (3). These water pipe
     replacement costs combined with projected expansion costs will exceed $1 trillion over the next couple of
     decades. The cost of underground pipe infrastructure is only 60% of the US water industry’s total funding
     requirement. In additional, sewer and storm drain funding needs also drive up the cost burden on rate
     payers. Municipalities continue to struggle with balancing water service affordability against the rise in
     service interruptions and declining water quality. With the introduction of piping materials such as PVC,
     utilities were able to address the issue of iron pipe degradation due to corrosion.

         Infrastructure asset management is an approach which can help utilities bring together the concepts,
     tools, and techniques to manage assets at an acceptable service level at the lowest life-cycle cost. Asset
     management practices applied to underground infrastructure help utilities understand the timing and
     costs associated with replacement activities. The knowledge gained from these efforts also helps in the
     development of effective pipe material selection through comparative financial analysis called “life cycle
     costing” as part of the replacement strategies and funding plans. Understanding the longevity of a pipe
     improves the ability for management to make better infrastructure investment decisions with improved
     affordability results for customers.



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           steel and asbestos cement pipes. Corrosion was indicated as the primary cause of failure. PVC
           currently represents about 23% of the total length of pipe installed in US water systems. PVC
           dominates the rural water systems and the sewer underground infrastructure. The report also
           found that 8.4% of water mains are described as beyond their useful life. The average age of
           failing water mains is 47 years.

   THE DIG-UP REPORTS: EVIDENCE OF PERFORMANCE AND LONGEVITY
   Dig-up reports have occurred globally, but mainly occurring in Australia, Europe, Canada and the United
   States. In these reports, the pipes were subjected to a range of mechanical tests in order to assess
   whether there had been any deterioration during their service. Dig-up reports are valuable because they
   show results from pipe installed by contractors and in use for decades. Laboratory testing has a difficult
   time simulating real world installation and operation conditions.

   UNITED KINGDOM AND EUROPEAN STUDIES
       In 1985, Lancashire (10) investigated whether the performance of PVC-U pipe is affected by time in
   service. Lancashire studied PVC water pipes exhumed after 4 to 16 years’ service and concluded that
   ageing was not a significant factor influencing the performance of the pipes. Material quality, particularly
   good gelation and small size of inclusions, was found to have the overwhelming influence on
   performance. The pipes were 4 inch, Class C (operating pressure 9 bar) from a single manufacturer.
   They performed stress regression testing and concluded that initial pipe quality is the overriding influence
   in determining pipe performance. All of the pipes tested would be expected to exceed a 100 year life
   under normal operating conditions.

       In 1996, Alferink et al (11) tested exhumed PVC pressure pipes ranging up to 37 years of age. It was
   concluded there was virtually no change in the mechanical properties of the pipes due to ageing. The
   report summarized results of testing a total of 19 pipe samples. The tensile tests showed that the material
   modulus does not decrease with pipe age. There did not appear to be any changes in tensile strength
   and impact strength with pipe age. Stress regression testing showed that PVC pipes after 35 years of
   service still were meeting CEN stress regression requirements. They concluded that “old PVC water
   pressure pipes still fulfill the most important functional requirements. Ductility and resistance to internal
   pressure have been virtually unaffected by ageing, and are still on the same level as for new pipes.”

       Hülsmann (12) in 2004 reported on tests of some of the first PVC pipes installed in Germany. One
   set of tests examined 15 pipe specimens were exhumed after being in use for 23 years. They ranged in
   diameter from 20-48 mm (0.787-1.890 in) and were subjected to long term hydrostatic pressure testing.
   The testing was completed at 60°C and then the Arrhenius equation was used to scale the results back to
                                                                                6
   20°C. The extrapolation of the stress regression data was taken out to 10 hours (114 years). Hülsmann
   concluded that under realistic conditions in the Bitterfeld location and at 4-5 bar (58-83 psi) water
   pressure, it may be assumed that another 100 years of safe operation could be expected. An additional
   nine pipe specimens, 4 coming from a 32.5 mm (1.28 in) pipe and 5 coming from a 25.2 mm (1.0 in)
   pipe, were in operation as potable water pipes for 53 years at 4-5 bar (58-83 psi) operation pressure. The
   9 samples were subjected to long term hydrostatic pressure test at 60°C. An extrapolation of the stress
                             6
   regression data was to 10 hours (114 years). In conclusion, these pipes would last another 100 years of
   operation even at 7 bar (102 psi) and 60°C (140°F) operating conditions. If the temperature is between
   20-40°C (68-104°F) and the operating pressure is doubled to 8-10 bar (116-145 psi), the pipe would
   easily operate for 100 years as a potable water pipe with a safety factor of 1.5.

       The following year in 2005, Boersma and Breen (13) examined chemical and physical ageing of PVC
   pressure pipe. They defined chemical ageing by a change in the chemical structure of a polymer and
   physical ageing as a change in the physical structure. He notes that “Chemical ageing at 15°C seems not
   to have a significant influence on the quality of PVC water distribution pipes.” Physical ageing was
   investigated by examining the free volume relaxation by measuring yield stress. Accelerated aging of
   PVC pipe at 60°C leads to an increase in yield stress and thus yield stress is an indication of the pipe
   age. However, measured yield strength of pipes in service up to 30 years does not show any trends
   indicating changes in yield strength with pipe age. He concluded that “Physical ageing at 15°C seems not


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   to have a significant influence on the quality of water distribution pipes.” They also tested PVC pipes for
   craze initiation, stress regression, slow crack growth, and fatigue and concluded that the service life of
   high quality PVC should exceed 100 years.

        In 2006, Breen (14) studied five excavated pressure pipe specimens produced between 1959 and
   1997 with pipe diameters between 160 and 400 mm (6.3 and 15.7 inch). He performed chemical and
   physical ageing tests on the PVC along with tensile, craze initiation, burst test, slow crack growth, impact
   test, and fatigue measurements. He concluded that the “existing PVC tap water pipe systems in the
   Netherlands will operate for at least 100 years provided that the internal and external loads do not result
   in hoop stresses which will exceed 12.5 MPa and that no micro-crack and mechanical damages are
   present in the PVC pipes.”

   AUSTRALIAN TESTING SHOWS NO PIPE DEGRADATION AFTER 30 YEARS
       The testing methodology used by Stahmer and Whittle (15) takes into consideration the field
   performance of the PVC pressure pipes as well as the actual testing based on the Australian Standards.
   The pipes which were exhumed in 1996 after 25 years of operation were subjected to the following tests:
        Resistance to flattening per Australian Standard AS 1462.2
        Resistance to impact per Australian Standard AS 1462.3
        The dispersion of the resin in the pipes was assessed on samples approximately 0.02 mm thick
             under low power magnification.
        Tensile properties of the PVC were determined on four pipe samples, using the average of five
             determinations for each.
        The fracture toughness of the pipes was determined using the notched C-ring method per
             Australian Standard Draft No. 2570.
   It was reported that these PVC pressure pipes were installed in a variety of terrains including sandy soil
   and solid limestone. The performance was reported to have been satisfactory in all situations. In addition,
   the pipes in the system traverse both roads and rail lines. In neither instance was the pressure class of
   the pipe upgraded to accommodate the dynamic loads imposed by passing road traffic or trains.
   Nevertheless, no failures have been reported as a consequence of dynamic loading. The long-term
   performance of the system has been clearly dependent upon the initial pipe quality, handling and
   installation. Degradation of the PVC material has not occurred. For the four pipes tested, the tensile
   strength at yield and elongation-at-break were essentially the same. Moreover, the results are the same
   as expected for contemporary pipes tested at the time of manufacture. Thus it can be concluded there
   has been no degradation in the strength or elongation characteristics of the PVC during the service life of
   the pipes. The exhumed pipes have not suffered any loss of strength as a consequence of operating
   under pressure for almost 30 years.

        These results imply there has been no deterioration in the fracture toughness during a service life
   approaching 30 years. A number of studies have been made of exhumed PVC pipes in order to test the
   premise that material degradation is neither occurring nor adversely affecting potential service life. The
   findings of the Australian pipe testing support the earlier works by Lancashire (10), Alferink et al (11) and
   Bauer (16).

       Numerous studies on the fatigue failure characteristics of PVC pipe have been conducted. In 2005
   Whittle and Teo (17) summarized previous research and conducted rotating beam experiments with
   notched PVC specimens and were able to match fatigue failure test results from pressure cycling PVC
   pipes. Their results show that an endurance limit exists in PVC-U pipes such that stress amplitudes less
   than 2.5 MPa (362 psi) would have negligible effect on the life of a pipe. This stress range is well below
   that expected in a typical municipal water system.

       The Water Research Foundation funded a study published in 2005 titled “Long-Term Performance
   Predictions for PVC Pipes,” Burn, et. al. (9). This report is a comprehensive review of methods to
   analyze the expected life of PVC pipe. They report that 100 years is a conservative estimate for a
   “properly designed and installed pipe.” A survey was sent out to 44 water utilities in Australia, Canada,
   and the USA. Of the 44 participants, 17 water utilities provided detailed data. Fracture mechanics-based


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        It is significant to note that this was the second round of testing performed on sample #1. In 1987
   Eckstein (22) reported that samples of this pipe was excavated in 1987 after 22 years of use and
   subjected to chemical extractant tests for water quality, stress regression tests per ASTM D1598 and
   D2837, acetone immersion testing per ASTM D2152, flattening tests per ASTM D2412, and impact
   resistance tests per ASTM D2444. All of these quality control tests were passed. The latest round of
   testing of sample #1 verifies that the ability of the 49 year-old pipe to perform its intended purpose has
   not changed. The pipe has the same water pressure capacity it had when it was first installed 49 years
   previously.

   DIG-UP TEST RESULT SUMMARY
       Accelerated ageing studies all indicate that PVC pressure pipe can be expected to provide reliable
   service for in excess of 100 years. Accelerated ageing tests provide the best estimates a laboratory can
   provide for longevity. Validation of PVC expected long term performance with exhumed samples
   provides additional confidence to the end user. With many installations of PVC pipe reaching 50 years
   with no indication of loss of capacity, this provides further validation of PVC pipe’s long life.

   Examples can be found of PVC pipe failures with very short life spans. When an early PVC failure
   occurs, it has been the experience of the author that there will be two possible causes. The failure could
   be due to a defective pipe usually caused by incomplete gelation of the PVC. Quality control tests by
   manufacturers on each lot of pipe should prevent this occurrence. The primary cause of early PVC pipe
   failure is improper installation procedures. Regardless of the pipe material chosen, a quality installation
   procedure will provide enhanced pipe life.

   SEWER PIPE STUDIES
       Bauer (16) tested PVC sewer pipe exhumed after 15 years of service and in 1990 reported on tests
   that no measurable degradation of the material occurred in this period. In particular it was reported that
   there was no embrittlement and no decrease in modulus or pipe stiffness.

       Meerman (23) in 2008 conducted inspections of sewer pipe up to 25 years old. A number of pipes
   were recovered from their service sites and subjected to a range of visual, microscopic and other test to
   assess their condition. The tests included: visual and microscopic inspections, geometrical analysis and
   deformations, and surface roughness and degradation. He concluded that the existing PVC sewer pipe
   systems will operate for at least 100 years.

   CONCLUSION AND RECOMMENDATIONS
        Our water and sewer underground infrastructure is now in decline after decades of service. The signs
   of distress surface daily as water mains break, creating floods and sink holes. The loss of service is more
   than an inconvenience, causing significant social and economic disruptions at ever increasing costs. The
   downturn of the economy has also given rise to new issues on the affordability of water services when
   total price tag of regulatory issues and replacement costs are considered. These issues create a more
   complex environment for utility management, including an increased amount of public awareness and a
   greater demand for transparency and accountability. In an effort to provide solutions to these new utility
   business requirements, additional processes and tools are needed as part of the underground pipe
   infrastructure evaluation and selection process. Many utilities have fallen short in producing appropriate
   cost and life cycle comparison of pipe performance. When PVC pipes are included in life cycle costing
   with accurate expected life assumptions, utilities will see significant possible savings.

       As previously mentioned, the average age of a failing water main is 47 years. This is unacceptable
   and unsustainable. Studies on the expected life of PVC pipe from researchers around the world
   consistently has confirmed a 100+ year benchmark for PVC pipes. These results are based on “dig-up”
   studies of pipe in use and installed by contractors. All pipe installations, regardless of the pipe material,
   require a quality installation. Attention to installation will pay dividends in terms of extended life.

   ACKNOWLEDGMENTS
      Partial support of this project was provided by Uni-Bell PVC Pipe Association.


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     1.0
    KEY FIIIDINGS OF THE PVC PIPE LCA AiID SUSTAIiIABITITY REVIEW OF PIPE ATTRIBUTES




    The LiJe Cycle Assessment oJ PVC Water and Sewer Pipe and
    Comparative Sustaínability Analysis   oJ   Pipe Materials study combines     1.1   PVC Pipe's LCA Meets lS0 Standards and
    two major components of sustainability analysis. First, this study                 the PVC Pipe EPD Provides Transparent
    documents the cumulative emboclied energy of PVC pipe for each                     Disclosure of the Environmental lmpacts
    of its life cycle stages from cradle-to-grave, This creates a common
    platform to both discuss and compare aspects of the product's
    carbon footprint and its environmental impacts in scientific terms.


T   The seconcl component takes into consideration the elernents which
    caninfluence pipe performance and service level expectations. While
    manufacturers suggest a pipe life expectancy based on testing and
                                                                                   life cycle assessment and sustainability review to the North
                                                                                   American water and sewel industry.


    manufacturing processes, utilities typically select a different service        cycle stages which include:
    life in the installed environment. Service life is determined by design
    features, operational conditions, environmental conditions both
    inside and outside the pipe, and intended use. This stucly recognizes
    this fact ancl develops a performance-based service life for         each
    pipe material. This performance-b*sed service life in the installed
    environment focuses on the pipe's ability to cleliver a sustained
    level of high water quality in a cost-effective manner'. In order to
    accomplish this, the major pipe materials ancl environmental and
    sustainability variables were considered. This inclucìes an in-depth
    review of the two most comÍton water pipe materials - PVC and                  the LCA provides a comprehensive view of the environmental
    ductile iron - as well as the specific attributes of other pipe materials.     aspects   of the product and an accurate picture of        the
    Sustainabiliry in terms of consistent water quality and delivery               errvironmental tracleoffs in product selection.
    through unclerground pipe infrastructure, includes the variables of
    corrosion risþ climate impacts and energy costs, When determining
    a pipe material's service life, a 100-year system design lif'e is used.        design life benchmark due to the very long asset life of pipe
    When all of these elements are combined, monetized costs cân                   infrastructure.
    be applied to better compare the results. The following provides
    highlights ofkey finclings ofthe overall study.
                                                                                   environnental irnpacts of a product throughout its life ancl is
                                                                                   a much better indicator of environmental performance than
                                                                                   single aftribute claims like recycled content. Some materials,
                                                                                   Iike metal, require large amounts of energy to recycle; ancl in
                                                                                   the process emit additional toxic emissions compared to non-
                                                                                   recycled primary metal production.
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  SMaRT Certification for ductile iron ancl vitrifiecl clay                 service lives to assist utility operators    in understanding   the
  pipes (VCf) does not provide complete transparency for                    modeling assumptions used in this stucly.
  environmental certification.

                                                                            experience, extensive industry studies, c{ig-up field samples
       products is disclosed, preventing comparability with other           and historical data demonstrating low failure and water main
       pipe materials.                                                      break rates.


       data, it is not clear if ductile iron pipe corrosion mitigation
                                                                            between 100 ancl 300 years.
       treatments such as cement lining and other aclditives
       to reduce corrosion are included in the analysis or
       certification of the pipe.                                           in corrosion-prone iron and concrete pipes      increase over time,
                                                                            resulting in higher operating and maintenance costs.
       duling manufacturing; however, the manufacturing of
       ductile iron pipe ploduces dioxins.
                                                                            failure trends, ductile iron (DI) and high densitypolyethylene
                                                                            (UOnn) pipes with thinner walls are not expected to last for




                                                                                                                                                   I
                                                                            100 years due to internal/external cor¡osion and oxiclation/
                                                                            strain creep, respectively.
1.2   Pipe Service Life Assumptions Are Critical in
      Life Cycle Analysis
                                                                                 as   having a 7 5 - to 100-year physical life, yet dudng a good
                                                                                 portion of the time it is in use, the pipet performance
                                                                                 may have significantþ degracled because of internal and
  cycle c{esign, it is important to understand and evaluate the life             external corrosion and tuberculation, thereby impacting
  cycle impacts of all materials used in the piping system.                      water quality and driving up pumping costs. Therefbre,
                                                                             .   these pipes were operated ìnefficiently well past their
                                                                                 service life.
 management best practices and concepts that strive to reduce
 the life cycle costs of underground water, sewer and storm
 sewer assets while maintaining performance and reliable                    infrastructure for about 60 years. For this stud¡ DI pipe is
 service levels, protecting water quality ancl minimizing water             assigned a SO-year service life based on failure data   ofDI   pipes

 main breaks, water loss, infiltration and pavement repairs.                and the fact that new ductile iron pipes have much thinner walls
                                                                            than older iron pipes and lach independent dig-up and pipe
                                                                            material testing studies.
 estÍmated life. This "estimated" life does not represent the point
 at which pipe perforrnance may begin         to fail to meet intended
 service levels.                                                            corrosion surveys, corrosion protection systems and water
                                                                            quality testing.


 estimated pipe life,      but   it   also incorporates the practical
 evidence ofindustry pipe failure trends and dig-up studies to              performance of newer HDPE pipe with thinner walls, a 50-
 attribute a real-life pipe performance age to be used in the 100-          year service life was assumed due to the potential for oxidation,

 yeal evaluation period,                                                    strain creep and reduced Safety Factor.



      distribution systems for over 100 years. With up to an 80%o
      water loss, the pipet practical service life expired decades
      before. When    a   pipe is operatecl beyoncl its service life, the
      results arer higher costs for water treatment and pumping,
      increased customer water bills, more propeúy damage
      claims, and risk to both water quality for customer and
      trust for public officials.
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Comparing LCA clata is also dificult due to the inherent unceltainty
and dillerences in parameters and data.                                     2.2.2    PVC Pipe Longevity



                                                                            The application olìncorrectpipe charactelistics, combinedwith alack
2.2.1     NSF/ANSI Standard 61 Certification Verifies                       of PVC pipe system design knowledge, has understated the              longevity
          No Vinyl Chloride Leaching from PVC Pipe                          of PVC pipe service lives. The American Water Works Associationt
                                                                            Buried No Longer report inaccurately published a PVC pipe service
                                                                            life based or.r 1 960- 1 970s perceptions,T Those perceptions have been

The EPA has found no instances of vinyl chlolicle leaching frorn            disproven through extensive research, studies, and testing of PVC
                                                                                                          e r0 t   I 12
                                                                            pipe life and performance.s      The actual life expectancy of PVC
gasketed PVC pipes manufactured in North America for water
transmission and distribution in sizes 4 to 60 inches. According to         water and sewer pipe has been found to be in excess of 100 years.
                                                                            Inaccurate pipe performance and life expectancy can overstate water
a 2002 EPA study on permeation and leachingr some ungasketed
(solvent cemented) PVC pipes less than 2 inches in diameter                 asset management     pipe replacement costs.r3 For water utilities with
manufactu¡ed in the U.S. prior to 1977 experíenced vinyl chloride           asset management programs, an inaccurate pipe                   life assumption
leaching, Howeve4 no instances of vinyl chlolide leaching fiom any
                                                                            will distort maintenance      strategies, asset management plans and

North American PVC pipe manufãctured post-1977 have ever been               cost projections, resulting   in   overstated infrastructure replacement

cited.a
                                                                            funding projections. This drives rate increases and         a   misalignrrent of




                                                                                                                                                               l
                                                                            long-term bond Ênancing.
It is important to underst¿rncl what vinyl chloride leaching means and
how it is regulated. U.S. states require public water supply products
in contact with drinking water to be certifiec{ to NSF/ANSI 61
Drinking Water System Components - Health Effects. The standard             2,3      Redefining Sustainability and Water Quality
was developed to meâsure ancl  limit levels of chemical contaminants
and impurities that are indirectly imparted to drinking water from
products, components and materials used in drinking water systems.          This comprehensive sustainability review sets a new benchmark
This standard sets a limit for the amount of residual vinyl chloricle       standard with both clarity and transparency for U.S. and Canadian
contained in PVC pipe and ûttings and ensures all drinking water            water, wastewater and stormwater pipe manufacturers, utility
health and safety requilements are rnet. However, monitoring for            engineers ancl elected officials. It also redefines sustainâbility
vinyl chloride in water  systems can be challenging since studies           planning for underground pipe infrastructure.
have shown that vinyl chloride can be a disinfection byproduct from
chlorinated treatmerìt systems.s                                            Sustainability is the ability to maintain     a   certain level ofperformance,
                                                                            a resource or an   operation for the long term. Sustainability includes
NSF/ANSI 61 requires residual vinyl chloride monoÍrel' (RVCM)               an evaluation and focus on economic, environmental ancl social
measured in PVC pipe that is solcl and irstalled in the U.S. to             performance for an organizatiôn or a product. By considering the
consistently be below 0.2 parts per billion, which is one-tenth of          social and environmental features of a product, in adciition to its
the EPAs allowable level for clrinlcing water. Modern PVC pipe              financial and economic aspects, a balance can be met. Sustainability
consistently tests "Non-Detect" lbr vinyl chloride monomer.6                concerns are increasing as more than 50% of U,S, municipal water
NSF International led the development of the American national              and wastewater infrastructure is nearing the end of its service life.
stanclarcls fol all m¿rterials and ploducts that treat or come in conÈact   Accorcling to a 2002 congressional study, corrosion costs U.S.
with drinkingwater. In 1990, the EPAreplaced its own drinkingwater          water and wastewater systems over $50.7 billion annually. Since
product advisory prograrr with the NSF International stanclards.            January 2000, the financial impact of corrosion on U.S. water and
                                                                            sewer in&astlucture is more than $700 billion and climbing.'a With
                                                                            over 300,000 water main breaks per year over the next ten years,
                                                                            municipal utilities have set the stage for over $532 billion in capital
                                                                            improvements to acldress deteriorating piping networks, sewer
                                                                            overflows and rising population demands for newwater supplies.rs
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     7.0
    PVC PIPE USE.PHASE AND PERFORMAI{CE




    Unclerground water and sewer pipe infrastructure has a very long                pressure loss over the pipe distance. This friction requires pumping
    design life, The costs are significant to build these critical assets ancl      power to overcome this pressure heacl loss, aclcling significant costs
    are even greater if the pipe must be replacecl during the systemt               to a system. This study analyzed the environmental irrpacts of this
    design life. The system design process should focus on a long-terrn             pumping energy. The average U.S. electrical grid was used to model
    sustainable service life of proclucts.                                          these environmental impacts over a 1O0-year design life.




t   7.1        Pipe Life with a
                                    '1O0-Year
                                                Benchmark
                                                                                    Table 7.1 and Figure 7.1 show the environmental irnpacts of the
                                                                                    cradle-through-installation of,B-inch PVC DR25 pipe cornpared to
                                                                                    the use-phase impacts for 100 years of purnping energy at â constant
                                                                                    watel flow of 336 gallons per minute (gp*), with a pump energl
                                                                                    efficiency of 75%.The flow late of 336 gpm is equal to a flowvelocity
                                                                                    of 2 feet per second (fp$ n an 8-irch PVC DR25 pipe. Because
    The service life of PVC is expected to exceed 100 years.s'     't2 s3   Based
                                                                                    water demand is based on volumetric flow rate, the same flow rate   of
    on over 60 years offield experience ancl laboratory testing, a 10O-year
                                                                                    336 gpm was used for comparison of all the f-inch PVC DR25 pipe
    service life is used for PVC in tlús study. The service life of a product
                                                                                    alternatives. The same methociology was used for comparison of the
    is the time over which the product can be used econornically. The
                                                                                    8-inch PVC DRlS ancl the 24-inch PVC DR25 pipe alternatives.
    new standarcl or goal of a sustainable se¡vice life for under:ground
    pipe infrastructure is considered to be 100 years. When determining             The use phase of the pipe life cycle dominates as the primary cause
    a   pipe's selvice life, externirl and intelnal pipe performance measures       of environmental impacts of PVC pipe with the exception of smog
    and service levels must be taken into account. It is recommencled               which is primarily caused by production of electricity and.burning
    that all future LCAs related to underground pipe materials use this             of fuel in the pipe installation equipment ancl from raw materials
    1O0-year benchmark.                                                             extraction and production.

    In order to distlibute potable water during its expected service life,
    water is pressurizecl arrd purnped through the pipe to be deliverecl to
    a   destination at a specified volumetric flow rate. By traveling through
    the pipe, the water creates friction against the pipe walls causing
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                       Decreasing      Constant             lncreasing                                 Early "lnfant Mortality" Failure
                       Failure Rate   Failure Rate         Failure Rate
                                                                                                       Obserued Failure Rate
   o)                                                                                                  Constant {Random} Failures
   cE
  E.
   c)
   L
                                                                                                       Weat Out Failures
  :(ú     I
           t
  l!
               t
                   I
                       a
                           t                                                           One consideration     in   determining pþe service life includes
                                                                                       the application of the bathtub theory. The bathtub theory is     a
                                                                                       function of the probability of failure with time and can take into
                                                                                       consideration pipe failure data and field samples.


                                       Time.,


Another component ofdetermining              a   service life is to assign avalue to
the various pipe materials for comparison purposes, which includes
                                                                                       TABIE 8.3 : $ERVICE LIFE ASSUMPTIONS
                                                                                                                                                                E
                                                                                       0F SELECTEII PIPES FOR C0MPARIS0Iì|
going beyond manufacturers' marketing clair¡s and reviewing
additional sources to better understand the expected service level


                                                                                                                                            W
o{, a pipe. The combination of perfonnance and service delivery
are critical in order to assign a value.6r This takes into consideration
                                                                                           EW@¡d                       sEræura
when water main breaks begin to occur, water quality issues alise,
or pipe degradation (iniernal andfor external) Ís a concern ancl                                PVC                  AW\/A C900       -          100
needing attention. In these circumstances the pipe has effectively                              PVC                  AWWA C9O5                   100
met its service life as a low cost managed asset and now its total life                         PVC                  ASTM D3034                  100
cycle cost or total cost ofownership will begin to drastically increase.
                                                                                                PVC                  ASTM F679                   100
                                                                                                PVC                  ASTM F794                   't00

                                                                                                 DI                  AWWA C151                   50

8.4.1 Service Life for                Each Pipe Material                                         DI                  AWWAA746                    50
                                                                                               HDPE                  AWWA C9O6                   50
                                                                                               HDPE                  ASTM F2306                  50
For the purposes of this 100-year modeling and evaluation of
                                                                                               PCCP                  AWWAC301                    75
sustainable underground water infrastructure, the tbllowing pipe
service lives have been assigned as shown in Table 8.3.
                                                                                                 PP                  ASTM F2736                  50
                                                                                                VCP                  ASTM C700                   50
General Consideration for Assigning Pipe Lives
                                                                                               NRCP                   ASTM C14                   50


                                                                                       Refer to Section 9 for detailecl discussion on assigned service lives.
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     8.4.2       PVC Pipe 100-Year Service Life                                          8.5      Factors lnfluencing Service Lives
                                                                                                  of Water Pipes

     PVC has a service life of over 100 years for water, wastewater, and
     storrn water applications, because it is not subject to co¡rosion.                  There are manyfactorswhich influence the actual life ofunderground
     PVC has over 60 years o{ successful in-service pipe per:formance.                   water infrastructure. Corrosion, in its various forms, is the leading
     The May 2014 PVC Pipe Longeuity Report: Afrordability and the                       cause of pipe failure in   North America, creating   a   host of corrosion-
      100+ Year Benchtnark Standard by Dr'. S. Folkman examined the                      related issues which impact service delivery and water quality. Other
     lives of PVC water and wastewater pipirg.ó2 The conclusions of                      factors include oxidation induced failures causecl by disinfection
     this stucly were that the combination of research, âeld dig-ups,                    products used in water systems, excessive infiltration or exfiltration
     testing ancl anaþis confirmed a 100+ year benchmark standard                        due to corrosion or leaking joints, and loss offlow capacity or greater
     fbr PVC pipes. In Europe, dig ups ancl testing after 70 years of use                pumping costs due to increased friction in the pipe or buildup of
     confirm that PVC pipe will last in excess of 170 years.ó3 According                 biosolids/tuberculation inside the pipe.
     to the article, Predicting the Residual Lfe of PVC Sewer Pþesby A,J.
     Whittle    and J. Tennakoon, a study basecl on the testing of exhumed
     PVC sewer pipe, the additional lif'e expectancy for the PVC sewer
     pipe studied is a minir¡rum of abor"rt 100 years and a "best value"
                                                                                         8.5.1    External Corrosion



il
     of almost 300 years.óa PVC sewer pipes that were also dug up and
     testecl   in Europe   hac{   similar results.6s Art Examination   oJ   Innovatfue
     Nlethods Used in tlte Inspection of Wastewater Systetns, published by
                                                                                         Corrosion ís the major risk and cause of water main breaks and
     the Water Environment and Reuse Foundation             (Wenf)      stated, "If a
                                                                                         pipe failures in the U.S. ancl neecls to be considered when designing
     utility    primarily PVC pipes, it would be pointless to invest in an
               has
                                                                                         piping systems. The risk of various types of corrosion will always
     inspection system designed to measure the amount ofwall loss due
                                                                                         exist (climate change will only exacerbate this problem) and will
     to corrosion."66 Likewise, when a metallic pipe's complete unit cost
                                                                                         always need to be monitored. Iron pipe corrosion will adversely
     is used, the total price tag would increase for both the capital cost
                                                                                         impact water quality.ó8 According to Water Main Break Rates in the
     ancl the operations and maintenance expenditures when corrosion
                                                                                         IJSA and Canøda: A Comprehensive Study by Dr. S. Folkmar¡ 75%
     control program costs are added. Pipe selection will drive the cost
                                                                                         of all utilities have corrosive soil conditions.óe The map in Figure 8.2
     either up or down for        a   local community.6T
                                                                                         shows the potential for corrosion in the United States.




        $teel Corrosion Potential
         I      High
         n      Low
                Moderate
    CaseIJIIT{ÈIÈ[JÑ*TT
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Leakage frorr water infrastructure results in approximately 2.2
trillion gallons ofwater loss each year.7O Most of this leakage is due to      8.5.2      lnternal Corrosion
corrodecl and broken pipes. Corrosion ancl leakage increase pumping
enelgy, can cause bacteria ancl other organisms to grow, and may
result in the leaching of rnetals into the water suppl¡ Studies estimate       Corrosion from'Wastewater Sources
that PVC pipe has a Iife expectancy of over 100 years.Tt One reason            Corrosion not only occurs from the external surroundings of a
for this longevity is that PVC pipe is resistant to both internal and          pipe, but may also occur internally from sewage, wastewater or
external corrosion. In high pH soils, metal pipes are likely to corrode        other fluids or gases inside the pipe. For example, wastewater ancl
ancl fail well before the manufacturers'   published life expectancy.          sewage "...contain significant levels of biological and organic
                                                                               materials, including many bacteria that remain active in the waste
Ductile iron is most likely to fail between a 2I anð,4O-year period.           streams. Flom a corrosion point of view, the most important t)?es
Pits ol holes from corrosion were iclentilìed as the largest cause of          of bacteria are those that rnetabolize sulfur compouncis because
cluctile iron pipe material failures. The service life of ductile iron         this microbiological activity can produce acidic chemicals that are
pipe corresponds to impacts of low to moderate soil corrosion on               corrosive to concrete and steel or iron. Some bacteria also oxidize
unprotected pipe. Likewise, concrete pressure pipe also fails most             ferrous ions to ferric ions, which makes the local elrvironment mol'e
commonly between 2I to 40 years, indicating that corrosive soils               corrosive to carbon steel." 76
influence the service life of concrete as well. Accorcling to B. Cohen
ín Fíxing Anterica's Crumbling Unãerg'ound Wøter lnfrastrtrcture, the          The most'common way these microorganisms affect wastewater
early thicker-walled ductile iron pipes were expected to last 50-75            streams is by growing colonies, creating a local environment that is
years.T' However, a study of a utility in Wisconsin shows thatTgo/o
DI pipes installed between 1953 and 1982 lasted only 25-50 years.73
The National Research Council (NnC) was requested by the U.S.
Bureau of Reclamation to evaluate the leliability of cluctile iron pipe
with polyethylene encasement ancl cathodic protection for a S0-year
                                                                          o{   acidic enough to dissolve concrete ancl to corrocle steel and ductile
                                                                               iron. Another important commercial problem, due to the action
                                                                               o{ Thiobacillus ferrooxidans in particular, is the fbrmation of highly
                                                                               insoluble, ferric oxyhydroxide mounds that can clog steel or iron
                                                                               pipes. Gaseous hydrogen sulfide (HrS), the familiar "rotten egg"
                                                                                                                                                          l
service life, The NRC concludecl: "the committee cioes not ûnd that            odor, is also formecl, which acidiÊes surface moisture in headspaces of
the studies of DIPRA confirm that DI pipe with PE can meet the                 enclosed or covered structures, causing aciclic corrosion ofconcrete
expected reliability ofover 50 years ofservice life." 7a                       or metal      surfaces. HrS and oxygen combine to form polythionic
                                                                               acids   - a weak fonn of sulfuric acid.
In soils where there is a potential for corrosior¡ metal pipes such as
ductile iron will need frequent leplacement. According to a 2011               The wastewater industry takes corlosion ancl public health issues
stuc{y by the AWWA \Mater Research Foundation, ciuctile iron pipes             very seriously. An indepencient inclustry survey on         wastewater
with the thinnest walls (representing the majority of metallic pipes           collection pipe materials that provicle the highest public benefits
sold) in moderately corrosive soils have    a   life expectancy of only   11   once in service was conducted in 2010 and 2012 anc{ published in
to 14 years.Ts If the same corrosion-prone pipe materials are used in          the Trenchless Technologies Pípe Materials Guide (the Guide).17'frte
high-risk soil and locations, and the pipe is replaced every 15 years          v/astewater industry responded that longevity ancl service life wele
over the course of 1 00 years, then the pipe would need to be replaced         the rnost important factors in choosing pipe. Wastewater engineers
up to 7 times. This increases the embodied environmental impacts               consider pipe to not only be a transport medium but also an
and the costs of the system commensurably by up to 7 times.                    irrpol'tant public health barrier to possible contamination. Due to
                                                                               internal corrosive and caustic conditions, the Guide ranked PVC as
                                                                               the most commonly used pipe which achieves the longest service life
                                                                               over all otherpipe materials including brick, clay, concrete; Êberglass,
                                                                               polymer concrete, polyethylene, cast iron, ductile iron and steel.
                                                                               PVC has been around for decades, and its non-corrosive material
       Corrosíon, in its uøriousforms, ís the                                  characteristics have made it widely acceptecl in the wastewater
      leødíng cøuse of pipeføilure in North                                    industry.Ts

      Amerícø, creating ø host oJ corrosian-
   reløted íssues which impact seruíce delíuery
                      andøøter quality.
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                              ffi                                                the last century, iron pipe longevityhas plummeted."tsT The A\AIWA
                                                                                 Water Research Foundation con6rms the life expectancy of PVC
                                                                                 water pipes in excess of I l 0 years and a European study determined
                                                                                 PVC pipe's longevity at 170 years,rss r-ie Also, a new study by Utah
                                                                                 State Universify's Buried Structures Labolatory supports PVC as a
                16
                                                                                 sustainable pipe material   with a service life in   excess   of 100 years.t60
          U)
          g
          (Þ
          O     1   2

          a)
         o-                                                                      Water loss in pressure pipes has long been recognized and accounted
          (Þ
          cú
         É.         I                                                            for in water systems. Pipes subject to corrosion have had             leakage
         l<
          (ú                                                                     fron pitted pipe and leaking joints that have generated unmetered
          o)
         ó                                                                       water loss and have createcl saturated trench lines. In the past
          c;        4                                                            repairs were undertaken only when the leaks reached the severity
                                                                                 to create a pressurized stream above ground or caused a pavement
                                                                                 failure. Unfortunatel¡ there is little documentation of historic leak
                    0                                                            rates for the different pipe rnaterials used in distribution systeñìs.
                                PVC                Ductile lron                  There is, however, documentation on failure rates of different pipe




I                                                                                materials. The study Water Main BreakRates in thellsA and Canacla:
                                                                                 A Comprehcnsiue Studywasased to identifythe water main breakloss
                                                                                 volume per 100 feet.t6r Based on the water main break rates per 100
                                                                                 miles per year iclentified in the study, the water loss per 100 feet of
                                                                                 pipe per year was calculated assuming a 24O-minute time to shut off
                                                                                 a break and a flow rate roughly equivalent to the flow producec{ at
    A survey by Utah State University's Buried Structures Laboratory             2 feet per second (fps). The annual volume loss due to water main
                        ts3
    found that:                                                                  breaks for each pipe material was then converted to the 100-year
                                                                                 embodied energy for the lost water using 1,410 kWh/million gallons
                                                                                 determined by the stud¡ Embodied Energy of Lost Water: Eualuating
                                                                                 the Energy Eficiency oJ lnJrøstructure lnuestments.t'2


                                                                                 Water loss related to main breaks was considered Ín this study for the
                                                                                 embodied energy calculations for pressure pipes. Water main breaks
                                                                                 can have great variations   in volume of water loss due to the size of
    "The failure rates are influencecl byvarious factors like soil conditions,   the break and the time before the break is discovered ancl shut off.
    depth ofinstallation, internal loads (operating and surge pressure),         While there are many variables to take into consideration for leaks
    external loads (traffic and frost), temperature changes and bedding          and breaks, for the purposes of this stucly the flow rate was assumed
    conditions."rsa PVC pipe has the lowest industry failure rates in the        to be common to all pipe alternatives within each pressure               class
    U.S. and Canada.Lss                                                          basecl on the   volumetric flow rate for PVC pipe at 2 fps of velocity.
                                                                                 As stated previousl¡ all pipe break rate data to calculate water loss
    Iron pipe läls primarily due to corrosion. According to a 2011 study
                                                                                 are listed in Figure 4.1. The break rates used for DI pipe for this study
    by the A\AIWA Water Research Foundatiory ductile iron pipes with
                                                                                 are conservative per Table 4.1 which shows that other stuc{ies assign
    the thinnest walls (representing the majority of metallic pþes sold)
                                                                                 a much higher break rate for ductile iron pipes.tó3 Ióa 16s Table ,\,2
    in moderately corrosive soils have a life expectancy of only I 1 to 14
                                                                                 provides the data, calculations ancl results for the 1O0-year water loss
            "With corrosive soils affecting75o/o of all U.S. water utilities,
    years.ts6
                                                                                 embodied energy for each pipe material.
    coupled with significant iron pipe wall thickness reductions over
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                                                                                                                         US ex rel Hendrix

               TNO Science and Industry                                                                                  VS. J-M Mfg Co., Inc.

                                                                                                                         PLAINTIFF'S EXHIBIT     31158
                                                                                                                         DATE                               IDEN.

                                                                                                                         DATE                               EVID.

                                                                                                                         BY
                                                                                                                                             Deputy Clerk




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              EXHIBIT 31159
Case 5:06-cv-00055-GW-PJW Document 2814-1 Filed 01/14/19 Page 146   of 159 Page ID
                                                                U.S.D.C. CENTRAL DISTRICT OF CALIFORNIA
                                   #:140842                    CASE NO: 5:06-cv-0555-GW-PJW

                                                                                       US ex rel Hendrix

                                                                                       VS. J-M Mfg Co., Inc.

                                                                                       PLAINTIFF'S EXHIBIT     31159
                                                                                       DATE                               IDEN.

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                                                                                       BY
                                                                                                           Deputy Clerk

                                 70 years of experience with PVC pipes

                  Thomas H ülsmann, European Vinyl Corporation (Deutschland) GmbH
                         Reinhard E. Nowack, ALPHACAN Omniplast GmbH


     The demand for PVC has increased continuously in line with social development. Today,
     worldwide consumption is approaching 30 million tonnes per annum [1] and global growth is
     expected to be more than 4 % per annum. A significant proportion of this growth will be in PVC
     pipes, which make up about 27% of the market for PVC in Europe [2].

     PVC pipes are used in a wide variety of applications, such as sewage, potable water, drainage
     and gas. In these areas plastics pipes often replace traditional materials. PVC continues to
     dominate the global plastics pipes market. In Europe, PVC use in pipes was 1.5 million tonnes,
     in 2002.

     The roots of industrial PVC pipe production date back to the 1930`s. The first pipes were
     produced in 1934 in the Bitterfeld-Wolfen chemical industry area. These pipes were used for
     different applications such as potable water pipes, transparent food contact pipes (brewery
     applications) as well as industrial pipes (chemical laboratory and plant applications). The annual
     pipe production capacity reached about 480 to 600 tonnes in 1941 [3].

     In parallel to the increasing production volumes the first standards for plastic pipes were
     developed and products were made to meet them.

     Although the plastics industry is a relatively young materials segment, the production of
     industrial volumes of PVC polymer and PVC-U pipes is now about 70 years old, whic h is close
     to the predicted service lifetime of 100 years for PVC pipe applications.

     After the reunification of East and West Germany in 1989 and the involvement of Omniplast
     with pipe production in Bitterfeld, it was possible to excavate and test PVC -U pipes from the
     early production years, as they were still in use in 1992/3.

     A comprehensive series of tests on several of these old pipes and pipes produced in Troisdorf in
     the 1930´s and 1950´s was carried out, and the results compared against the current norms. The
     results provide an excellent basis on which to compare the data from the original long term
     pressure tests with actual results from 60 year old pipes.

     This is not only an interesting reflection of the history of PVC pipe production and application as
     well as a confirmation of the long term performance predicted 60 years ago, but it is also an
     important contribution to future PVC pipe developments.




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         Although the “Bitterfeld pipes” from 1935 to1940 are all different and were used in
         different areas, the variation in results is very similar to variation seen in the FNK round
         robin tests done in 1966 on one production batch; these also showed a varia tion of 3
         decades in the burst pressure test [3]. Therefore the results of all single pipes from the
         Bitterfeld production have been compiled in one hydrostatic pressure test diagram
         (figure 4).

         A comparison of the data from the pressure test with the requirements of the first
         standards (DIN 8061 and 8062) from 1941 indicate that even pipes from the first
         production years met these long term requirements although the results are below
         today’s requirements and typical contemporary data (figure 4, line DIN 8061).

         An extrapolation of the regression data from the early pipes results in data at 105 h and
         burst stresses of 5 N/mm2 and 4 N/mm2 for the mean and lower confidence limit
         respectively. Even if the data are extrapolated to 106 h (ca. 114 years) it results in
         minimum burst stress of 4.5 N/mm2 and 3.5 N/mm2 respectively. This indicates that, for
         example, pipe sample No.14 at a safety factor of 1.5 and operating conditions of 11 bar
         and 40°C would last for more than 100 years. But this pipe has already been in use since
         1938, i. e. for about 53 years, therefore the remaining lifetime is at a minimum another
         50 years, based on the extrapolated 60°C-data. Under realistic conditions in Bitterfeld of
         12 to 20°C and 4 to 5 bar it may be assumed that a nother 100 years of safe operation
         could be expected.


              100




                Figure 4:       60°C long term hydrostatic burst pressure test of 10 Bitterfeld
                                pipes (samples B: 5.1 – 15.3)




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          The two pipe samples from production and use in Bitterfeld (samples C 24.1 – 25.5) were
          in operation as potable water pipes in houses for 53 years at 4 to 5 bar operating pressure.
          These 9 pipe samples were used for hydrostatic burst pressure tests at 60°C (table 3). The
          regression line from the long term hydrostatic pressure diagram, extrapolated to 106 h
          indicates that a hoop stress of 2.8 N/mm2 is predicted (figure 5). This demonstrates that
          these pipes would last another 100 years of operation even at 7 bar and 60°C operating
          conditions. If these data are plotted into an “Arrhenius diagram” then at temperatures
          between 20°C and 40°C, these pipes would last another 100 years operating at 9 to 14 bar
          with a safety factor of 1.5. This means that, even if the operating pressure was doubled to
          8 or 10 bar this pipe would easily last the 100 years as a potable water pipe with a safety
          factor of 1.5.




          Figure 5:      60°C long term hydrostatic burst pressure test of 2 Bitterfeld pipes
                         (samples C: 24.1 – 25.5)



    3.   Summary and outlook

          All the results, even from the first produced PVC-U pipes which have a service life of
          about 50 years, demonstrate in an impressive way the excellent durability of these plastic
          pipes.

          The development of PVC polymers, compound recipes and processing machinery for
          pipes production today results in much better long term performance of PVC-U pipes
          compared to the early PVC -U pipes, which is reflected also in the newer standards.

          The best reflection of the positive experience and long term performance is the fact that,
          globally, PVC pipes are the most widely used plastics pipes.




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              EXHIBIT 31160
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                                                                                  U.S.D.C. CENTRAL DISTRICT OF CALIFORNIA

                                                                                 CASE NO: 5:06-cv-0555-GW-PJW

                                                                                 US ex rel Hendrix

                                                                                 VS. J-M Mfg Co., Inc.

                                                                                 PLAINTIFF'S EXHIBIT     31160
Long term performance prediction                                                 DATE

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of existing PVC water distribution
                                                                                                     Deputy Clerk




systems


TNO Science and Industry




A Boersma, J Breen
         Case 5:06-cv-00055-GW-PJW Document 2814-1 Filed 01/14/19 Page 151 of 159 Page ID
                                            #:140847




Conclusions
•   Prediction service life of currently produced PVC water distribution
    pipes with the high quality control procedures on material, processing
    and stabilisation applied by Dyka, Pipelife and Wavin

                           > 100 years

•   Provided: good control during construction activities and service e.g.
     •    Back fill of soil
     •    Soil settlements
     •    Water pressure
     •    Magnitude and occurrence of water hammer
     •    Ground works




          Existing PVC water distribution systems                          PVC 2005, Brighton
        Case 5:06-cv-00055-GW-PJW Document 2814-1 Filed 01/14/19 Page 152 of 159 Page ID
                                           #:140848




Conclusions
• Residual service life of PVC water distribution pipes in service
  not restricted to 50 years

• Residual service time determined by:
    •    Material properties
    •    Stabiliser package
    •    External load of soil and traffic
    •    Water pressure (water hammer)
    •    Ground works
    •    New connections
• Unforeseen conditions



         Existing PVC water distribution systems                          PVC 2005, Brighton
Case 5:06-cv-00055-GW-PJW Document 2814-1 Filed 01/14/19 Page 153 of 159 Page ID
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              EXHIBIT 31293
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CASE NO: 5:06-cv-0555-GW-PJW

US ex rel Hendrix

VS. J-M Mfg Co., Inc.
                                                              HENDRIX V. J-M MANUFACTURING COMPANY, INC.                                    10/30/18
                        31293
                                                         PRESENT VALUE OF PROJECTED REPLACEMENT COST ESTIMATES
PLAINTIFF'S EXHIBIT

DATE                                IDEN.

DATE                                EVID.

BY
                    Deputy Clerk


                                                                                       HDB Test Results                  QB Tests Results
                                                                                      3830        3830                         3830
                                                                                      LTHS         UCL                         LTHS
                                                                                       (b)          (c)                         (e)
       (1)                    Total Replacement Costs                              47,027,203 47,027,203                    47,027,203

       (2)                    Expected Failure Rate                                   27.27%       18.18%                     43.87%

       (3)                    Expected Costs                                       12,825,601    8,550,401                  20,630,597

       (4)                    Avg Minimum Future "Useful Life"                        21.31         58.24                      28.96

       (5)                    Minimum Duration of Liabilities                          7.31         44.24                      14.96

       (6)                    Present Value Expected Costs                         10,332,269    2,312,129                  13,257,766

       (7)                    Expense Provision                                     1,823,342     408,023                   2,339,606

       (8)                    Indicated Policy Premium                             12,155,611    2,720,151                  15,597,372


       NOTES:
                        (1)   Total Replacement Cost for the Five Plaintiffs as presented in the Arcadis report.
                        (2)   Percentage of Failing Pipe based on the Paschal (HDB) and Edwards (QB) test results.
                        (3)   = Row (1) x Row (2).
                        (4)   Represents Avg Time to Failure based on the Paschal (HDB) and Edwards (QB) test results.
                        (5)   = Row (4) - Time Since Installation (14.0 years).
                        (6)   = Row (3) x (1.0 + ROI) ^ [-Row (5)]; where ROI = 3.0%.
                        (7)   = Row (8) - Row (6).
                        (8)   = Row (6) / (1.0 - 15.0% Expense Provision).
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CASE NO: 5:06-cv-0555-GW-PJW
                                                                                                                                         RENO
US ex rel Hendrix

VS. J-M Mfg Co., Inc.                                   HENDRIX V. J-M MANUFACTURING COMPANY, INC.                                    10/30/18
PLAINTIFF'S EXHIBIT     31293-A                    PRESENT VALUE OF PROJECTED REPLACEMENT COST ESTIMATES
DATE                               IDEN.

DATE                               EVID.

BY
                    Deputy Clerk


                                                                                HDB Test Results                   QB Tests Results
                                                                                3830       3830                          3830
                                                                                LTHS       UCL                           LTHS
                                                                                 (b)        (c)                           (e)
 (1)                    Total Replacement Costs                              9,958,564 9,958,564                      9,958,564

 (2)                    Expected Failure Rate                                  27.27%      18.18%                       43.87%

 (3)                    Expected Costs                                       2,715,972 1,810,648                      4,368,772

 (4)                    Avg Minimum Future "Useful Life"                        21.31       58.24                        28.96

 (5)                    Minimum Duration of Liabilities                         7.31        44.24                        14.96

 (6)                    Present Value Expected Costs                         2,187,980    489,620                     2,807,488

 (7)                    Expense Provision                                     386,114      86,404                      495,439

 (8)                    Indicated Policy Premium                             2,574,094    576,024                     3,302,927


 NOTES:
                 (1)    Total Replacement Cost for Reno Plaintiff as presented in the Arcadis report.
                 (2)    Percentage of Failing Pipe based on the Paschal (HDB) and Edwards (QB) test results.
                 (3)    = Row (1) x Row (2).
                 (4)    Represents Avg Time to Failure based on the Paschal (HDB) and Edwards (QB) test results.
                 (5)    = Row (4) - Time Since Installation (14.0 years).
                 (6)    = Row (3) x (1.0 + ROI) ^ [-Row (5)]; where ROI = 3.0%.
                 (7)    = Row (8) - Row (6).
                 (8)    = Row (6) / (1.0 - 15.0% Expense Provision).
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US ex rel Hendrix
                                                                 HENDRIX V. J-M MANUFACTURING COMPANY, INC.                          10/30/18
VS. J-M Mfg Co., Inc.

PLAINTIFF'S EXHIBIT     31293-B                             PRESENT VALUE OF PROJECTED REPLACEMENT COST ESTIMATES
DATE                                IDEN.

DATE                                EVID.

BY
                     Deputy Clerk

                                                                             HDB Test Results                   QB Tests Results
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                                                                              LTHS           UCL                      LTHS
                                                                               (b)            (c)                      (e)
  (1)                     Total Replacement Costs                           691,292       691,292                   691,292

  (2)                     Expected Failure Rate                             27.27%         18.18%                    43.87%

  (3)                     Expected Costs                                    188,534       125,689                    303,266

  (4)                     Avg Minimum Future "Useful Life"                   21.31          58.24                     28.96

  (5)                     Minimum Duration of Liabilities                     7.31          44.24                     14.96

  (6)                     Present Value Expected Costs                      151,883        33,988                    194,887

  (7)                     Expense Provision                                 26,803          5,998                    34,392

  (8)                     Indicated Policy Premium                          178,685        39,986                    229,279


  NOTES:
                    (1)   Total Replacement Cost for Calleguas Plaintiff as presented in the Arcadis report.
                    (2)   Percentage of Failing Pipe based on the Paschal (HDB) and Edwards (QB) test results.
                    (3)   = Row (1) x Row (2).
                    (4)   Represents Avg Time to Failure based on the Paschal (HDB) and Edwards (QB) test results.
                    (5)   = Row (4) - Time Since Installation (14.0 years).
                    (6)   = Row (3) x (1.0 + ROI) ^ [-Row (5)]; where ROI = 3.0%.
                    (7)   = Row (8) - Row (6).
                    (8)   = Row (6) / (1.0 - 15.0% Expense Provision).
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US ex rel Hendrix

VS. J-M Mfg Co., Inc.                                       HENDRIX V. J-M MANUFACTURING COMPANY, INC.                         10/30/18
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                                                       PRESENT VALUE OF PROJECTED REPLACEMENT COST ESTIMATES
PLAINTIFF'S EXHIBIT

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BY
                    Deputy Clerk


                                                                         HDB Test Results                  QB Tests Results
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                                                                        LTHS         UCL                         LTHS
                                                                         (b)          (c)                         (e)
(1)                     Total Replacement Costs                      24,902,009 24,902,009                    24,902,009

(2)                     Expected Failure Rate                          27.27%        18.18%                        43.87%

(3)                     Expected Costs                                6,791,457    4,527,638                  10,924,386

(4)                     Avg Minimum Future "Useful Life"                21.31         58.24                        28.96

(5)                     Minimum Duration of Liabilities                  7.31         44.24                        14.96

(6)                     Present Value Expected Costs                  5,471,179    1,224,326                   7,020,299

(7)                     Expense Provision                              965,502      216,058                    1,238,876

(8)                     Indicated Policy Premium                      6,436,682    1,440,384                   8,259,175


NOTES:
               (1)      Total Replacement Cost for the Palmdale Plaintiff as presented in the Arcadis report.
               (2)      Percentage of Failing Pipe based on the Paschal (HDB) and Edwards (QB) test results.
               (3)      = Row (1) x Row (2).
               (4)      Represents Avg Time to Failure based on the Paschal (HDB) and Edwards (QB) test results.
               (5)      = Row (4) - Time Since Installation (14.0 years).
               (6)      = Row (3) x (1.0 + ROI) ^ [-Row (5)]; where ROI = 3.0%.
               (7)      = Row (8) - Row (6).
               (8)      = Row (6) / (1.0 - 15.0% Expense Provision).
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CASE NO: 5:06-cv-0555-GW-PJW

US ex rel Hendrix

VS. J-M Mfg Co., Inc.
                                                                  HENDRIX V. J-M MANUFACTURING COMPANY, INC.                            10/30/18
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                                                             PRESENT VALUE OF PROJECTED REPLACEMENT COST ESTIMATES
PLAINTIFF'S EXHIBIT

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BY
                    Deputy Clerk


                                                                               HDB Test Results                  QB Tests Results
                                                                              3830        3830                         3830
                                                                              LTHS         UCL                         LTHS
                                                                               (b)          (c)                         (e)
       (1)                    Total Replacement Costs                      10,210,135 10,210,135                    10,210,135

       (2)                    Expected Failure Rate                          27.27%        18.18%                        43.87%

       (3)                    Expected Costs                                2,784,582    1,856,388                   4,479,135

       (4)                    Avg Minimum Future "Useful Life"                21.31         58.24                        28.96

       (5)                    Minimum Duration of Liabilities                  7.31         44.24                        14.96

       (6)                    Present Value Expected Costs                  2,243,252     501,989                    2,878,410

       (7)                    Expense Provision                              395,868       88,586                    507,955

       (8)                    Indicated Policy Premium                      2,639,120     590,575                    3,386,365


       NOTES:
                        (1)   Total Replacement Cost for South Tahoe Plaintiff as presented in the Arcadis report.
                        (2)   Percentage of Failing Pipe based on the Paschal (HDB) and Edwards (QB) test results.
                        (3)   = Row (1) x Row (2).
                        (4)   Represents Avg Time to Failure based on the Paschal (HDB) and Edwards (QB) test results.
                        (5)   = Row (4) - Time Since Installation (14.0 years).
                        (6)   = Row (3) x (1.0 + ROI) ^ [-Row (5)]; where ROI = 3.0%.
                        (7)   = Row (8) - Row (6).
                        (8)   = Row (6) / (1.0 - 15.0% Expense Provision).
                                    Case
                                     Case5:06-cv-00055-GW-PJW
                                           5:06-cv-00055-GW-PJWDocument
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                                                                          2809-19
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 U.S.D.C. CENTRAL DISTRICT OF CALIFORNIA

CASE NO: 5:06-cv-0555-GW-PJW                                            #:140646
                                                                        #:140855
US ex rel Hendrix                                                                                                            NORFOLK
VS. J-M Mfg Co., Inc.
                                                           HENDRIX V. J-M MANUFACTURING COMPANY, INC.                        10/30/18
PLAINTIFF'S EXHIBIT     31293-E
DATE                               IDEN.              PRESENT VALUE OF PROJECTED REPLACEMENT COST ESTIMATES
DATE                               EVID.

BY
                    Deputy Clerk



                                                                          HDB Test Results                QB Tests Results
                                                                          3830       3830                       3830
                                                                          LTHS       UCL                        LTHS
                                                                           (b)        (c)                        (e)
     (1)                  Total Replacement Costs                      1,265,203 1,265,203                   1,265,203

     (2)                  Expected Failure Rate                          27.27%      18.18%                     43.87%

     (3)                  Expected Costs                                345,055     230,037                    555,038

     (4)                  Avg Minimum Future "Useful Life"                21.31       58.24                      28.96

     (5)                  Minimum Duration of Liabilities                 7.31        44.24                      14.96

     (6)                  Present Value Expected Costs                  277,976      62,205                    356,682

     (7)                  Expense Provision                              49,055      10,977                     62,944

     (8)                  Indicated Policy Premium                      327,030      73,182                    419,626


     NOTES:
                    (1)   Total Replacement Cost for Norfolk Plaintiff as presented in the Arcadis report.
                    (2)   Percentage of Failing Pipe based on the Paschal (HDB) and Edwards (QB) test results.
                    (3)   = Row (1) x Row (2).
                    (4)   Represents Avg Time to Failure based on the Paschal (HDB) and Edwards (QB) test results.
                    (5)   = Row (4) - Time Since Installation (14.0 years).
                    (6)   = Row (3) x (1.0 + ROI) ^ [-Row (5)]; where ROI = 3.0%.
                    (7)   = Row (8) - Row (6).
                    (8)   = Row (6) / (1.0 - 15.0% Expense Provision).
